         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 1 of 145




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                 §
In re:                                                           §      Chapter 11
                                                                 §
NEIGHBORS LEGACY HOLDINGS, INC., et                              §      Case No. 18-33836 (MI)
al.,                                                             §
                                                                 §      (Jointly Administered)
                  Debtors.1                                      §

        SECOND AMENDED DISCLOSURE STATEMENT FOR JOINT PLAN OF
          LIQUIDATION OF NEIGHBORS LEGACY HOLDINGS, INC. AND
    ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE


PORTER HEDGES LLP
John F. Higgins
Eric M. English
Genevieve M. Graham
1000 Main Street, 36th Floor
Houston, Texas 77002
Telephone: (713) 226-6648
Facsimile: (713) 226-6628
Email:      jhiggins@porterhedges.com
            eenglish@porterhedges.com
            ggraham@porterhedges.com

Counsel to the Debtors and Debtors in Possession

                                           Dated: February 20, 2019




1
  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits
of their tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/neighbors. The location of
Debtors’ principal place of business and the Debtors’ service address is: 10800 Richmond Avenue. Houston, Texas
77042.



6790233v15
       Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 2 of 145




     THIS SOLICITATION OF VOTES (THE “SOLICITATION”) IS BEING
CONDUCTED TO OBTAIN SUFFICIENT ACCEPTANCES OF THE PLAN (AS DEFINED
HEREIN) UNDER CHAPTER 11 OF TITLE 11 OF THE UNITED STATES CODE (THE
“BANKRUPTCY CODE”). THIS DISCLOSURE STATEMENT [HAS BEEN APPROVED]
BY THE BANKRUPTCY COURT AS CONTAINING ADEQUATE INFORMATION
WITHIN THE MEANING OF SECTION 1125(a) OF THE BANKRUPTCY CODE.
FOLLOWING THE SOLICITATION OF VOTES, THE DEBTORS EXPECT TO PROMPTLY
SEEK ORDERS OF THE BANKRUPTCY COURT (A) APPROVING THE SOLICITATION
OF VOTES AS BEING IN COMPLIANCE WITH SECTIONS 1125 AND 1126(b) OF THE
BANKRUPTCY CODE, AND (B) CONFIRMING THE PLAN.

              DISCLOSURE STATEMENT, DATED FEBRUARY 20, 2019

                                 Solicitation of Votes on the
                                   Plan of Liquidation of

      NEIGHBORS LEGACY HOLDINGS, INC., AND ITS DEBTOR AFFILIATES

       THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 5:00
       P.M., CENTRAL TIME, ON MARCH 20, 2019, UNLESS EXTENDED BY
       THE DEBTORS (AS DEFINED HEREIN). THE RECORD DATE FOR
       DETERMINING WHICH HOLDERS OF CLAIMS OR INTERESTS MAY
       VOTE ON THE PLAN IS FEBRUARY 15, 2019 (THE “VOTING RECORD
       DATE”).



                        RECOMMENDATION BY THE DEBTORS
       The board of managers, members, or partners, as applicable, of Neighbors
       Legacy Holdings, Inc. and each of its affiliated Debtors (as of the date hereof)
       have unanimously approved the transactions contemplated by the
       Solicitation and the Plan and recommend that all creditors whose votes are
       being solicited submit ballots to accept the Plan.




6790233v15
       Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 3 of 145




     HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL, OR TAX ADVICE AND SHOULD CONSULT WITH THEIR
OWN ADVISORS BEFORE VOTING ON THE PLAN.

     CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT,
INCLUDING STATEMENTS INCORPORATED BY REFERENCE, PROJECTED
FINANCIAL INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS, ARE
BASED ON ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT
SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL OUTCOMES. FORWARD-
LOOKING STATEMENTS ARE PROVIDED IN THIS DISCLOSURE STATEMENT
PURSUANT TO THE SAFE HARBOR ESTABLISHED UNDER THE PRIVATE
SECURITIES LITIGATION REFORM ACT OF 1995 AND SHOULD BE EVALUATED IN
THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS, UNCERTAINTIES, AND RISKS
DESCRIBED HEREIN.

     FURTHER, READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING
STATEMENTS HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE
REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS IDENTIFIED IN
THIS DISCLOSURE STATEMENT. DUE TO THESE UNCERTAINTIES, READERS
CANNOT BE ASSURED THAT ANY FORWARD-LOOKING STATEMENTS WILL PROVE
TO BE CORRECT. THE DEBTORS ARE UNDER NO OBLIGATION TO (AND
EXPRESSLY DISCLAIM ANY OBLIGATION TO) UPDATE OR ALTER ANY FORWARD-
LOOKING STATEMENTS WHETHER AS A RESULT OF NEW INFORMATION, FUTURE
EVENTS, OR OTHERWISE, UNLESS INSTRUCTED TO DO SO BY THE BANKRUPTCY
COURT.

     UNTIL SUCH TIME AS THE DEBTORS CONSUMMATE THE SALE OF ALL OR
SUBSTANTIALLY ALL OF THEIR ASSETS, AS FURTHER DESCRIBED IN THIS
DISCLOSURE STATEMENT, THE DEBTORS INTEND TO OPERATE THEIR
BUSINESSES IN THE ORDINARY COURSE AND HAVE OBTAINED AUTHORIZATION
FROM THE BANKRUPTCY COURT TO MAKE PAYMENT IN FULL ON A TIMELY
BASIS TO ALL EMPLOYEES OF ALL AMOUNTS DUE PRIOR TO AND DURING THE
CHAPTER 11 CASES.

     NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR
APPROVED THE FINANCIAL PROJECTIONS OR THE LIQUIDATION ANALYSIS
HEREIN.

    THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF
THE PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE
SUMMARIES IN THIS DISCLOSURE STATEMENT.

     THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED
SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR




6790233v15
       Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 4 of 145




OBJECTING TO CONFIRMATION. NOTHING IN THIS DISCLOSURE STATEMENT MAY
BE USED BY ANY PARTY FOR ANY OTHER PURPOSE.

     ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO
AND ARE PART OF THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL
HEREIN.




6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 5 of 145




                                                  TABLE OF CONTENTS

I. INTRODUCTION ....................................................................................................................... 1

II. OVERVIEW OF THE DEBTORS’ OPERATIONS ................................................................. 3
       A.  The Debtors’ Business ............................................................................................ 3
       B.  The Debtors’ Organizational Structure ................................................................... 5
       C.  The Debtors’ Capital Structure ............................................................................... 6

III. KEY EVENTS LEADING TO THE COMMENCEMENT OF CHAPTER 11 CASES ......... 8
       A.   Increased Competition in the Industry .................................................................... 8
       B.   Compression of Insurance Payor Reimbursements ................................................ 8
       C.   Excessive Overhead ................................................................................................ 9
       D.   Costs Associated with Closed and Never-Opened Emergency Centers ................. 9
       E.   Attempts at Out-of-Court Restructuring ................................................................. 9
       F.   Prepetition Marketing of the Debtors’ Assets and Negotiation of the
            Stalking Horse Bids .............................................................................................. 12

IV. MATERIAL EVENTS DURING THE CHAPTER 11 CASES ............................................ 13
      A.   Commencement of Chapter 11 Cases and First Day Motions .............................. 13
      B.   Other Significant Matters ...................................................................................... 16
      C.   Bidding Procedures and Sale ................................................................................ 17
      D.   Retention of Professionals .................................................................................... 19

V. SUMMARY OF THE PLAN ................................................................................................... 19

VI. ACCEPTANCE REQUIREMENTS ...................................................................................... 24
      A.   Acceptance or Rejection of this Plan .................................................................... 25
      B.   Subordination of Series LLC Claims .................................................................... 25
      C.   Confirmation of this Plan Pursuant to Section 1129(b) of the Bankruptcy
           Code ...................................................................................................................... 26
      D.   Controversy Concerning Impairment ................................................................... 26

VII. MEANS FOR IMPLEMENTATION OF THE PLAN ......................................................... 26
      A.    Deemed Consolidation .......................................................................................... 26
      B.    Transactions Effective as of the Effective Date .................................................... 27
      C.    The Liquidating Trust ........................................................................................... 27
      D.    The Unsecured Creditor Trust .............................................................................. 28
      E.    Certain Powers and Duties of the Liquidating Trust and Liquidating
            Trustee................................................................................................................... 28
      F.    Certain Powers and Duties of the Unsecured Creditor Trust and Unsecured
            Creditor Trustee .................................................................................................... 29
      G.    Federal Income Tax Treatment of the Plan Trusts for the Liquidating and
            Unsecured Creditor Trust Assets; Tax Reporting and Tax Payment
            Obligations ............................................................................................................ 30
      H.    Authority to Pursue, Settle, or Abandon Retained Causes of Action ................... 31
      I.    Liquidating Trust’s Accounting for Certain Recoveries ....................................... 32


                                                                    i
6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 6 of 145




          J.        Filing of Monthly and Quarterly Reports ............................................................. 32
          K.        Corporate Existence; Compliance with Transition Services Agreements ............ 32
          L.        Directors and Officers of the Debtors ................................................................... 33
          M.        Corporate Authorization ....................................................................................... 33
          N.        Effectuating Documents and Further Transactions............................................... 33
          O.        Employee Agreements .......................................................................................... 33
          P.        Exemption from Certain Taxes and Fees .............................................................. 34
          Q.        Duration of the Plan Trusts ................................................................................... 34
          R.        Wind Down of Plan Trusts ................................................................................... 34

VIII. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ............ 34
       A.   Treatment of Executory Contracts and Unexpired Leases ................................... 34
       B.   Preexisting Obligations to the Debtors Under Executory Contracts and
            Unexpired Leases .................................................................................................. 35
       C.   Rejection Damages Claim..................................................................................... 35
       D.   Reservation of Rights ............................................................................................ 35

IX. PROVISIONS GOVERNING DISTRIBUTIONS ................................................................. 35
      A.    Timing and Calculation of Amounts to Be Distributed; Entitlement to
            Distributions.......................................................................................................... 35
      B.    Plan Trustees ......................................................................................................... 37
      C.    No De Minimis Distributions Required ................................................................ 37
      D.    Disputed Claims Reserve ...................................................................................... 37
      E.    Distributions on Account of Claims Allowed After the Effective Date ............... 38
      F.    Delivery of Distributions and Undeliverable or Unclaimed Distributions ........... 38
      G.    Compliance with Tax Requirements/Allocations ................................................. 39
      H.    Claims Paid or Payable by Third Parties .............................................................. 39
      I.    Allocation of Plan Distributions between Principal and Interest .......................... 40

X. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
DISPUTED CLAIMS ................................................................................................................... 40
      A.  Allowance and Disallowance of Claims ............................................................... 40
      B.  Prosecution of Objections to Claims..................................................................... 40
      C.  Deadline to Object to Claims ................................................................................ 41
      D.  Estimation of Claims............................................................................................. 41
      E.  Amendments to Claims ......................................................................................... 41
      F.  Distributions After Allowance .............................................................................. 41

XI. CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN AND THE
EFFECTIVE DATE ...................................................................................................................... 42
      A.   Conditions Precedent to Confirmation.................................................................. 42
      B.   Conditions Precedent to the Effective Date .......................................................... 42
      C.   Waiver of Conditions ............................................................................................ 43
      D.   Effect of Nonoccurrence of Conditions ................................................................ 43

XII. SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS .................. 43
       A.   Compromise and Settlement of Claims, Interests, and Controversies .................. 43

                                                                   ii
6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 7 of 145




          B.        RELEASES BY THE DEBTORS ........................................................................ 44
          C.        RELEASES BY HOLDERS OF CLAIMS AND INTERESTS ........................... 44
          D.        EXCULPATION................................................................................................... 45
          E.        INJUNCTION ....................................................................................................... 45
          F.        Setoffs ................................................................................................................... 46
          G.        Recoupment .......................................................................................................... 46

XIII. BINDING NATURE OF PLAN .......................................................................................... 46

XIV. RETENTION OF JURISDICTION ..................................................................................... 47

XV. MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN........................ 49
     A.    Modifications and Amendments ........................................................................... 49
     B.    Effect of Confirmation on Modifications ............................................................. 49
     C.    Revocation or Withdrawal of the Plan .................................................................. 49
     D.    Substantial Consummation of the Plan ................................................................. 49

XVI. MISCELLANEOUS PROVISIONS ................................................................................... 50
      A.   Bar Date for Administrative Claims ..................................................................... 50
      B.   Successors and Assigns......................................................................................... 50
      C.   Reservation of Rights ............................................................................................ 50
      D.   Service of Documents ........................................................................................... 50
      E.   Dissolution of Committee ..................................................................................... 51
      F.   Nonseverability of Plan Provisions....................................................................... 51
      G.   Return of Security Deposits .................................................................................. 52
      H.   Term of Injunctions or Stays................................................................................. 52
      I.   Entire Agreement .................................................................................................. 52
      J.   Exhibits ................................................................................................................. 52
      K.   Votes Solicited in Good Faith ............................................................................... 52
      L.   Conflicts ................................................................................................................ 52
      M.   Filing of Additional Documents ........................................................................... 53

XVII. CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ................... 53
       A.  Introduction ........................................................................................................... 53
       B.  Certain U.S. Federal Income Tax Consequences of Payment of Allowed
           Claims for the Debtors Pursuant to the Plan ......................................................... 54
       C.  Certain U.S. Federal Income Tax Consequences of Payment of Allowed
           Claims for Holders of Allowed Claims Pursuant to the Plan ............................... 55
       D.  Certain Consequences for Holders of Allowed Other Secured Claims,
           Allowed Prepetition Secured Loan Claims and Allowed General
           Unsecured Claims ................................................................................................. 56
       E.  Certain Tax Consequences for Beneficiaries of the Plan Trusts........................... 57
       F.  Importance of Obtaining Professional Tax Assistance ......................................... 62

XVIII. CERTAIN RISK FACTORS TO BE CONSIDERED...................................................... 62
       A.   Certain Bankruptcy Law Considerations .............................................................. 63
       B.   Additional Factors Affecting Recoveries.............................................................. 64

                                                                      iii
6790233v15
          Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 8 of 145




           C.         Additional Factors ................................................................................................. 64

XIX. VOTING PROCEDURES AND REQUIREMENTS.......................................................... 65
      A.   Parties Entitled To Vote ........................................................................................ 65
      B.   Voting Deadline .................................................................................................... 66
      C.   Voting Procedures ................................................................................................. 67
      D.   Waivers of Defects, Irregularities, etc. ................................................................. 68

XX. CONFIRMATION OF THE PLAN ...................................................................................... 68
      A.  Confirmation Hearing ........................................................................................... 68
      B.  Requirements for Confirmation of the Plan .......................................................... 68

XXI. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE
PLAN ............................................................................................................................................ 72
      A.          Alternative Plan .................................................................................................... 72
      B.          Sale of All or Substantially All Assets Under Section 363 of the
                  Bankruptcy Code .................................................................................................. 72
      C.          Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law ..................... 72

XXII. INFORMAL OBJECTION OF GERALD H. PHIPPS, INC. ............................................ 73

XXIII. CONCLUSION AND RECOMMENDATION ................................................................ 73




                                                                        iv
6790233v15
       Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 9 of 145




                                      EXHIBITS

       Exhibit A   Plan

       Exhibit B   Liquidation Analysis




                                          v
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 10 of 145




                                             I.
                                       INTRODUCTION

        The Debtors submit this Disclosure Statement in connection with the Solicitation of votes
on the First Amended Joint Plan of Liquidation of Neighbors Legacy Holdings, Inc. and Its
Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, dated February 20, 2019 (as may be
amended from time to time, the “Plan,” attached hereto as Exhibit A). Capitalized terms used in
this Disclosure Statement, but not otherwise defined herein, have the meanings ascribed to such
terms in the Plan. To the extent any inconsistencies exist between this Disclosure Statement and
the Plan, the Plan governs.

        Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
reorganization. The fundamental purpose of a chapter 11 case is to formulate a plan so as to
maximize recoveries to its creditors. With this purpose in mind, businesses sometimes use
chapter 11 as a means to conduct asset sales and other forms of liquidation. Whether the aim is
reorganization or liquidation, a chapter 11 plan sets forth and governs the treatment and rights to
be afforded to creditors and equity holders with respect to their claims against, and equity
interests in, a debtor’s bankruptcy estate.

       The Debtors are commencing this Solicitation after extensive discussions over the past
several months with certain of their key creditor constituencies, including with the Prepetition
Agent and the Committee. In connection with these negotiations, the DIP Lenders and the
Committee agreed to support the sale of substantially all of the Debtors’ assets, with the proceeds
of such sales to be distributed, as set forth in the Plan, entirely to Holders of Prepetition Loan
Claims, other than the distributions to be provided under, and pursuant to, the Plan to holders of
Other Priority Claims, Other Secured Claims, and General Unsecured Claims and certain
reserves to be funded to pay administrative expenses and to fund the Debtors’ post-sale wind-
down.

        The Plan contemplates that any assets remaining in the Debtors’ Estates as of the
Effective Date will vest in a Liquidating Trust for liquidation for the benefit of Holders of
Allowed Claims as set forth in the Plan and the Liquidating Trust Agreement. The Liquidating
Trust is to be managed by a Liquidating Trustee. The Liquidating Trustee will be responsible for
taking the necessary and appropriate actions to administer the remaining assets of the Debtors’
estates, and to proceed with an orderly, expeditious, and efficient wind-down and distribution of
the remaining assets of the Debtors in accordance with the terms of the Plan.

       The Debtors believe that the distributions under the Plan will provide all Holders of
Claims against and Interests in the Debtors at least the same recovery on account of Allowed
Claims and Allowed Interests as would a liquidation of the Debtors’ assets conducted under
chapter 7 of the Bankruptcy Code. Furthermore, distributions under the Plan to Holders of
Claims and Interests would be made more quickly than distributions by a chapter 7 trustee and a
chapter 7 trustee would charge a substantial fee, reducing the amount available for distribution
on account of Allowed Claims and Interests. Thus, the Debtors believe that confirmation and
consummation of the Plan is in the best interests of all Holders of Claims and Interests.




6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 11 of 145




     THE DEBTORS AND THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS SUPPORT CONFIRMATION OF THE PLAN AND URGE ALL
HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN TO VOTE TO ACCEPT
THE PLAN. THE DEBTORS BELIEVE THAT THE PLAN PROVIDES THE HIGHEST
AND BEST RECOVERY FOR ALL CREDITORS AND INTEREST HOLDERS.

        Under the Bankruptcy Code, only Holders of Claims in “impaired” Classes are entitled to
vote on the Plan. Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under the Plan unless (a) the Plan leaves unaltered the legal, equitable,
and contractual rights to which such claim or interest entitles the holder thereof or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the Plan,
among other things, cures all existing defaults (other than defaults resulting from the occurrence
of events of bankruptcy) and reinstates the maturity of such claim or interest as it existed before
the default.

        Class 3 (Prepetition Secured Loan Claims) and Class 4 (General Unsecured Claims) are
the only Classes that are impaired and whose votes to accept or reject the Plan are being
solicited.

        The following table summarizes (a) the treatment of Claims and Interests under the Plan,
(b) which Classes are impaired by the Plan, (c) which Classes are entitled to vote on the Plan,
and (d) the estimated recoveries for holders of Claims and Interests. The table is qualified in its
entirety by reference to the full text of the Plan. For a more detailed summary of the terms and
provisions of the Plan, see Section V— Summary of the Plan below.




                                                2
6790233v15
        Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 12 of 145




 Class                  Claim/Interest                    Status             Voting Rights

                                                                          Not Entitled to Vote
    1                Other Priority Claims             Unimpaired
                                                                          (Deemed to Accept)

                                                                          Not Entitled to Vote
    2                Other Secured Claims              Unimpaired
                                                                          (Deemed to Accept)

    3           Prepetition Secured Loan Claims          Impaired           Entitled to Vote

    4              General Unsecured Claims              Impaired           Entitled to Vote

                                                                          Not Entitled to Vote
    5                Section 510(b) Claims               Impaired
                                                                          (Deemed to Reject)

                                                                          Not Entitled to Vote
    6                Intercompany Claims                 Impaired
                                                                          (Deemed to Reject)

                                                                          Not Entitled to Vote
    7                Intercompany Interests              Impaired
                                                                          (Deemed to Reject)

                                                                          Not Entitled to Vote
    8              Neighbors Equity Interests            Impaired
                                                                          (Deemed to Reject)

     PLEASE TAKE NOTE OF THE FOLLOWING KEY DATES AND DEADLINES FOR
THE CHAPTER 11 CASES:

              Voting Record Date                               February 15, 2019

 Deadline to vote to accept or reject the Plan       5:00 p.m. (Prevailing Central Time) on
  and to object to confirmation of the Plan                     March 20, 2019

                                                     9:30 a.m. (Prevailing Central Time) on
              Confirmation Hearing
                                                                March 22, 2019

                                       II.
                      OVERVIEW OF THE DEBTORS’ OPERATIONS

         A.     The Debtors’ Business

        The Debtors opened their first Emergency Center in Bellaire, Texas in 2009. At that
time, the state of Texas did not license freestanding emergency centers and the Debtors were
required to partner with hospitals to obtain licensure. In June 2010, the Texas legislature enacted
Title 25, Chapter 131 of the Texas Administrative Code, which authorized for the first time
independent licensure for freestanding emergency rooms. Thereafter, the Debtors were able to
open additional freestanding emergency rooms without the requirement to partner with hospitals.

                                                 3
6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 13 of 145




       From 2011 to 2013, the Debtors gradually expanded by adding four new facilities in the
Houston metropolitan area. In 2014, the Debtors added two additional Houston locations and
expanded into Austin, opening two Austin Emergency Centers. In 2015 and 2016, the Debtors
expanded into new Texas markets as well as markets outside of Texas, including Arizona,
Colorado, and Rhode Island. The Debtors financed their expansion in large part through a $150
million credit facility obtained in November 2015, as discussed in more detail below.

        As of the Petition Date, the Debtors operated 22 free-standing emergency centers (the
“Emergency Centers”) throughout Texas and provided support for the Emergency Centers at a
corporate headquarters located in the Westchase area of Houston. Together with their non-
debtor subsidiaries and affiliates, the Debtors’ corporate network (the “Neighbors Network”)
consisted of approximately 115 entities organized under the laws of various states. The Debtors
leased the real property for most of the Emergency Centers and their corporate headquarters, and
own the real property associated with four of their centers.2 In total, as of the Petition Date,
Neighbors Network employed or engaged as independent contractors approximately 900
physicians, nurses, radiology technicians, laboratory professionals, and administrative staff on
either a full- or part-time basis (collectively, the “Employees”). Approximately 140 of the
Employees worked at the Debtors’ corporate headquarters. The corporate Employees performed
various functions for the Debtors, including billing, coding, collection of accounts receivable,
finance, human resources, marketing, information technologies (“IT”), and administrative tasks.

      The remainder—and the vast majority—of the Debtors’ Employees worked at the various
Emergency Centers, which are located throughout Texas, as shown in the chart below.




2
    The Debtors owned the real property for their Kingwood, Baytown, Pearland, and Beaumont Centers.


                                                         4
6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 14 of 145




             Neighbors’ 22 Open Facilities, as of the Petition Date (the “Open Facilities”)

        The Debtors generated revenues by collecting payments from patients and insurance
providers in satisfaction of services rendered at the Emergency Centers. The Debtors billed
patients and insurance companies for the services provided (the “Billed Charges”).3 Thereafter,
the Debtors negotiated with the payor (which may involve appeals) to arrive at a “Final
Allowable” claim amount. That obligation was then divided between the insurance provider and
the patient, based on the patient’s specific health plan, and paid to the Debtors. On average for
2017, the total amount collected by the Debtors was approximately 36% of the Billed Charges.

           B.       The Debtors’ Organizational Structure

        On the Petition Date, the Debtors’ Emergency Centers were structured as separate limited
partnerships with Neighbors GP, LLC as the general partner of each. The limited partners for
each Emergency Center were organized as separate series LLCs (series 100 through series 153)
(collectively, the “Series LLCs”) existing as part of NHS Emergency Centers, LLC. NHS
Emergency Centers, LLC houses the Series LLCs and owns 99% of Emergency Centers (LPs).
A series LLC is a form of a limited liability company in which each “series” operates as its own,
unique entity so that the series are separate from each other, and from NHS Emergency Centers,
LLC, for liability purposes. NHS Emergency Centers, LLC is a Debtor, but the underlying
Series LLCs are non-Debtors.

        Each of the series LLCs are owned by a combination of “Class A” physicians, which are
the original nine founding physicians,4 and “Class B” physicians, which are physicians that have
purchased interests in profits and losses in specific series LLCs (“Series LLC Interests”). The
Class B physicians typically worked shifts at the Emergency Centers where they owned
Purchased Interests. In connection with purchasing their interests in one or more Emergency
Centers, the Class B physicians were entitled to a corresponding number of monthly 24-hour
shifts at such centers. In addition to being eligible to receive distributions related to their
Purchased Interests, Class B physicians received compensation for working their respective
shifts.5 As of the Petition Date, there were approximately 125 Class B physicians.

       Management and corporate functions for each of the Emergency Centers were provided
by separate Debtor entities, as follows:

                a. EDMG, LLC – provided staffing and back office support to the Emergency
                   Centers, Neighbors Physician Group, PLLC, and Neighbors Practice
                   Management, LLC, including payroll, human resources, IT, and accounting;

                b. Neighbors Practice Management, LLC – provided billing, coding, and revenue
                   cycle management to the Emergency Centers and Neighbors Physician Group,
                   PLLC;

3
 While the Debtors were able to accept Medicare or Medicaid patients, as required for emergent care, the Debtors
would not bill Medicare or Medicaid.
4
    Not all nine founding physicians are participants in every series LLC.
5
    The physician contractors were paid on an hourly basis by Neighbors Physicians Group, PLLC.


                                                            5
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 15 of 145




             c. Neighbors Emergency Center, LLC – held intellectual property assets;

             d. Neighbors Health LLC – provided management services to all of the Debtors
                pursuant to management agreements; and

             e. Neighbors Physician Group, PLLC – provided physician staffing in the
                Emergency Centers.

        C.       The Debtors’ Capital Structure

                 a. Pre-Petition Credit Agreement

        On November 19, 2015, Neighbors Global Holdings, LLC (“Neighbors”), as borrower,
entered into a Credit Agreement (as amended, restated, or supplemented the “Prepetition Credit
Agreement”) with the lenders from time to time party thereto (collectively, the “Prepetition
Lenders”); KeyBank National Association (the “Prepetition Agent”), as administrative agent,
swing line lender, and issuing bank; KeyBanc Capital Markets Inc., as joint lead arranger and a
joint bookrunner; Compass Bank Association, as joint lead arranger, a joint bookrunner, and sole
syndication agent; and LegacyTexas Bank, as the documentation agent (together with the
Prepetition Lenders and the Prepetition Agent the “Prepetition Secured Parties”).

       Simultaneously with the execution of the Prepetition Credit Agreement, various
subsidiary affiliates, as guarantors (the “Guarantors”), entered into a Guaranty dated November
19, 2015 (as amended, restated, or supplemented, the “Guaranty”),6 with the Prepetition Agent.

        The Prepetition Credit Agreement provided the Debtors with a revolving credit facility in
an initial aggregate principal amount of up to $30 million. On May 9, 2017, Neighbors, the
Prepetition Lenders, and the Prepetition Agent entered into the Waiver, Consent and Amendment
No. 3, reducing availability under the revolving credit facility to $27 million. The maturity date
for the revolving cash borrowings under the Prepetition Credit Agreement was November 19,
2020. Neighbors never drew on the revolving credit facility.

        The Prepetition Credit Agreement also provided the Debtors with (a) a term loan facility
in an aggregate principal amount of $100 million and (b) a delayed draw term loan facility in the
aggregate principal amount of $20 million (with any borrowings incurred under the delayed draw
term loan facility automatically becoming part of the term loan facility). The maturity date for
the term loan under the Prepetition Credit Agreement was November 19, 2020. On the date that
the Prepetition Credit Agreement funded, November 19, 2015, Neighbors drew $100 million on
the term loan facility. In September 2016, Neighbors drew $20 million on the delayed draw term
loan facility.




6
  Since November 19, 2015, the date of the Guaranty, through the Petition Date, guarantors have been added through
joinder agreements. As of the Petition Date, with the exception of Neighbors Physician Group – Rhode Island,
LLC, all of the entities in the Neighbors Network, including each Emergency Center, have guaranteed the
Prepetition Credit Agreement.


                                                        6
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 16 of 145




        The Debtors, from time to time, addressed issues arising under the Prepetition Credit
Agreement with the Prepetition Lenders. Specifically, Neighbors entered into three amendments
to the Prepetition Credit Agreement:

               (a)    July 5, 2016, Amendment No. 1 – Neighbors, the Prepetition Lenders, and
                      the Prepetition Agent entered into Amendment No. 1 to the Credit
                      Agreement, dated July 5, 2016, pursuant to which the Prepetition Lenders
                      waived certain events of default under the Prepetition Credit Agreement
                      (including, without limitation, failure to comply with certain disclosure
                      and delivery requirements), and certain Guarantors joined the Guaranty
                      and the Security Agreement (as defined in the Prepetition Credit
                      Agreement).

               (b)    September 9, 2016, Amendment No. 2 – Neighbors, the Prepetition
                      Lenders, and the Prepetition Agent entered into a Waiver, Consent and
                      Amendment No. 2 to the Credit Agreement, dated September 9, 2016,
                      pursuant to which the Prepetition Lenders waived certain events of default
                      under the Prepetition Credit Agreement (including, without limitation,
                      failure to deliver certain financial statements).

               (c)    May 9, 2017, Amendment No. 3 – Neighbors, the Prepetition Lenders, and
                      the Prepetition Agent entered into a Waiver, Consent and Amendment No.
                      3 to the Credit Agreement, dated May 9, 2017, pursuant to which the
                      Prepetition Lenders waived certain events of default under the Prepetition
                      Credit Agreement (including, without limitation, failure to comply with
                      the fixed charge coverage ratio), amended certain covenants and related
                      provisions to allow Neighbors to operate without being in default,
                      accommodated the conversion of Neighbors Physician Group, LLC, a
                      Texas limited liability company, from one entity type to another, and
                      required the contribution of additional capital from its equity holders in
                      the form of shareholder loans.

        The obligations under the Prepetition Credit Agreement were secured by substantially all
of the Debtors’ assets. In particular, pursuant to (a) the Amended and Restated Pledge and
Security Agreement dated May 9, 2017 (the “Security Agreement”), and (b) the Deeds of Trust,
Assignments of Leases and Rents, Security Agreement and UCC Financing Statements for
Fixture Filings, in each case dated November 19, 2015 (the “Deeds of Trust”, and together with
the Security Agreement, collectively, the “Prepetition Financing Agreements”), all amounts
outstanding under the Prepetition Credit Agreement were secured by a first-priority security
interest (the “Prepetition Liens”) in substantially all of the Debtors’ existing and future assets
(collectively, the “Prepetition Collateral”), other than certain excluded payroll accounts and
deposit accounts. In addition, the obligations under the Prepetition Credit Agreement were
guaranteed by the Guarantors. Accordingly, as of the Petition Date, other than any payroll
accounts or deposit accounts that may have been excluded as collateral, pursuant to the Security
Agreement, as of the Petition Date, the Debtors did not have any unencumbered cash or assets.



                                                7
6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 17 of 145




                   b. Equipment Leases

        The Debtors leased their radiology equipment, including CT machines, x-ray equipment,
and ultrasound machines. The Debtors’ primary equipment lessors were BBVA Compass and
Wells Fargo. Prepetition, the Debtors entered into an agreement with BBVA Compass regarding
return of equipment at Closed Centers and the impact on BBVA Compass’s claims against the
Debtors. The Debtors also leased non-medical equipment, such as monitors and computer
equipment from various parties.

                   c. Outstanding Vendor Obligations

       The Debtors utilized a broad range of vendors to provide medical supplies and other
items necessary to operate the Emergency Centers. On the Petition Date, the Debtors’ aggregate
accounts payable to vendors was approximately $12.8 million.

                   d. Equity

        NLH, which is the parent company of all of the Debtors, except Neighbors Physician
Group, PLLC (“NPG”), is owned by nine individual shareholders who were the founders of the
business: Paul Alleyne, Michael Chang, Andy Chen, Cyril Gilman, Henderson Quang, Darmesh
Patel, Hitesh Patel, Setul Patel, and Tom Vo. NPG is owned by the same nine shareholders.

                                  III.
      KEY EVENTS LEADING TO THE COMMENCEMENT OF CHAPTER 11 CASES

           A.      Increased Competition in the Industry

         Beginning in 2016, the Debtors experienced increased competition in the industry in the
form of traditional hospital emergency rooms, hospital outpatient departments, other freestanding
emergency centers and urgent care facilities. Despite growth in net revenue from opening new
facilities, the Debtors experienced significant declining earnings before interest, tax,
depreciation, and amortization (“EBITDA”) since 2015. For example, the Debtors’ consolidated
EBITDA dropped from $49 million in 2015, to $45 million in 2016, to $10.3 million7 in 2017.
This drop was caused, in part, by the increased competition in the industry, which led to lower
patient volumes per Emergency Center. As of the Petition Date, for the Emergency Centers
opened prior to 2016, the average claims per day fell from approximately 13 in the first quarter
of 2017 to approximately 10. For Emergency Centers opened during 2016, as of the Petition
Date, there were, on average, fewer than 10 claims per day. This marked reduction in patient
volume led to a strain at previously profitable locations and underperformance at new locations.

           B.      Compression of Insurance Payor Reimbursements

       In addition to increased competition in the industry, the Debtors’ liquidity crisis was
caused by a challenging insurance payor environment, which significantly reduced allowed
reimbursement as well as collection rates. The net patient service revenue collected as a
percentage of gross billings continued to decrease over time because insurance payors
7
    Consolidated EBITDA of $10.3 million included restructuring expenses of $3.8 million.


                                                          8
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 18 of 145




increasingly reduced or denied the Emergency Centers’ claims. This was largely the result of
insurance companies increasingly classifying the services provided as “non-emergent,” rather
than “emergent” care.

       C.      Excessive Overhead

         The Debtors’ aggressive growth strategy included significant investments in their
infrastructure to support future Emergency Centers. These investments included a new corporate
headquarters in Houston, a significant marketing spend, and increased employee headcount. As
the Debtors were forced to shift away from a growth strategy, they have closed underperforming
facilities and elected not to open new facilities. As a result, the Debtors’ overhead costs have
become inconsistent with the current size of their business. Although the Debtors made
significant corporate overhead expense reductions in 2017, including reductions in force and
spending cuts, corporate overhead remained out of proportion to the Petition Date level of
operations primarily due to the high costs of unutilized headquarters space.

       D.      Costs Associated with Closed and Never-Opened Emergency Centers

       The Debtors’ obligations still included costs related to the Closed Centers – specifically,
and significantly, the Debtors’ unexpired lease obligations. As of the Petition Date, the Debtors
had future non-cancelable obligation commitments for operating and capital leases of
approximately $90 million.

        The Debtors primary real property landlord on closed and never-opened centers was Read
King, Inc. (“Read King”). Prepetition, the Debtors (and certain principals of the Debtors)
partnered with Read King to develop new locations for Emergency Centers. In many instances,
the arrangement included Read King identifying a property; Neighbors executing a long-term
lease (typically 12 years); Read King financing the purchase of the real property and the building
shell; Neighbors building out the interior, opening the site, and paying rent to Read King (the
“RK Leases”).

        As tenants under the RK Leases, the Emergency Centers were subject to a Master
Guaranty of Leases (the “Master Guaranty”), which provides that the tenant Emergency Centers
under the RK Leases were guarantors of all the RK Leases. Based on these cross-guarantees, as
guarantors of the RK Leases, the tenant Emergency Centers were jointly and severally liable for
default of any of the other Emergency Centers.

       E.      Attempts at Out-of-Court Restructuring

        In the fourth quarter of 2016, certain of the Debtors fell out of compliance with certain
covenants under the Prepetition Credit Agreement. After significant negotiations, the Debtors
and the Prepetition Agent agreed on an amendment to the Prepetition Credit Agreement. In the
summer of 2017, the enterprise experienced continued underperformance and cash strain, which
resulted in additional covenant defaults.

        Beginning in the fourth quarter of 2016 and continuing into 2017, Debtors implemented
various expense reduction initiatives, including an aggregate reduction in senior management
salaries, eliminating certain corporate headquarters positions, reductions in marketing expenses

                                                9
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 19 of 145




across all Emergency Centers, reductions in expenditures for corporate office supplies and food,
and corporate travel reductions.

       As of the fourth quarter of 2017, these cost reductions generated annualized cost savings
of almost $22 million (approximately $18,000 average reduction in overhead costs per month at
each of the individual Emergency Centers). Additionally, based on the significant headwinds
facing the business, the Debtors closed 13 underperforming Emergency Centers (the “Closed
Centers”) and elected not to open 8 centers that had been in various stages of planning and
preparation for opening.




                           Neighbors Closed and Never-Opened Locations

        During this process, the Debtors also engaged Chad J. Shandler (the “Chief Restructuring
Officer” or “CRO”) as CRO and his duties included evaluating the existing business model,
recommending the closure of unprofitable locations, negotiating with Key Bank, negotiating
with vendors and real property lessors, negotiating with real property lessors, and assessing other
areas of change within the business

       In addition to retaining Shandler as CRO, the Debtors’ retained his firm, CohnReznick8,
to lead efforts to facilitate the Debtors’ restructuring efforts, which included the following
advisory services:

             a.   evaluating and assessing the Company’s operating performance and strategy;



8
 On September 1, 2018, the Debtors’ CRO joined FTI Consulting (“FTI”). On September 29, 2018, at Docket No.
540, the Debtors filed their Application to Employ FTI to continue the designation of Chad J. Shandler as the
Debtors’ CRO. On October 24, 2018, at Docket No. 580, the Court entered its Order Approving the Retention of
FTI as of September 1, 2018.


                                                     10
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 20 of 145




             b.   assessing projected EBITDA and net cash flow by facility and corporate entity
                  service provider;

             c.   evaluating a go forward strategy to continue or close facilities;

             d.   assisting management with cost saving initiatives including the reduction of
                  corporate personnel and streamlining the organization by realigning
                  responsibilities;

             e.   providing assistance and analysis in determining DIP financing size and
                  requirements;

             f.   assisting in the development of strategy relating to patients and vendors;

             g.   providing accounting and financial advisory and support services; evaluating cash
                  management controls and procedures; assisting with the management of cash
                  disbursements and vendor relationships;

             h.   implementing controls and procedures to conserve cash;

             i.   assisting in the preparation of weekly and monthly reports;

             j.   analyzing actual results in comparison to cash forecasts and financial projections;

             k.   assisting the Debtors’ with the data and information gathering relating to third
                  party due diligence for potential transactions with financial and strategic buyers;
                  and

             l.   advising and assisting the Debtors’ and other professionals retained by the
                  Debtors’ in developing and executing a Chapter 11 strategy including section 363
                  sales.

      In addition, CohnReznick assisted the Debtors in improving their Revenue Cycle
Management, which included:

             a.   the supervision and management of the claims processing;

             b.   payment and revenue generation performed by the billing and collection
                  departments;

             c.   implementation of improvements in charge capture, pricing and coding;

             d.   development of accounts receivable coverage strategies;

             e.   development of high priority, cash driving, work lists for account follow up staff;

             f.   implementation of outsourced vendor coverage for previously uncovered accounts
                  receivable including worker’s compensation, liability and commercial underpays;


                                                   11
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 21 of 145




             g.   development of productivity standards and measurement tools; and

             h.   facilitation of the transition to a new and enhanced revenue cycle management
                  system software to improve billing accuracy and follow-up.

        Prior to the Petition Date, the Debtors closed 7 underperforming Emergency Centers
resulting in annual cost savings of at least $3.2 million and reduced corporate overhead,
primarily headcount reductions, resulting in approximately $3.4 million in annual savings. In
addition, the decision not to open a center resulted in a savings of approximately $400,000 in
pre-opening costs and an additional $1.1 million of projected EBITDA losses due to operating
inefficiencies and the lack of market awareness sustained by new centers in its first year of
operations.9

       In late 2017 and early 2018 the Debtors engaged in discussions with all categories of
stakeholders, including its secured lenders, landlords, employees, and vendors.

        After carefully considering all available strategic alternatives, and in consultation with
the Prepetition Agent, the Debtors concluded that it was in the best interests of their creditors and
other stakeholders to market their assets for sale and prepare for a chapter 11 bankruptcy case.

        F.        Prepetition Marketing of the Debtors’ Assets and Negotiation of the Stalking
                  Horse Bids

        On January 2, 2018, in conjunction with their ongoing discussions with the Prepetition
Agent, the Debtors retained Houlihan Lokey (“Houlihan”) as their investment banker.
Thereafter, Houlihan and the Debtors began a marketing process that included, among other
things:

              a. Establishing a data room with relevant documents about the Debtors’ businesses,
                 financial status and operations;

              b. Negotiating and executing non-disclosure agreements with interested parties;

              c. Preparing a Confidential Information Presentation (“CIP”);

              d. Approaching strategic and financial buyers with industry and/or “special
                 situations” experience;

              e. Approaching Class A and B holders that had expressed an interest in participating
                 in the sale process;

              f. Marketing the Debtors as 1) an entire portfolio, 2) by individual market, and 3) by
                 individual facility;


9
  The decision to not open a facility takes into consideration many factors including, but not limited to, the
competitive landscape and the negative impact on operating cash flow before an emergency center achieves the
volume and profitability to contribute to system-wide performance.


                                                     12
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 22 of 145




             g. Having numerous informal discussions with bidders regarding the Debtors’
                business and bidder due diligence;

             h. Holding management presentations with 3 parties;

             i. Conducting site visits with 3 parties;

             j. Analyzing bids, negotiating asset purchase agreements and selecting the Stalking
                Horse Bidder (defined below);

         Houlihan initially contacted 127 parties. Sixty-one parties signed non-disclosure
agreements and were granted access to the data room. Thereafter, Debtors and Houlihan
solicited indications of interest (“IOI”) with a deadline of February 16, 2018. Eighteen parties
submitted IOI, ranging from interest in a whole-system bid to bids on specific Emergency
Centers. Houlihan spent a substantial amount of time providing feedback and guidance to parties
that submitted IOI. The Debtors’ and Houlihan further provided supplemental due diligence and
had numerous telephone conferences, in person meetings, 3 management presentations, and 3
site visits at the Debtors’ headquarters in Houston or at various Emergency Centers.

        The Debtors’ counsel, with input from Houlihan, prepared a form of asset purchase
agreement to serve as the baseline agreement for all bidders. Stalking horse candidates were
required to provide an asset purchase agreement marked against the Debtors’ version by April 9,
2018. The Debtors received five formal bids. Two bids were whole-system bids for
substantially all of the Debtors’ assets. Two bids were for some or all of the Debtors’ Houston
locations. One bid was for the Debtors’ Midland and Odessa locations.

        After evaluating all of the bids and consulting with their advisors and with the Prepetition
Agent, the Debtors selected Altus Health Systems OPCO, LLC and Altus Health System Realty,
LLC (“Altus”) as the stalking horse bidder (the “Houston Stalking Horse Bidder”) for Houston
assets.

                                     IV.
                 MATERIAL EVENTS DURING THE CHAPTER 11 CASES

        On July 12, 2018, the Debtors filed their voluntary petitions for relief under chapter 11 of
the Bankruptcy Code. Set forth below is a summary of certain material events that have occurred
since the Petition Date.

       A.       Commencement of Chapter 11 Cases and First Day Motions

       Prior to the closing of sales for substantially all of the Debtors’ assets, the Debtors
operated in the ordinary course during the pendency of the Chapter 11 Cases. To facilitate the
prompt and efficient implementation of the Plan through the Chapter 11 Cases, the Debtors’
Chapter 11 Cases have been assigned to the same bankruptcy judge and administered jointly.
The Debtors filed various motions seeking relief from the Bankruptcy Court to facilitate a
smooth business transition through the Chapter 11 Cases, and minimize any disruptions to the
Debtors’ operations (the “First Day Motions”). The following is a brief overview of the relief


                                                 13
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 23 of 145




the Bankruptcy Court granted shortly after the Petition Date in order to maintain their operations
in the ordinary course.

               a. Cash Management System

         The Debtors maintain a complex centralized cash management system designed to
receive, monitor, aggregate, and distribute cash. At a hearing before the Bankruptcy Court on
July 13, 2018 (the “First Day Hearing”), at Docket No. 37, the Bankruptcy Court granted the
Debtors interim authority to continue the use of their existing cash management system, bank
accounts, and related business forms to avoid a disruption in the Debtors’ operations and
facilitate the efficient administration of the Chapter 11 Cases. Thereafter, on August 1, 2018, the
Bankruptcy Court conducted a further hearing to consider granting the relief requested in certain
of the Debtors’ First Day Motions on a final basis (the “Second Day Hearing”). The Bankruptcy
Court, at Docket No. 197, granted the Debtors authority to continue the use of their existing cash
management system, bank accounts, and related business forms on a final basis at the Second
Day Hearing. On November 2, 2018, at Docket No. 599, the Court entered the Supplemental
Agreed Order Extending the Deadline by Which the Debtors Must Comply with Section 345(b)
of the Bankruptcy Code, which extends the Debtors’ deadline to comply with section 345(b) to
November 30, 2018.

               b. Approval of DIP Financing and Use of Cash Collateral

        To address their working capital needs and fund their chapter 11 efforts, the Debtors
required the use of cash that is subject to liens (the “Cash Collateral”) granted in favor of the
Prepetition Agent under the DIP Credit Agreement. The Debtors requested authority to continue
to use the Cash Collateral in the ordinary course of business subject to certain restrictions. On
July 13, 2018, at Docket No. 39, the Bankruptcy Court entered an order approving the Debtors’
Cash Collateral motion on an interim basis. On August 8, 2018, at Docket No. 193, the
Bankruptcy Court entered an order granting the Debtors authority to use Cash Collateral on a
final basis.

       On August 8, 2018, at Docket No. 193, the Court approved the DIP Credit Agreement,
provided by the DIP Agent for itself and certain parties identified as the DIP Lenders in the form
of a post-petition senior secured loan facility with a commitment in an aggregate principal
amount of up to $24,000,000, comprised of a revolving loan up to $8,000,000 and a roll-up of
$16,000,000.

       The DIP Facility provided liquidity that was unavailable from any other source and
allowed the Debtors to transition into bankruptcy while trying to continue to market their assets.
The DIP Facility enabled the Debtors to have a smooth entry into chapter 11, continue
operations, and pursue a sale process that would maximize value for the Debtors’ estates.

        The Final DIP Order also includes a settlement carve-out from the sale of the Debtors’
assets for the benefit of unsecured creditors. Specifically, the DIP Secured Parties agree to
allocation of $275,000 (as defined in the Plan, the “GUC Settlement Cash”) of the proceeds from
the sale of the Debtors’ assets will be allocated exclusively for the initial funding of the
Unsecured Creditor Trust; and not sharing, on account of their deficiency claims, in the first


                                                14
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 24 of 145




$1,000,000 of net distributions from the Unsecured Creditor Trust on account of General
Unsecured Claims provided that the next $125,000 of such distributions are paid solely to the
DIP Secured Parties.

               c. Utilities

         In the ordinary course of business, the Debtors incur certain expenses related to essential
utility services, such as electricity, gas, water, and telecommunications. Accordingly, on July 12,
2018, the Debtors requested, and on July 19, 2018, the Court entered its Order (i) approving
Debtors’ adequate assurance of payment to utility companies, (ii) establishing procedures for
resolving objections, and (iii) prohibiting utility companies from altering, refusing or
discontinuing service.

               d. Insurance

        The maintenance of certain insurance coverage is essential to the Debtors’ operations and
is required by laws, various regulations, financing agreements, and revenue contracts. The
Debtors believe that the satisfaction of their obligations relating to their insurance policies,
whether arising pre- or post-petition, is necessary to maintain the Debtors’ relationships with
their insurance providers and to ensure the continued availability and commercially reasonable
pricing of such insurance coverage. Accordingly, on August 1, 2018, the Bankruptcy Court
granted the Debtors the authority to continue to honor their obligations under their existing
policies and programs.

               e. Employee Wages and Benefits

         The Debtors’ Workforce is comprised of three primary groups: (i) Employees, including
part-time and full-time employees, (ii) the Physicians, and (iii) Pharmacists. The Workforce’s
skills, knowledge, and understanding of the Debtors’ operations and infrastructure are essential
to preserving operational stability and efficiency. In many instances, the Workforce includes
highly-trained medical professionals who are not easily replaced. To minimize the uncertainty
and potential distractions associated with the Chapter 11 Cases, at the First Day Hearing, the
Court granted the Debtors the authority, on an interim basis, to continue to honor their
obligations to their workforce in the ordinary course of business, including (a) the payment of
prepetition wages, and (b) the continuation of the Debtors’ benefit programs and policies. On
August 8, 2018, the Bankruptcy Court granted this relief on a final basis. On November 20,
2018, at Docket No. 684, the Court entered the Agreed Supplemental Order Authorizing the
Debtors to Continue to Pay Certain Postpetition Severance Obligations to Noninsiders.

               f. Protect Confidential Information

       As healthcare providers, the Debtors are subject to certain regulations regarding patient
confidentiality. To ensure that the Debtors could comply with the Bankruptcy Code while still
meeting their regulatory obligations and maintaining patient confidentiality, the Debtors
requested authority to file Redacted Patient Schedules, to the extent required. The Court
authorized the filing of Redacted Patient Schedules by its order at Docket No. 38.



                                                15
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 25 of 145




               g. Pay Prepetition Patient Refunds

       In the ordinary course of business, health care facilities like the Debtors receive
overpayments on patient accounts. The patient refunds are not part of the Debtors’ estates.
Accordingly, on August 6, 2018, the Court authorized the Debtors to pay up to $15,000, in the
aggregate, to all patients who overpaid for procedures prior to the Petition Date.

       B.      Other Significant Matters

               a. Bar Date

        On July 12, 2018, the Court entered an order granting complex case treatment of the
Debtors’ chapter 11 bankruptcy case and establishing a deadline for filing proofs of claim. On
October 5, 2018, at Docket No. 551, the Debtors filed their Notice of Deadlines for Filing Proofs
of Claim. The deadline for governmental units to file proofs of claim is 180 days after the
Petition Date, or January 8, 2019 (the “Governmental Unit Bar Date”). The deadline for all other
parties to file proofs of claim is 90 days after the first date set for the meeting of creditors, or
November 14, 2018 (the “Bar Date”).

               b. Reject Unexpired Leases for Closed Centers

        To preserve estate value, the Debtors moved to reject certain unexpired leases for both
real and personal property at Debtors’ Closed and Never-Opened Centers. On August 8, 2018, at
Docket Nos. 200 and 201, the Court entered Orders Rejecting the Debtors’ real and personal
property leases at the Debtors’ Closed and Never-Opened Centers.

               c. Appointment of Committee

       On July 23, 2018, the U.S. Trustee appointed the Committee. The Committee is
composed of Read King, Inc., UCP Texas Limited, Ltd., The Don Levin Trust, XtreMed
Enterprise, LLC, and Southwest Precision Printers, LP.

               d. Appointment of Patient Care Ombudsman

        On August 8, 2018, pursuant to 11 U.S.C. § 333, the U.S. Trustee appointed Susan N.
Goodman as the Patient Care Ombudsman. The Patient Care Ombudsman filed the following
reports:

DOCKET NO.                                           REPORT
   594              Patient Care Ombudsman’s Second Consolidated Report for All Locations
   488              First Interim Report for Northeast Texas – Paris and Texarkana Locations
                    First Interim Report for Golden Triangle – Beaumont, Orange, and Port
       487
                    Arthur Locations
                    First Interim Report for Houston Metro – Crosby, Copperfield, Baytown,
       486
                    Bellaire, Kingwood, Pasadena, Pearland, and Porter Locations
       335          First Interim Report for South Texas – Harlingen, McAllen, and Brownsville
       334          First Interim Report for Austin/Mueller Location
       333          First Interim Report for West Texas – Amarillo, Lubbock, Midland, Odessa,

                                                16
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 26 of 145




                   and El Paso

              e. Key Employee Retention Plan

        Throughout the bankruptcy process, the Debtors lost a number of key employees who
were critical to the Debtors’ operations. To combat key employee attrition, the Debtors created a
non-insider Key Employee Retention Plan (“Non-Insider KERP”), which the Court approved on
August 17, 2018, at Docket No. 253. The Non-Insider KERP pays approximately 67 Critical
Employees an additional week’s salary for every month worked post-petition, with various
limitations, not to exceed, in the aggregate, $272,000.

       C.     Bidding Procedures and Sale

        The Debtors filed a motion to schedule an auction, approve bid procedures, approve the
Houston Stalking Horse Bidder, approve payment of bid protections, and approve the sale of the
Debtors’ assets [Docket No. 20] (the “Sale Motion”). On August 8, 2018, the Court entered its
Order (the “Bid Procedures Order”), which approved bid procedures, including a bid deadline
(the “Qualified Bid Deadline”) of August 22, 2018, approved Altus (the “Houston Stalking
Horse Bidder”) as the stalking horse bidder for the Debtors’ Houston locations and authorized
the Debtors to select other stalking horse bidders for the Debtors’ non-Houston locations,
scheduled an auction for 10:00 a.m. on August 27, 2018, and approved the payment of bid
protections.

       On July 23, 2018, the Debtors designated Fostre, Inc. as the stalking horse bidder (the
“Non-Houston Stalking Horse Bidder”) for the Debtors’ non-Houston locations. Collectively,
the Houston and Non-Houston Stalking Horse Bidders agreed to purchase substantially all of the
Debtors’ assets for approximately $37 million.

              a. Auction

        The Debtors received nine qualified bids by the Qualified Bid Deadline. The nine
qualified bidders and their counsel attended the auction. The auction started at approximately
10:00 a.m. on August 27, 2018, and concluded at approximately 10:00 a.m. on August 28, 2018.
At the conclusion of the auction, the Debtors selected the highest and best bid, which was a
consortium bid with five separate bidders, for substantially all of the Debtors’ assets at a
purchase price of approximately $74 million with bids as follows:




                                               17
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 27 of 145




        The Debtors additionally selected two Back-up Bidders for certain Houston and Non-
Houston locations. The Debtors selected Nitya Capital, LLC (“Nitya”) to be the Back-up Bidder
for the Debtors’ Baytown, Bellaire, Crosby, Kingwood, Pearland, Pasadena, Porter, Amarillo,
Beaumont, Brownsville, Eastside, Harlingen, McAllen, Midland, Mueller, Odessa, Paris, Port
Arthur, and Texarkana locations. The Debtors selected Greater Texas Emergency Center, LLC
(“Greater Texas”) to be the Back-up Bidder for the Debtors’ Yorktown facility (excluding
accounts receivables).

               b. Approval of the Sale

       On September 12, 2018, at Docket No. 482, the Court entered its Order (the “Sale
Order”) approving the sale of the Debtors’ assets, but reserving approval of the Sale to Greater
Texas and reserving approval of the Nitya Back-up Bidder. On September 14, 2018, at Docket
No. 484, the Court approved the sale of the Debtors’ Bellaire, Yorktown, Odessa, Midland,
Texarkana, and Paris facilities to Greater Texas. On September 24, 2018, at Docket No. 524, the
Court entered its Order regarding objections to the Debtors’ proposed assumption and
assignment of executory contracts and unexpired leases.

       On September 28, 2018, the Court approved Nitya as the Back-up Bidder for the Debtors’
Baytown, Bellaire, Crosby, Kingwood, Pearland, Pasadena, Porter, Amarillo, Beaumont,
Brownsville, Eastside, Harlingen, McAllen, Midland, Mueller, Odessa, Paris, Port Arthur, and
Texarkana locations. On October 24, 2018, at Docket No. 582, the Debtors filed the executed
Asset Purchase Agreement for the Back-up Bidder.

               c. Sale Closings

       Pursuant to the Sale Order and the approved Asset Purchase Agreements, the Debtors
have sold substantially all of their assets through five separate Purchase Agreements, as outlined
below:




                                               18
6790233v15
        Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 28 of 145




                                                                                        DOCKET NO. OF
                       BUYER                                 CLOSING DATE
                                                                                           NOTICE
                   AEC ER 4, LLC                              October 31, 2018               601
         Tenet Business Services Corporation                  October 31, 2018               601
     Altus Health Systems OPCO, LLC and Altus
                                                             November 5, 2018                     637
             Health System Realty, LLC
       Greater Texas Emergency Centers, LLC                  November 5, 2018                     637
                Exceptional H.C., Inc.                       November 13, 2018                    680

                 d. Reject Unexpired Leases for Sold Centers

       To preserve estate value, for certain unexpired leases that no Buyer assumed pursuant to
the Purchase Agreements, the Debtors moved to reject certain unexpired leases for personal
property at Debtors’ remaining centers. On November 6, 2018, the Court entered its Order
Granting Debtors’ Emergency Third Omnibus Motion to Authorize and Approve the Rejection
of Certain Unexpired Leases and Executory Contracts. (Docket No. 596). On November 20,
2018, the Court entered its Order Granting Debtors’ Emergency Fourth Omnibus Motion to
Authorize and Approve the Rejection of Certain Unexpired Leases and Executory Contracts.
(Docket No. 683).

         D.      Retention of Professionals

       The Debtors retained Porter Hedges LLP as their general bankruptcy and restructuring
counsel, CohnReznick10 as their financial advisor, and Houlihan Lokey as their investment
banker. Additionally, the Committee has retained Cole Schotz P.C. as its counsel and
GlassRatner Advisory & Capital Group, LLC as its financial advisor.

                                              V.
                                      SUMMARY OF THE PLAN

       This section of the Disclosure Statement summarizes the Plan, a copy of which is
attached hereto as Exhibit A. This summary is qualified in its entirety by reference to the Plan.

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article III.

A.       Administrative Claims, DIP Claims, Priority Claims

         1.      General Administrative Claims

       Except with respect to Administrative Claims that are Professional Fee Claims and except
to the extent that a Holder of an Allowed Administrative Claim and the Debtors or the

10
  On August 31, 2018, the Debtors’ CRO left CohnReznick and joined FTI Consulting (“FTI”). On September 29,
2018, at Docket No. 540, the Debtors filed their Application to Employ FTI to continue the designation of Chad J.
Shandler as the Debtors’ CRO. On October 24, 2018, at Docket No. 580, the Court entered its Order Approving the
Retention of FTI as of September 1, 2018.


                                                       19
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 29 of 145




Liquidating Trustee agree to less favorable treatment for such Holder’s Allowed Administrative
Claim, each Holder of an Allowed Administrative Claim shall be paid in full in Cash from the
Administrative Claims Reserve or the Liquidating Trust Cash on the later of (i) the Effective
Date or as soon as reasonably practical thereafter, (ii) the date on which such Administrative
Claim becomes an Allowed Claim; or (iii) such other date as the Liquidating Trustee and the
Holder of the Allowed Administrative Claim shall agree. Allowed Administrative Claims that
are not secured by a valid, perfected, postpetition Lien are not entitled to postpetition interest or
legal fees and expenses. For the avoidance of doubt, Holders of an Administrative Claim shall
not be entitled to any claim or recovery against the Unsecured Creditor Trust, the Unsecured
Creditor Trust Assets or the Unsecured Creditor Trust Cash.

       2.      Administrative Claim Reserve Amount

               On or before the Effective Date, the Debtors shall provide the Liquidating Trustee
with an estimated amount of Administrative Claims, other than Professional Fee Claims, that are
accrued and unpaid as of the Effective Date. The Liquidating Trustee shall promptly establish
the Administrative Claims Reserve in an amount not less than the Debtors’ estimate. The DIP
Secured Parties and the Prepetition Secured Parties shall have a security interest in all funds in
the Administrative Claim Reserve and, to the extent any funds remain in the Administrative
Claims Reserve after payment in full of all Allowed Administrative Claims, other than
Professional Fee Claims, the Liquidating Trustee shall disburse any remaining funds to the DIP
Agent, or to the extent that the DIP Claims have been satisfied in full, to the Prepetition Agent.

       3.      Professional Fee Escrow

       Each holder of a Professional Fee Claim shall be paid in respect of such Professional Fee
Claim in Cash from the Professional Fee Escrow, in full, promptly after Bankruptcy Court
approval of the Professional Fee Claim by a Final Order. Final fee applications for any
Professional Fee Claim shall be filed within forty-five (45) days of the Effective Date and such
applications and objections thereto (if any) shall be filed in accordance with and comply in all
respects with the Bankruptcy Code, the Bankruptcy Rules, and applicable local rules. Upon
payment in full of all Allowed Professional Fee Claims, any balance of Cash remaining in the
Professional Fee Escrow shall be Available Cash. For the avoidance of doubt, Holders of a
Professional Fee Claim shall not be entitled to any claim or recovery against the Unsecured
Creditor Trust, the Unsecured Creditor Trust Assets or the Unsecured Creditor Trust Cash.

       4.      Professional Fee Reserve Amount

        At least five (5) days prior to the Effective Date all Professionals shall provide the
Debtors with an estimate of outstanding fees owed through the Effective Date and the Debtors
shall estimate the amount to be reserved (the “Professional Fee Reserve Amount”).

       5.      DIP Claims

        To the extent not already satisfied prior to the Effective Date, the DIP Claims shall be
deemed Allowed Claims under the Plan. The DIP Claims shall be satisfied in full, on the
Effective Date, by the termination of all commitments under the DIP Credit Agreement, and
indefeasible payment in full in Cash to the DIP Agent, as agent for the DIP Secured Parties, of

                                                 20
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 30 of 145




all outstanding obligations thereunder. Until satisfied in full, the DIP Secured Parties shall retain
all rights, Claims, and Liens available pursuant to the DIP Credit Agreement and the Final DIP
Order. For the avoidance of doubt, the DIP Claims shall not be entitled to any claim or recovery
against the Unsecured Creditor Trust, the Unsecured Creditor Trust Assets or the Unsecured
Creditor Trust Cash.

       6.      Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtors or
the Liquidating Trustee agree to less favorable treatment for such Holder’s Allowed Priority Tax
Claim, each Holder of an Allowed Priority Tax Claim will be paid in full in Cash from the
Disputed Claims Reserve established by the Liquidating Trustee in an amount equal to the
amount of such Allowed Priority Tax Claim on the latest of: (i) the Effective Date or as soon as
reasonably practical thereafter, (ii) the date on which such Priority Tax Claim becomes an
Allowed Claim; or (iii) such other date as the Liquidating Trustee and the holder of the Allowed
Priority Tax Claim shall agree. For the avoidance of doubt, Holders of Priority Tax Claims shall
not be entitled to any claim or recovery against the Unsecured Creditor Trust, the Unsecured
Creditor Trust Assets or the Unsecured Creditor Trust Cash.

       7.      Statutory Fees

       On the Effective Date, the Debtors shall pay all fees due and payable pursuant to section
1930 of the Judicial Code prior to the Effective Date. After the Effective Date, the Liquidating
Trustee shall pay any and all such fees when due and payable. The Debtors shall file all monthly
operating reports due prior to the Effective Date when they become due, in a form reasonably
acceptable to the U.S. Trustee. After the Effective Date, the Liquidating Trustee shall file with
the Bankruptcy Court quarterly reports when they become due, in a form reasonably acceptable
to the U.S. Trustee, which reports shall include a schedule of disbursements made by the
Liquidating Trustee during the applicable period, attested to by an authorized representative of
the Liquidating Trustee.

B.     Classification and Treatment of Claims and Interests

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of
Classes of Claims against and Interests in the Debtors. A Claim or Interest is classified in a
particular Class only to the extent that the Claim or Interest qualifies within the description of
that Class and is classified in other Classes to the extent that any portion of the Claim or Interest
qualifies within the description of such other Classes. A Claim or Interest is also classified in a
particular Class for the purpose of receiving Distributions pursuant to the Plan only to the extent
that such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

       The classification of Claims and Interests against the Debtors pursuant to the Plan is as
follows:




                                                 21
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 31 of 145




C.     Treatment of Claims and Interests

             a. Class 1:   Other Priority Claims

                    (a)    Treatment: Except to the extent that a Holder of an Allowed Other
                           Priority Claim and the Debtors or the Liquidating Trustee agree to
                           a less favorable treatment, in full and final satisfaction,
                           compromise, settlement, and release of and in exchange for each
                           Allowed Other Priority Claim, each such Holder shall receive Cash
                           from the Liquidating Trust Cash equal to the amount of the
                           Allowed Other Priority Claim. For the avoidance of doubt,
                           Holders of Class 1 Allowed Other Priority Claims shall not be
                           entitled to any claim or recovery against the Unsecured Creditor
                           Trust, the Unsecured Creditor Trust Assets or the Unsecured
                           Creditor Trust Cash.

                    (b)    Voting: Class 1 is Unimpaired. Holders of Class 1 Other Priority
                           Claims are deemed to accept the Plan pursuant to section 1126(f)
                           and are not entitled to vote to accept or reject the Plan.

             b. Class 2:   Other Secured Claims

                    (a)    Treatment: Except to the extent that a Holder of an Allowed Other
                           Secured Claim and the Debtors or the Liquidating Trustee agree to
                           a less favorable treatment, in full and final satisfaction,
                           compromise, settlement, and release of and in exchange for each
                           Allowed Other Secured Claim, each such Holder shall receive
                           either (i) Cash from the Liquidating Trust Cash in an amount equal
                           to the proceeds of the collateral securing such Holder’s Allowed
                           Other Secured Claim after satisfaction in full of all superior liens
                           up to the Allowed Amount of the Allowed Other Secured Claim;
                           or (ii) to the extent the amount of an Allowed Other Secured Claim
                           is greater than the value of the collateral securing such Allowed
                           Other Secured Claim and there are no Liens on such collateral
                           senior to the Lien held by or for the benefit of the Holder of such
                           Allowed Other Secured Claim, solely the collateral securing such
                           Allowed Other Secured Claim in full and final satisfaction of such
                           Claim. For the avoidance of doubt, Holders of Class 2 Allowed
                           Other Secured Claims shall not be entitled to any claim or recovery
                           against the Unsecured Creditor Trust, the Unsecured Creditor Trust
                           Assets or the Unsecured Creditor Trust Cash.

                    (b)    Voting: Class 2 is Unimpaired. Holders of Class 2 Other Secured
                           Claims are deemed to accept the Plan pursuant to section 1126(f)
                           and are not entitled to vote to accept or reject the Plan.




                                            22
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 32 of 145




             c. Class 3:   Prepetition Secured Loan Claims

                    (a)    Treatment: Each Holder of a Prepetition Secured Loan Claim shall
                           receive all Available Cash, plus the proceeds of the Remaining
                           Prepetition Collateral up to the amount of the Prepetition Loan
                           Claim outstanding after all payments made pursuant to the Final
                           DIP Order. For the avoidance of doubt, Holders of Class 3
                           Prepetition Secured Loan Claims shall not be entitled to any claim
                           or recovery against the Unsecured Creditor Trust, the Unsecured
                           Creditor Trust Assets or the Unsecured Creditor Trust Cash.

                    (b)    Voting: Class 3 is Impaired. The Holders of Class 3 Prepetition
                           Secured Loan Claims are entitled to vote to accept or reject the
                           Plan.

             d. Class 4:   General Unsecured Claims

                    (a)    Treatment: Pro Rata share of the Unsecured Creditor Trust
                           Interests. For the sake of clarify, the Holder of the Prepetition
                           Deficiency Claim shall receive its Pro Rata share of the Unsecured
                           Creditor Trust Interests; provided, however, the Distributions on
                           account of such interest shall be limited as follows: (i) Prepetition
                           Deficiency Claim will not receive any recovery from the first
                           $1,000,000 of Distributions from the Unsecured Creditor Trust
                           Cash; (ii) Prepetition Deficiency Claim will receive the entire
                           amount of the first $125,000 of Distributions after the first
                           $1,000,000 of Distributions from the Unsecured Creditor Trust
                           Cash; and (iii) Prepetition Deficiency Claim will share Pro Rata
                           with other General Unsecured Claims on any Distributions from
                           the Unsecured Creditor Trust Cash over $1,125,000.

                    (b)    Voting: Class 4 is Impaired. Holders of Class 4 General Unsecured
                           Claims are entitled to vote to accept or reject the Plan.

             e. Class 5:   Section 510(b) Claims

                    (a)    Treatment: Class 5 Section 510(b) Claims, including all Series
                           LLC Claims, shall be subordinated to General Unsecured Claims
                           pursuant to section 510(b) of the Bankruptcy Code. Each holder of
                           a Class 5 Section 510(b) Claim shall receive it Pro Rata share of
                           the Unsecured Creditor Trust Cash, if any, after all Claims in Class
                           4 have been satisfied in full.

                    (b)    Voting: Class 5 is Impaired under the Plan. Each holder of a
                           Section 510(b) Claim will be conclusively deemed to have rejected
                           the Plan pursuant to section 1126(g) of the Bankruptcy Code.
                           Therefore, each holder of a Section 510(b) Claim will not be
                           entitled to vote to accept or reject the Plan.

                                            23
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 33 of 145




              f. Class 6:    Intercompany Claims

                      (a)    Treatment: Class 6 Intercompany Claims shall be cancelled and
                             discharged, with the Holders of such Class 6 Intercompany Claims
                             receiving no Distribution on account of such Intercompany Claims.

                      (b)    Voting: Class 6 is Impaired. Holders of Class 6 Intercompany
                             Claims are deemed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code and, therefore, Holders of
                             Intercompany Claims are not entitled to vote to accept or reject the
                             Plan.

              g. Class 7:    Intercompany Interests

                      (a)    Treatment: Class 7 Intercompany Interests shall be cancelled and
                             discharged, with the Holders of such Class 7 Intercompany
                             Interests receiving no Distribution on account of such
                             Intercompany Interests.

                      (b)    Voting: Class 7 is Impaired. Holders of Class 7 Intercompany
                             Interests are deemed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code and, therefore, Holders of
                             Intercompany Interests are not entitled to vote to accept or reject
                             the Plan.

              h. Class 8:    Neighbors Equity Interests

                      (a)    Treatment: Class 8 Neighbors Equity Interests shall be cancelled
                             and discharged, with the Holders of such Class 8 Neighbors Equity
                             Interests receiving no Distribution on account of such Neighbors
                             Equity Interests.

                      (b)    Voting: Class 8 is Impaired. Holders of Class 8 Neighbors Equity
                             Interests are deemed to have rejected the Plan pursuant to section
                             1126(g) of the Bankruptcy Code and, therefore, Holders of
                             Neighbors Equity Interests are not entitled to vote to accept or
                             reject the Plan.

                                       VI.
                             ACCEPTANCE REQUIREMENTS

        Pursuant to sections 1126(c) and 1126(d) of the Bankruptcy Code and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (a) an impaired class of claims
has accepted a chapter 11 plan if the holders of at least two-thirds in dollar amount and more
than one-half in number of allowed claims in such class actually voting have voted to accept the
plan and (b) an impaired class of interests has accepted the plan if the holders of at least two-
thirds in amount of the allowed interests in such class actually voting have voted to accept the
plan.

                                               24
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 34 of 145




       A.      Acceptance or Rejection of this Plan

               a. Voting Classes

        Classes 2, 3 and 4 are Impaired under the Plan and are entitled to vote to accept or reject
the Plan.

               b. Deemed Acceptance of the Plan

        Class 1 is Unimpaired under the Plan and therefore is deemed to accept the Plan pursuant
to section 1126(f) of the Bankruptcy Code

               c. Deemed Rejection of the Plan

         Classes 5, 6, 7, and 8 are Impaired under the Plan and are not entitled to receive or retain
any property on account of the Claims and Interests in Classes 5, 6, 7, and 8. Therefore, Classes
5, 6, 7, and 8 are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
Code.

       B.      Subordination of Series LLC Claims

       The Plan proposes to subordinate any Series LLC Claims, which include claims related to
the purchase of any Series LLC interest, pursuant to section 510(b) of the Bankruptcy Code,
which provides that:

        For the purpose of distribution under this title, a claim arising from rescission of a
purchase or sale of a security of the debtor or of an affiliate of the debtor, for damages arising
from the purchase or sale of such a security, or for reimbursement or contribution allowed under
section 502 on account of such a claim, shall be subordinated to all claims or interests that are
senior to or equal the claim or interest represented by such security, except that if such security is
common stock, such claim has the same priority as common stock.

        11 U.S.C. § 510(b). “Section 510(b) serves to effectuate one of the general principles of
corporate and bankruptcy law: that creditors are entitled to be paid ahead of shareholders in the
distribution of corporate assets.” In re SeaQuest Diving, LP, 579 F.3d 411, 417 (5th Cir. 2009)
(quoting In re Am. Wagering, Inc., 493 F.3d 1067, 1071 (9th Cir. 2007)).

       “Section 510(b) requires the subordination of three distinct categories of claims: (1) a
claim arising from rescission of a purchase or sale of a security of the debtor (the rescission
category); (2) a claim for damages arising from the purchase or sale of a security of the debtor
(the damages category); and (3) a claim for reimbursement or contribution allowed under 11
U.S.C. § 502 on account of either (1) or (2).” SeaQuest Diving, LP, 579 F.3d at 418; In re
Caprock Oil Tools, Inc., 585 B.R. 823, 827 (Bankr. S.D. Tex. 2018).

        The holders of the Series LLC Claims’ Interests qualify as a “security” under section
101(49) of the Bankruptcy Code because the interests are either a “transferable share” or they
fall within the broad residual category as debt or equity interests commonly known as securities.
11 U.S.C. § 101(49)(A)(viii), (xiv); see also In re Alta+Cast, LLC, 301 B.R. 150, 154–55

                                                 25
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 35 of 145




(Bankr. D. Del. 2003) (holding that a claim based on the debtor’s failure to purchase claimant’s
LLC membership interest was subject to mandatory subordination).

        The Series LLC Claims may arise from the purchase of a security of an affiliate of the
Debtors. For a claim to “arise from” the purchase or sale of a security, there must be some nexus
or causal relationship between the claim and the sale. SeaQuest Diving, LP, 579 F.3d at 421
(citing In re Telegroup, Inc., 281 F.3d 133, 142 (3d Cir. 2002)). A claim arising from the
purchase or sale of a security may include a claim predicated on post-issuance conduct, such as
claims for breach of contract, fraud, breach of fiduciary duties, and money-had-and-received. See
id.; see also In re Am. Hous. Found., 785 F.3d 143, 153 (5th Cir. 2015), as revised (June 8,
2015) (affirming bankruptcy court decision subordinating claims for fraud, breach of fiduciary
duties, and money-had-and-received). Similarly, this Court has interpreted section 510(b)
broadly to include claims that arise during the course of a claimant’s ownership of a security. See
In re Deep Marine Holdings, Inc., No. 09-39313 (MI), 2011 WL 160595, at *4 (Bankr. S.D. Tex.
Jan. 19, 2011) (subordinating claims asserting the right of appraisal, fraud, and an accounting
because the claims were causally linked to the defendants’ status as shareholders of the debtor).

        Here, Series LLC Claims are defined to include only claims asserted by holders of Series
LLC Interests in their capacity as holders of such interests. Thus, these claims necessarily have a
causal link to the holders’ status as security holders of the Debtors, and must be subordinated to
General Unsecured Claims pursuant to section 510(b) of the Bankruptcy Code.

       C.      Confirmation of this Plan Pursuant to Section 1129(b) of the Bankruptcy
               Code

       The Debtors may seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code.

       D.      Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests (or any Class of Claims or
Interests) are Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or prior to the Confirmation Date.

                                    VII.
                    MEANS FOR IMPLEMENTATION OF THE PLAN

        In addition to applicable provisions set forth elsewhere in the Plan, the following shall
constitute the means of execution and implementation of this Plan.

       A.      Deemed Consolidation

        The Plan is being proposed as a joint plan of liquidation for all of the Debtors. The Plan
constitutes a motion for deemed consolidation of the Debtors and their respective Estates solely
for purposes of voting on the Plan, confirming the Plan, and making Distributions pursuant to the
Plan. Deemed consolidation is a condition precedent to Confirmation. Consolidation of the
Debtors’ Estates is for the limited purpose of making Distributions to holders of Allowed Claims
to ease an administrative burden on the Debtors, their Estates, and the Plan Trustees.
Accordingly, voting on the Plan shall be conducted and counted on a consolidated basis. On the

                                                26
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 36 of 145




Effective Date, (a) the assets of the Debtors will be merged and/or treated as if they are merged
for the purpose of paying Allowed Claims against the Debtors; (b) any Claim filed or asserted
against any of the Debtors will be deemed a Claim against all of the Debtors, solely for the
purposes of voting and Distributions pursuant to the Plan (and any duplication of claims arising
from both primary operative documents and guaranty and/or other secondary obligations shall be
eliminated and all such claims against the Debtors shall be treated as a single claim that
eliminates such duplications); and (c) all Intercompany Claims and Interests will be eliminated.
Except as set forth in this paragraph, such consolidation shall not affect the legal and corporate
structure of the Debtors nor affect Causes of Action, including Avoidance Actions. In addition,
such consolidation shall not constitute a waiver of the mutuality requirement for setoff under
section 553 of the Bankruptcy Code. For avoidance of doubt, and notwithstanding anything to
the contrary herein, all Retained Causes of Action are preserved as they existed immediately
before the Effective Date for the Unsecured Creditor Trustee to prosecute on behalf of the
Unsecured Creditor Trust, and all recoveries by the Unsecured Creditor Trust, based upon, inter
alia, Causes of Actions, shall be accounted for on a consolidated basis. The deemed
consolidation under this Plan shall not affect or impair any valid, perfected and unavoidable Lien
to which the assets of any Debtors are subject in the absence of deemed consolidation under this
Plan; provided, however, the deemed consolidation shall not cause any such Lien to secure any
Claim which such Lien would not otherwise secure absent such deemed consolidation. Holders
of Allowed Claims or Allowed Equity Interests who assert identical Claims against or Equity
Interests in multiple Debtors shall be entitled to only a single satisfaction of such Claims or
Equity Interests.

        The Debtors believe that deemed consolidation will minimize costly disputes over
allocation of assets to be distributed and it will also facilitate the compromise reached among the
Debtors, the Committee, the Prepetition Agent, the DIP Agent, the Secured Creditors (as defined
in the Final DIP Order), and the DIP Lenders as embodied in paragraph 45 of the Final DIP
Order.

       The Deemed Consolidation set forth herein is a part of the overall Plan package agreed to
by the Prepetition Agent, the DIP Agent and the Committee, and accordingly, is required by
those parties.

       B.      Transactions Effective as of the Effective Date

        The transactions contemplated by the Plan shall be approved and effective as of the
Effective Date, without the need for any further state or local regulatory approvals or approvals
by any non-Debtor parties, and without any requirement for further action by the Debtors, their
board of directors, their stockholders, or any other person or entity.

       C.      The Liquidating Trust

        On or before the Effective Date, the Liquidating Trustee shall execute the Liquidating
Trust Agreement and cause the Liquidating Trust to accept, on behalf of the beneficiaries
thereof, (a) all Liquidating Trust Cash and (b) all other Liquidating Trust Assets. For the
avoidance of doubt, the permits, licenses, regulatory authorizations, approvals, and any other
asset or attribute necessary to comply with the Debtors’ duties under the Transition Services

                                                27
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 37 of 145




Agreements will be retained by the Liquidating Debtors and not transferred to the Liquidating
Trust; provided however, that the Liquidating Trustee will be the representative of the
Liquidating Debtors for all purposes as further set forth in section IV.K hereof. As of the
Effective Date, all assets vested in the Liquidating Trust shall be transferred and conveyed free
and clear of all Liens, Claims, and Interests except as otherwise specifically provided in the Plan
or in the Confirmation Order.

        On the Effective Date, the Liquidating Trust will be deemed created and effective without
any further action by the Bankruptcy Court or any party. The Liquidating Trust shall be
established for the primary purpose of liquidating its assets (as applicable) and for making
Distributions in accordance with the Plan and the Liquidating Trust Agreement, with no
objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the liquidating purpose of the Liquidating Trust.

       D.      The Unsecured Creditor Trust

        On or before the Effective Date, the Unsecured Creditor Trustee shall execute the
Unsecured Creditor Trust Agreement and cause the Unsecured Creditor Trust to accept, on
behalf of the beneficiaries thereof, (i) the GUC Settlement Cash, (ii) Retained Causes of Action
and (iii) claims under and proceeds of D&O Policies. As of the Effective Date, all assets vested
in the Unsecured Creditor Trust and all assets dealt with in the Plan shall be transferred and
conveyed free and clear of all Liens, Claims, and Interests except as otherwise specifically
provided in the Plan or in the Confirmation Order.

        On the Effective Date, the Unsecured Creditor Trust will be deemed created and effective
without any further action by the Bankruptcy Court or any party. The Unsecured Creditor Trust
shall be established for the primary purpose of administering the Unsecured Creditor Trust
Assets and making all distributions to the Unsecured Creditor Trust Beneficiaries, with no
objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the purpose of the Unsecured Creditor Trust.

       E.      Certain Powers and Duties of the Liquidating Trust and Liquidating Trustee

        The Liquidating Trustee shall be the exclusive trustee of the assets of the Liquidating
Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The powers, rights, and
responsibilities of the Liquidating Trustee shall be specified in the Liquidating Trust Agreement
and shall include the authority and responsibility to: (a) receive, manage, invest, supervise, and
protect the Liquidating Trust Assets; (b) supervise the receipt, deposit, and reconciliation of
accounts receivable collected by the Purchasers, including any payment to Purchasers, including
the ability to enforce any applicable Purchase Agreement or Transition Services Agreement; (c)
reasonably cooperate to provide the Purchasers with information relevant to the Purchasers’
collection of accounts receivable; (d) administer all of the Debtors’ employee claims under the
Consolidated Omnibus Budget Reconciliation Act of 1986 (“COBRA”) (e) pay taxes and other
obligations incurred by the Liquidating Trust; (f) retain and compensate, without further order of
the Bankruptcy Court, the services of employees, professionals, and consultants to advise and
assist the Liquidating Trustee; (g) calculate and implement Distributions to be made under the
Plan to Holders of Claims, including Administrative Claims and Priority Claims, other than

                                                28
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 38 of 145




Class 4 Claims; (h) reconcile, object to and resolve issues involving all Claims, other than Class
4 Claims; and (i) undertake all administrative functions of the Chapter 11 Cases that are not
granted to the Unsecured Creditor Trustee, including the ultimate closing of the Chapter 11
Cases; provided, however, the Liquidating Trustee shall not compromise, settle or affect any
Avoidance Actions or Retained Cause of Action in connection with its duties under this Plan or
the Liquidating Trust Agreement.

        On the Effective Date, the Liquidating Trust shall also have the power, right, and
responsibility to take possession of all books, records, and files of the Debtors and the Estates,
including all Patient Records not sold pursuant to the Sale and provide for the retention and
storage of such books, records, and files pursuant to this Plan and Bankruptcy Code section 351
(as applicable) until such time as the Liquidating Trustee determines, in accordance with the
Liquidating Trust Agreement, that retention of same is no longer necessary or required. After
the Effective Date, the Liquidating Trust shall (i) give the Unsecured Creditor Trust reasonable
access to all books, records and files of the Debtors and the Estates including, without limitation,
direct logon authority to access emails, accounting records, shared drives and other documents
necessary to accomplish the duties of the Unsecured Creditor Trust and (ii) not destroy or
abandon any such books, records and files without obtaining the consent of the Unsecured
Creditor Trust. In the event the Liquidating Trust is dissolved before the Unsecured Creditor
Trust, the Unsecured Creditor Trust shall have the right to take possession of the books, records
and files of the Debtors and Estates and maintain such books, records and files at the expense of
the Unsecured Creditor Trust.

       All expenses incurred by the Liquidating Trust and the Liquidating Trustee shall be the
responsibility of and paid by the Liquidating Trust, in accordance with the Plan and the
Liquidating Trust Agreement.

        In no event later than three (3) months following the Effective Date and on a quarterly
basis thereafter until all Liquidating Trust Cash has been released or paid out in accordance with
the Plan, the Liquidating Trustee shall file with the Bankruptcy Court a report setting forth the
amounts, recipients, and dates of all Distributions made by the Liquidating Trustee under the
Plan through each applicable reporting period.

       F.      Certain Powers and Duties of the Unsecured Creditor Trust and Unsecured
               Creditor Trustee

        The Unsecured Creditor Trustee shall be the exclusive trustee of the assets of the
Unsecured Creditor Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The
powers, rights, and responsibilities of the Unsecured Creditor Trustee shall be specified in the
Unsecured Creditor Trust Agreement and shall include the authority and responsibility to:
(a) prosecute, compromise, and settle, in accordance with the specific terms of the Unsecured
Creditor Trust Agreement, Retained Causes of Action; (b) reconcile, object to and resolve issues
involving Class 4 Claims; (c) pay taxes and other obligations incurred by the Unsecured Creditor
Trust; (d) calculate and implement Distributions to be made under the Plan to Holders of Class 4
Claims; and (e) retain and compensate, without further order of the Bankruptcy Court, the
services of employees, professionals, and consultants to advise and assist the Unsecured Creditor
Trustee.

                                                29
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 39 of 145




       All expenses incurred by the Unsecured Creditor Trust and the Unsecured Creditor
Trustee shall be the responsibility of and paid by the Unsecured Creditor Trust, in accordance
with the Plan and the Unsecured Creditor Trust Agreement.

        In no event later than three (3) months following the Effective Date and on a quarterly
basis thereafter until all Unsecured Creditor Trust Cash has been released or paid out in
accordance with the Plan, the Unsecured Creditor Trustee shall file with the Bankruptcy Court a
report setting forth the amounts, recipients, and dates of all Distributions made by the Unsecured
Creditor Trustee under the Plan through each applicable reporting period.

       G.      Federal Income Tax Treatment of the Plan Trusts for the Liquidating and
               Unsecured Creditor Trust Assets; Tax Reporting and Tax Payment
               Obligations

        For U.S. federal income tax purposes, it is intended that the Plan Trusts be classified as
liquidating trusts under Treasury Regulation Section 301.7701-4. Accordingly, for U.S. federal
income tax purposes, it is intended that the beneficiaries of the Plan Trusts be treated as if they
had received a Distribution from the Estates of an undivided interest in the assets of the Plan
Trusts (to the extent of the value of their respective shares therein) and then contributed such
interests to the Plan Trusts.

               a. Plan Trusts’ Assets Treated as Owned by Beneficiaries of Plan Trusts

        For all U.S. federal income tax purposes, all parties shall treat the transfer of assets (net
of any applicable liabilities) to the Plan Trusts for the benefit of the beneficiaries thereof as (a) a
transfer by the Debtors of the assets of the Plan Trusts (net of any applicable liabilities) directly
to the beneficiaries of the Plan Trusts (to the extent of the value of their respective shares in the
assets of the Liquidating Trust), followed by (b) the transfer of the assets of the Plan Trusts (net
of any applicable liabilities) by the beneficiaries of the Plan Trusts (to the extent of the value of
their respective share in the assets of the Plan Trusts) to the Plan Trusts in exchange for the
beneficial interests in the Plan Trusts. Accordingly, for U.S. federal income tax purposes, the
Plan Trusts shall be treated as grantor trusts, and the beneficiaries of the Plan Trusts shall be
treated as the grantors of the Plan Trusts and the owners of the assets thereof.

               b. Tax Reporting

        The Plan Trusts shall be responsible for filing all federal, state, local and foreign tax
returns, including, but not limited to, any documentation related thereto for current or former
employees, vendors or contractors of the Debtors, for the Debtors and the Plan Trusts. The Plan
Trustees shall file all tax returns for the Plan Trusts as grantor trusts pursuant to Treasury
Regulation Section 1.671-4(a) and in accordance with this Article V.F. Within a reasonable time
following the end of the taxable year, the Plan Trustees shall send to each holder of a beneficial
interest appearing on its record during such year, a separate statement setting forth such holder’s
share of items of income, gain, loss, deduction or credit and each such holder shall report such
items on their federal income tax returns. The Plan Trustees may provide each such holder of a
beneficial interest with a copy of the Form 1041 for the Plan Trusts (without attaching any other
holder’s Schedule K-1 or other applicable information form) along with such holder’s Schedule


                                                  30
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 40 of 145




K-1 or other applicable information form in order to satisfy the foregoing requirement. The Plan
Trustees shall allocate the taxable income, gain, loss, deduction or credit of their respective Plan
Trust with respect to each holder of a beneficial interest to the extent required by the IRC and
applicable law.

        As soon as possible after the Effective Date, each Plan Trust shall make a good faith
valuation of the assets of their respective Plan Trust, and such valuation shall be used
consistently by all parties for all federal income tax purposes. Each Plan Trust shall also file (or
cause to be filed) any other statements, returns, or disclosures relating to the Plan Trust that are
required by any taxing authority.

        The Plan Trusts may request an expedited determination of the tax obligations of the Plan
Trusts under Bankruptcy Code Section 505(b) for all returns filed for, or on behalf of, the Plan
Trusts for all taxable periods through the dissolution of the Plan Trusts.

        The Plan Trusts shall comply with all withholding and reporting requirements imposed
by any federal, state, local, or foreign taxing authority, and all Distributions made by the Plan
Trusts shall be subject to any such withholding and reporting requirements.

               c. Payment of Taxes

        The Liquidating Trust shall be responsible for payments of all Allowed tax obligations of
the Debtors including Priority Tax Claims, Other Secured Claims and Administrative Claims, in
addition to any taxes imposed on the Liquidating Trust or its assets; provided that the Unsecured
Creditor Trust shall be responsible for payments of any taxes imposed on the Unsecured Creditor
Trust. In the event, and to the extent, any Cash retained on account of Disputed Claims in the
Disputed Claims Reserve associated with the Unsecured Creditor Trust is insufficient to pay the
portion of any such taxes attributable to the taxable income arising from the assets of the
Unsecured Creditor Trust allocable to, or retained on account of, Disputed Claims, such taxes
shall be (a) reimbursed from any subsequent Cash amounts retained on account of Disputed
Claims, or (b) to the extent such Disputed Claims have subsequently been resolved, deducted
from any amounts distributable by the Unsecured Creditor Trust as a result of the resolutions of
such Disputed Claims.

       H.      Authority to Pursue, Settle, or Abandon Retained Causes of Action

        From and after the Effective Date, prosecution and settlement of all Retained Causes of
Action shall be the sole responsibility of the Unsecured Creditor Trustee pursuant to the Plan, the
Confirmation Order, and the Unsecured Creditor Trust Agreement. From and after the Effective
Date, the Unsecured Creditor Trustee shall have exclusive rights, powers, and interests of the
Estates to pursue, settle, or abandon such Retained Causes of Action as the sole representative of
the estates pursuant to section 1123(b)(3) of the Bankruptcy Code, subject to any approval or
consultation rights set forth in the Unsecured Creditor Trust Agreement. Confirmation of this
Plan effects no settlement, compromise, waiver or release of any Claim, Cause of Action, Right
of Action or claim for relief unless this Plan or the Confirmation Order specifically and
unambiguously so provides. The non-disclosure or non-discussion of any particular Claim,
Cause of Action, Right of Action or claim for relief is not and shall not be construed as a


                                                31
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 41 of 145




settlement, compromise, waiver, or release of any such Claim, Cause of Action, Right of Action
or claim for relief.

        The Unsecured Creditor Trust reserves and retains any and all claims and rights against
any Persons, other than those specifically released herein, including the Retained Causes of
Action, whether such claims and rights arose before, on or after the Petition Date, the
Confirmation Date, the Effective Date, and/or the Distribution Record Date, including, without
limitation, any and all Causes of Action, Retained Causes of Actions, and/or claims for relief that
the Unsecured Creditor Trust may have against (i) any insurer and/or insurance policies,
including the D&O Policies, in which either the Debtors and/or their current or former personnel
have an insurable or other interest in or right to make a claim against, any other of the Debtors’
insurers; (ii) current and former directors, members, managers, officers, shareholders, holders of
a Series LLC Interest, holders of a Neighbors Equity Interest, and employees, or (iii) any
recipient of a pre or post-petition transfer that may be recovered as an Avoidance Action,
Retained Cause of Action, other Cause of Action or otherwise. The entry of the Confirmation
Order shall not constitute res judicata or otherwise bar, estop or inhibit any actions by the
Unsecured Creditor Trustee relating to any claims, Causes of Action referred to in this Section or
otherwise. On the Effective Date, the Unsecured Creditor Trustee shall be substituted as a party
of record in all pending litigation brought by or against the Debtors, except for any actions
related to the enforcement of Liquidating Trust Assets.

        The Liquidating Trustee reserves and retains any and all claims and rights against any
and all third parties to enforce the Liquidating Trust Assets whether such claims and rights arose
before, on or after the Petition Date, the Confirmation Date, the Effective Date, and/or the
Distribution Record Date; provided, however, the Liquidating Trustee shall not compromise,
settle or affect any Avoidance Actions or Retained Cause of Action in connection with the
resolution of claims relating to the Transition Services Agreements or collection of accounts
receivable.

       I.      Liquidating Trust’s Accounting for Certain Recoveries

        For all recoveries received, other than those related to the collection of accounts
receivable, the sale of tangible personal property, or those received pursuant to any action filed
to enforce the Transition Services Agreement, the Liquidating Trustee shall provide notice of any
such recovery to the Unsecured Creditor Trustee. The Bankruptcy Court retains the exclusive
jurisdiction to determine title to any such recovery.

       J.      Filing of Monthly and Quarterly Reports

       The filing of the final monthly report (for the month in which the Effective Date occurs)
and all subsequent quarterly reports for each Plan Trust shall be the responsibility of the
applicable Plan Trustee until such time as each respective Plan Trust Terminates.

       K.      Corporate Existence; Compliance with Transition Services Agreements

       On and after the Effective Date, the Debtors will be referred to as the Liquidating
Debtors. The Liquidating Debtors shall remain in existence and will not be dissolved until each
Liquidating Debtor satisfies its duties under the applicable Transition Services Agreements.

                                                32
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 42 of 145




After each Liquidating Debtor satisfies its duties under any applicable Transition Services
Agreements, such Liquidating Debtor shall be deemed dissolved without any further action by
any party. Notwithstanding anything herein to the contrary, the Liquidating Debtors will retain,
and the Debtors and the Liquidating Debtors will not transfer to the Liquidating Trust or the
Unsecured Creditor Trust, all permits, licenses, regulatory authorizations, approvals, status and
any other asset or attribute necessary to comply with their duties under the Transition Services
Agreements. The Liquidating Trustee shall be the legal representative and sole manager of the
Liquidating Debtors and is hereby vested with the authority to take all actions necessary or
appropriate with respect to the Liquidating Debtors, including but not limited to the authority
granted to Neighbors Health LLC or any other Debtor entity under any management agreement
and any authority granted to each Liquidating Debtor under such entity’s organizational
documents or operating agreements.

       L.      Directors and Officers of the Debtors

       On and after the Effective Date, the board of managers or directors of each Debtor shall
be terminated and all of the officers and directors of the Debtors, to the extent they have not
already done so, shall be deemed to have resigned from their respective positions with the
Debtors, as applicable.

       M.      Corporate Authorization

        On the Effective Date, all matters provided for under the Plan that would otherwise
require approval of the stockholders, directors, members, or managers of one or more of the
Debtors shall be deemed to have occurred and shall be in effect from and after the Effective Date
without any requirement of further action by the stockholders, directors, members, or managers
of the Debtors. After the Effective Date, to the extent necessary, the Plan Trustees shall have all
authority to address any and all matters that would have required the approval of, and to act on
behalf of, the stockholders, directors, members, or managers of one or more of the Debtors,
including performing the Debtors’ obligations under the Transition Services Agreements.

       N.      Effectuating Documents and Further Transactions

        Prior to the Effective Date, the Debtors shall be authorized to execute, deliver, file, or
record such documents, contracts, instruments, and other agreements and take such other actions
as may be reasonably necessary to effectuate and further evidence the terms and conditions of
the Plan. After the Effective Date, the Plan Trusts shall be authorized to execute, deliver, file, or
record such documents, contracts, instruments, and other agreements and take such other actions
as may be reasonably necessary to effectuate and further evidence the terms and conditions of
the Plan.

       O.      Employee Agreements

        All employment, severance, retirement, indemnification, and other similar employee-
related agreements or arrangements in place with the Debtors’ employees that has not been
previously terminated shall be deemed terminated as of the Effective Date.



                                                 33
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 43 of 145




       P.      Exemption from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, stamp act, real estate or personal property transfer tax,
sale or use tax, mortgage recording tax, or other similar tax or governmental assessment, and
upon entry of the Confirmation Order, the appropriate governmental officials or agents shall
forgo the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents pursuant to such transfers of
property without the payment of any such tax, recordation fee, or governmental assessment.

       Q.      Duration of the Plan Trusts

       The Plan Trusts shall have an initial term of five (5) years from the Effective Date,
provided however, that, if warranted by the facts and circumstances, and subject to the approval
of the Court, upon a finding that an extension of the term of either Plan Trust is necessary to
accomplish the purpose of the respective Plan Trust, the applicable Plan Trustee shall be
authorized to extend the Plan Trust for six (6) months or longer provided that such extension is
approved by the Bankruptcy Court within six (6) months of the beginning of such extended term.
Either Plan Trust may be terminated earlier than its scheduled termination if (a) the Bankruptcy
Court has entered a Final Order closing the Case pursuant to section 350(a) of the Bankruptcy
Code or (b) the applicable Plan Trustee has administered all of the Plan Trust’s Assets and
performed all other duties required by this Plan and the applicable Plan Trust Agreement.

       R.      Wind Down of Plan Trusts

        After the termination of each of the Plan Trusts and for the purpose of liquidating and
winding down the affairs of the Plan Trusts, the Plan Trustees shall continue to act as such over
their respective Plan Trust until their duties have been fully performed. Prior to the final
Distribution of the remaining Plan Trusts’ Assets, the Plan Trustees shall be entitled to reserve
from the Plan Trusts’ Assets any and all amounts required to provide for their own reasonable
costs and expenses, in accordance with the terms of the Plan Trusts’ Agreements, until such time
as the winding down of the Plan Trusts is completed. Upon termination of each of the Plan
Trusts, the respective Plan Trustee shall retain for a period of three years the books, records, lists
of the Beneficiaries, the registry of claims and Beneficiaries, and other documents and files that
have been delivered to or created by the Plan Trustees. Except as otherwise specifically provided
herein, upon the termination of each of the Plan Trusts, the Plan Trustees and the respective Plan
Trusts’ professionals and agents shall have no further duties or obligations hereunder.

                              VIII.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Treatment of Executory Contracts and Unexpired Leases

       As of the Effective Date, the Debtors shall be deemed to have rejected all Executory
Contracts and Unexpired Leases that (1) have not been previously rejected, assumed, or assumed
and assigned, including in connection with the Sale, and (2) have not expired under their own
terms prior to the Effective Date.

                                                 34
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 44 of 145




        The Confirmation Order shall constitute an order of the Bankruptcy Court approving the
foregoing rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the
Effective Date.

       B.      Preexisting Obligations to the Debtors Under Executory Contracts and
               Unexpired Leases

       Rejection or repudiation of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise shall not constitute a termination of preexisting obligations owed to the
Debtors under such contracts or leases.

       C.      Rejection Damages Claim

        All Claims arising from the rejection of Executory Contracts or Unexpired Leases must
be Filed with the clerk of the Bankruptcy Court and served upon the Unsecured Creditor Trustee
within thirty (30) days of the occurrence of the Effective Date. Any Claim arising from the
rejection of Executory Contracts or Unexpired Leases that becomes an Allowed Claim is
classified and shall be treated as a Class 4 General Unsecured Claim. Any Claims arising from
the rejection of an Executory Contract or Unexpired Lease not Filed within the time required by
this section will be forever barred from assertion against the Debtors, the Estates, the property of
the Debtors, or the Plan Trusts.

       D.      Reservation of Rights

         Nothing contained in this Plan shall constitute an admission by the Debtors that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor has any
liability thereunder.

                                       IX.
                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Disclosure Regarding Potential Range of Distributions to Unsecured
               Creditors

        Pursuant to the Plan, $275,000 has been allocated from the DIP Secured Parties’
Collateral for the Initial Funding of the Unsecured Creditor Trust. It is anticipated that such
funds will be used to investigate and pursue potential claims and Causes of Action, the proceeds
of which would inure to the benefit of the Unsecured Creditor Trust Beneficiaries. However, if
there are no net recoveries from the activities of the Unsecured Creditor Trust, it is possible that
there will be no distribution to Unsecured Creditor Trust Beneficiaries, including Holders of
Allowed General Unsecured Claims. For the avoidance of doubt, the $275,000 Initial Funding is
not expected to be directly distributed to creditors.

         Below is a table summarizing potential recoveries to Holders of Allowed Unsecured
Claims at different levels of potential recovery, taking into the account the Secured Parties’
agreements set forth above regarding allocation of proceeds. The table assumes, for purposes of
illustration only, that all claims scheduled and filed in these Cases are treated as Allowed Claims.


                                                35
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 45 of 145




The table also assumes, for purposes of illustration only, that certain hypothetical amounts are
recovered by the Unsecured Creditor Trust.




       B.      Timing and Calculation of Amounts to Be Distributed; Entitlement to
               Distributions

               a. Timing and Calculation of Amounts to Be Distributed

        Unless otherwise provided in this Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
each Holder of an Allowed Claim against the Debtors shall receive the full amount of the
Distributions that this Plan provides for Allowed Claims in the applicable Class. If and to the
extent that there are Disputed Claims, Distributions on account of any such Disputed Claims
shall be made pursuant to the provisions set forth in this Article VII. Except as otherwise
provided herein, Holders of Claims shall not be entitled to postpetition interest, dividends, or
accruals on the Distributions provided for herein, regardless of whether such Distributions are
delivered on or at any time after the Effective Date.

               b. Entitlement to Distributions

        On and after the Effective Date, the Plan Trustees shall be authorized (but not directed) to
recognize and deal only with those Holders of Claims listed on the Debtors’ books and records as
of the Distribution Record Date. Accordingly, the Plan Trustees will have no obligation to
recognize the transfer of, or the sale of any participation in, any Allowed Claim that occurs after
the close of business on the Distribution Record Date, and will be entitled for all purposes herein
to recognize and distribute property, notices, and other documents only to those Holders of
Allowed Claims who are Holders of such Claims (or participants therein) as of the close of
business on the Distribution Record Date.



                                                 36
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 46 of 145




       C.      Plan Trustees

       The Unsecured Creditor Trustee shall make all Distributions under the Plan on account of
Class 4 Allowed General Unsecured Claims. The Liquidating Trustee shall make all other
Distributions under the Plan. The Plan Trustees shall not be required to give any bond or surety
or other security for the performance of their duties unless otherwise ordered by the Bankruptcy
Court. For purposes of Distribution on account of the Prepetition Secured Loan Claims and the
DIP Claims, the Prepetition Agent and the DIP Agent, respectively (a) shall be deemed to be the
Holder of all Prepetition Secured Loan Claims and DIP Claims and (b) are hereby directed to
make Distributions to the Holders of Prepetition Secured Loan Claims and DIP Claims. In
accordance with the foregoing, the delivery of any applicable property to be distributed to
Holders of Prepetition Secured Loan Claims and Holders of DIP Claims to the Prepetition Agent
and DIP Agent, respectively, shall satisfy all applicable Distribution obligations under the Plan.

       D.      No De Minimis Distributions Required

        No Distribution shall be required to be made hereunder to any Holder of a Claim unless
such Holder is to receive in such Distribution at least $50.00, or unless such Distribution is the
final Distribution to such Holder pursuant to this Plan. The Plan Trustees shall retain any such
Distribution not made in accordance with the provisions of this section. Any Distribution not
made in accordance with this section shall be held in trust for the relevant Holder until the earlier
of (i) the date the next Distribution is scheduled to be made to such Holder, or (ii) the final
Distribution to such Holder.

       E.      Disputed Claims Reserve

        On or prior to the Effective Date, the Plan Trustees shall be authorized to establish
Disputed Claims Reserves, each of which shall be administered by the applicable Plan Trustee,
respectively. The Unsecured Creditor Trustee may, but shall not be required to, hold Cash in its
Disputed Claims Reserve from the GUC Settlement Cash in trust for the benefit of the Holders of
General Unsecured Claims ultimately determined to be Allowed after the Effective Date. The
Unsecured Creditor Trustee shall distribute the amounts (net of any expenses, including any
taxes relating thereto) from its Disputed Claims Reserve, as provided herein, as applicable
Disputed Claims are resolved by a Final Order or agreed to by settlement, and such amounts will
be distributable on account of such Disputed Claims as such amounts would have been
distributable had such Disputed Claims been Allowed Claims as of the Effective Date. The
Liquidating Trustee may hold Cash in its Disputed Claims Reserve in trust for the benefit parties
entitled to receive payments from the Liquidating Trust Cash to the extent they hold Claims
ultimately determined to be Allowed after the Effective Date. The Liquidating Trustee shall
distribute the amounts (net of any expenses, including any taxes relating thereto) from its
Disputed Claims Reserve, as provided herein, as applicable Disputed Claims are resolved by a
Final Order or agreed to by settlement, and such amounts will be distributable on account of such
Disputed Claims as such amounts would have been distributable had such Disputed Claims been
Allowed Claims as of the Effective Date. To the extent any cash remains in the Liquidating
Trust’s Disputed Claims Reserve after satisfaction of all applicable Disputed Claims, such
remaining amount shall be paid to the Holders of the Class 3 Prepetition Secured Loan Claims.


                                                 37
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 47 of 145




       F.      Distributions on Account of Claims Allowed After the Effective Date

               a. Payments and Distributions on Disputed Claims

      Distributions made after the Effective Date to Holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

               b. Special Rules for Distributions to Holders of Disputed Claims

        Notwithstanding any provision otherwise in this Plan and except as otherwise agreed to
by either Plan Trustee, (a) no partial payments and no partial Distributions shall be made with
respect to a Disputed Claim until all disputes in connection with such Disputed Claim have been
resolved by settlement or Final Order and such Disputed Claim becomes an Allowed Claim; and
(b) any Entity that holds both an Allowed Claim and a Disputed Claim shall not receive any
Distribution on the Allowed Claim unless and until all objections to the Disputed Claim have
been resolved by settlement or Final Order.

       G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

               a. Delivery of Distributions in General

       Except as otherwise provided herein, the Plan Trustees shall make Distributions to
Holders of Allowed Claims at the address for each such Holder as indicated on the Proof of
Claim filed by such Holder or the Debtors’ Schedules.

               b. Undeliverable Distributions and Unclaimed Property

                               i. Failure to Claim Undeliverable Distributions

        In the event that any Distribution to any Holder is returned as undeliverable, no
Distribution to such Holder shall be made unless and until the respective Plan Trustee has
determined the then-current address of such Holder, at which time such Distribution shall be
made to such Holder without interest; provided, however, such Distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six (6)
months from the Effective Date. After such date, all unclaimed property or interests in property
shall revert to the respective Plan Trust (notwithstanding any applicable federal or state escheat,
abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder to such
property or interest in property shall be discharged and forever barred.

                              ii. Failure to Present Checks

        Checks issued by either Plan Trustee on account of Allowed Claims shall be null and
void if not negotiated within one hundred and eighty (180) days after the issuance of such check.
Requests for reissuance of any check shall be made directly to the applicable Plan Trustee by the
Holder of the relevant Allowed Claim with respect to which such check originally was issued.
Any Holder of an Allowed Claim holding an un-negotiated check that does not request
reissuance of such un-negotiated check within one hundred and eighty (180) days after the

                                                38
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 48 of 145




issuance of such check shall have its Claim for such un-negotiated check discharged and shall be
discharged and forever barred, estopped, and enjoined from asserting any such Claim against the
applicable Plan Trust. In such cases, any Cash held for payment on account of such Claims shall
be property of the applicable Plan Trust, free of any Claims of such Holder with respect thereto.
Nothing contained herein shall require either Plan Trustee to attempt to locate any Holder of an
Allowed Claim.

       H.      Compliance with Tax Requirements/Allocations

        In connection with this Plan, to the extent applicable, the Plan Trustees shall comply with
all tax withholding and reporting requirements imposed on them by any Governmental Unit, and
all Distributions pursuant hereto shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in this Plan to the contrary, the Plan Trustees shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting
requirements, including liquidating a portion of the Distribution to be made under this Plan to
generate sufficient funds to pay applicable withholding taxes, withholding Distributions pending
receipt of information necessary to facilitate such Distributions or establishing any other
mechanisms they believe are reasonable and appropriate. Each Plan Trustee reserves the right to
allocate all Distributions made under this Plan in compliance with all applicable wage
garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances.

       I.      Claims Paid or Payable by Third Parties

               a. Claims Paid by Third Parties

        The Debtors or either Plan Trustee, as applicable, shall reduce a Claim, and such Claim
shall be Disallowed without a Claims objection having to be Filed and without any further notice
to or action, order or approval of the Bankruptcy Court, to the extent that the Holder of such
Claim receives payment on account of such Claim from a party that is not a Debtor. To the
extent a Holder of a Claim receives a Distribution on account of such Claim and receives
payment from a party that is not a Debtor, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the Distribution to the applicable Plan Trustee, to the extent the Holder’s
total recovery on account of such Claim from the third party and under this Plan exceeds the
amount of such Claim as of the Effective Date.

               b. Claims Payable by Third Parties

        No Distributions under this Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed
Claim has exhausted all remedies with respect to such insurance policy. To the extent that one or
more of the Debtors’ insurers agrees to satisfy in full a Claim (if and to the extent adjudicated by
a court of competent jurisdiction), then immediately upon such insurers’ agreement, such Claim
may be expunged without a Claims objection having to be Filed and without any further notice to
or action, order or approval of the Bankruptcy Court.




                                                39
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 49 of 145




                c. Applicability of Insurance Policies

        Except as otherwise provided in this Plan, Distributions to Holders of Allowed Claims
shall be in accordance with the provisions of any applicable insurance policy. Nothing contained
in this Plan shall constitute or be deemed a waiver of any Retained Cause of Action that the
Debtors or any Entity may hold against any other Entity, including insurers under any policies of
insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.

       J.       Allocation of Plan Distributions between Principal and Interest

        To the extent that any Allowed Claim entitled to a Distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest (or original issue discount) thereon,
such Distribution shall be allocated to the principal amount of the Claim first and then, to the
extent the consideration exceeds the principal amount of the Claim, to the portion of such Claim
representing accrued but unpaid interest (or original issue discount).

                                     X.
             PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                            AND DISPUTED CLAIMS

       A.       Allowance and Disallowance of Claims

        Except as expressly provided herein or any order entered in the Chapter 11 Cases on or
prior to the Effective Date (including the Confirmation Order), no Claim shall be deemed
Allowed unless and until such Claim is deemed Allowed under the Bankruptcy Code, under the
Plan, or the Bankruptcy Court enters a Final Order in the Chapter 11 Cases allowing such Claim
under section 502 of the Bankruptcy Code. Except as expressly provided in any order entered in
the Chapter 11 Cases on or prior to the Effective Date (including the Confirmation Order), the
Plan Trusts after Consummation will have and retain any and all rights and defenses the Debtors
had with respect to any Claim as of the Petition Date.

        Except as provided herein or otherwise agreed, any and all proofs of Claim Filed after the
Claims Bar Date shall be deemed Disallowed and expunged as of the Effective Date without any
further notice to or action, order, or approval of the Court, and Holders of such Claims may not
receive any Distributions on account of such Claims, unless on or before the Confirmation
Hearing such late Filed Claim has been deemed timely Filed by a Final Order.

       B.       Prosecution of Objections to Claims

        The Liquidating Trustee shall have the exclusive authority to File, settle, compromise,
withdraw, or litigate to judgment any objections to Administrative or Priority Claims as
permitted under this Plan. From and after the Effective Date, the Liquidating Trustee may settle
or compromise any Disputed Administrative or Priority Claim without approval of the
Bankruptcy Court. The Liquidating Trustee may also resolve any Disputed Administrative or
Priority Claim outside the Bankruptcy Court under applicable governing law.



                                                40
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 50 of 145




         With regard to all Claims other than Administrative and Priority Claims, the Unsecured
Creditor Trustee shall have the exclusive authority to File, settle, compromise, withdraw, or
litigate to judgment any objections to Claims as permitted under this Plan. From and after the
Effective Date, the Unsecured Creditor Trustee may settle or compromise any Disputed Claim,
which is not an Administrative or Priority Claim, without approval of the Bankruptcy Court. The
Liquidating Trustee may also resolve any Disputed Claim, which is not an Administrative or
Priority Claim, outside the Bankruptcy Court under applicable governing law.

       C.      Deadline to Object to Claims

        Unless otherwise ordered by the Bankruptcy Court, the Plan Trustees shall file all
objections to Claims by no later than 180 days after the Effective Date, except to the extent that
such Claims are filed on or after the Effective Date, in which case, the Plan Trustees shall have
until the later of 180 days after the Effective Date or 90 days after such claim is filed to file an
objection to same. Notwithstanding the foregoing, if either Plan Trustee determines that an
extension of time is warranted, the Plan Trustee may seek the Bankruptcy Court’s approval to
extend such time by a period of an additional 90 days, without prejudice to the Plan Trustee’s
request to seek additional time upon a showing of good cause.

       D.      Estimation of Claims

        The Unsecured Creditor Trustee may, at any time, request that the Bankruptcy Court
estimate any contingent or unliquidated Claim pursuant to section 502(c) of the Bankruptcy
Code, regardless of whether the Unsecured Creditor Trustee has previously objected to such
Claim or whether the Bankruptcy Court has ruled on any objection, and the Bankruptcy Court
will retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to any Claim, including during the pendency of any appeal related to any such
objection. In the event the Bankruptcy Court estimates any contingent or unliquidated Claim,
that estimated amount will constitute either the Allowed amount of such Claim or a maximum
limitation on such Claim, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on such Claim, the Unsecured Creditor Trustee may elect to
pursue any supplemental proceedings to object to any ultimate payment on such Claim. All of
the aforementioned objection, estimation, and resolution procedures are cumulative and are not
necessarily exclusive of one another. Claims may be estimated and thereafter resolved by any
permitted mechanism.

       E.      Amendments to Claims

         On or after the Effective Date, except as provided in the Plan or the Confirmation Order,
a Claim may not be Filed or amended without the prior authorization of the Court and the
applicable Plan Trustee, and any such new or amended Claim Filed shall be deemed Disallowed
in full and expunged without any further action, order, or approval of the Court.

       F.      Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, Distributions
(if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of
this Plan. As soon as reasonably practicable after the date that the order or judgment of the

                                                41
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 51 of 145




Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the applicable Plan
Trustee shall provide to the Holder of such Claim the Distribution (if any) to which such Holder
is entitled under this Plan as of the Effective Date, without any postpetition interest to be paid on
account of such Claim.

                                   XI.
               CONDITIONS PRECEDENT TO CONFIRMATION OF THE
                       PLAN AND THE EFFECTIVE DATE

       A.      Conditions Precedent to Confirmation

       It shall be a condition to Confirmation that the following provisions, terms, and
conditions are satisfied (or waived pursuant to the provisions of Article IX.C hereof, except that
entry of the Confirmation Order may not be waived), and Confirmation shall occur on the date
upon which the last of such conditions are so satisfied and/or waived.

               a. All provisions, terms and conditions hereof are approved in the Confirmation
                  Order.

               b. A Confirmation Order shall have been entered by the Bankruptcy Court, in
                  form and substance acceptable to the Debtors, that approves the deemed
                  consolidation of the Debtors for distribution and Plan voting purposes.

               c. The Confirmation Order shall provide that, among other things, the Debtors
                  and the Plan Trustees, as applicable, are authorized and directed to take all
                  actions necessary or appropriate to consummate this Plan, including, without
                  limitation, entering into, implementing, and consummating the other contracts,
                  instruments, and other agreements or documents created in connection with or
                  described in this Plan.

               d. All other actions, documents and agreements necessary to implement the Plan
                  shall have been effected or executed.

               e. All required consents, approvals, and authorizations, if any, have been
                  obtained.

       B.      Conditions Precedent to the Effective Date

        It shall be a condition to the Effective Date that the following provisions, terms, and
conditions are satisfied (or waived pursuant to the provisions of Article IX.C hereof), and the
Effective Date shall occur on the date upon which the last of such conditions are so satisfied
and/or waived.

               a. The Debtors shall have transferred the GUC Settlement Cash to the Unsecured
                  Creditor Trust.

               b. The Debtors shall have transferred all remaining Cash to the Liquidating
                  Trust, including the Professional Fee Escrow.

                                                 42
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 52 of 145




               c. The Confirmation Order shall be a Final Order in form and substance
                  acceptable to the Debtors and the Plan Trustees, each in their respective sole
                  discretion. The Confirmation Order shall provide that, among other things, the
                  Debtors and the Plan Trustees, as applicable, are authorized and directed to
                  take all actions necessary or appropriate to consummate this Plan, including,
                  without limitation, entering into, implementing and consummating the
                  contracts, instruments, and other agreements or documents created in
                  connection with or described in this Plan.

               d. The Plan Trusts’ Agreements shall have been executed and delivered by all of
                  the Entities that are parties thereto and all conditions precedent to the
                  consummation thereof shall have been waived or satisfied in accordance with
                  the terms thereof.

               e. All actions, documents, certificates, and agreements necessary to implement
                  this Plan shall have been effected or executed and delivered to the required
                  parties and, to the extent required, Filed with the applicable Governmental
                  Units in accordance with applicable laws.

       C.      Waiver of Conditions

       Each of the conditions to Confirmation and to Consummation set forth in this Article IX
may be waived with the consent of the Debtors without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceeding to confirm or consummate the Plan.

       D.      Effect of Nonoccurrence of Conditions

        If the Consummation of the Plan does not occur, the Plan shall be null and void in all
respects and nothing contained in the Plan or the Disclosure Statement shall: (1) constitute a
waiver or release of any claims by or Claims against or Interests in the Debtors; (2) prejudice in
any manner the rights of the Debtors, any Holders, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any Holders or any other
Entity in any respect.

                                  XII.
        SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

       A.      Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the Distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan shall constitute a good faith compromise of all Claims, Interests and
controversies relating to the contractual, legal and subordination rights that a Holder of a Claim
or Interest may have with respect to any Allowed Claim or Allowed Interest, or any Distribution
to be made on account of such Allowed Claim or Allowed Interest. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy
Court that such compromise or settlement is in the best interests of the Debtors, their Estates and

                                                43
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 53 of 145




Holders of Claims and Interests and is fair, equitable and reasonable. In accordance with the
provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
9019(a), without any further notice to or action, order or approval of the Bankruptcy Court, after
the Effective Date, the Plan Trustees may compromise and settle Claims against them and
Causes of Action against other Entities, except for Claims and Causes of Action relating to the
Retained Causes of Action, which may be compromised and settled by the Unsecured Creditor
Trustee.

       B.      RELEASES BY THE DEBTORS

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan, for good and valuable consideration, on and after the
Effective Date, the Released Parties shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever been released and discharged by the Debtors and
the Estates from any and all past or present Claims, Interests, indebtedness and
obligations, rights, suits, losses, damages, injuries, costs, expenses, Causes of Action,
remedies, and liabilities whatsoever, including any derivative Claims, asserted on behalf of
the Debtors, whether known or unknown, foreseen or unforeseen, asserted or unasserted,
suspected or unsuspected, accrued or unaccrued, fixed, contingent, pending or threatened,
existing or hereinafter arising, in law, equity, or otherwise, whether for tort, fraud,
contract violations of federal or state laws or otherwise, those causes of action based on veil
piercing or alter-ego theories of liability, contribution, indemnification, joint liability or
otherwise that the Debtors, the Estates, or their Affiliates would have been legally entitled
to assert (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest or other Entity, based on or relating to any act, omission, transaction, event, or
other occurrence taking place on or prior to the Effective Date; provided, however, that the
foregoing “Debtor Releases” shall not operate to waive or release any Causes of Action of
any Debtor: arising from claims for fraud, gross negligence, or willful misconduct;
provided, further, the foregoing “Debtor Releases” shall not release the Debtors’ current and
former subsidiaries, Affiliates, directors, members, managers, officers, principals, partners,
agents, employees, shareholders, holders of Series LLC Interests, holders of Neighbors
Equity Interests. Notwithstanding anything to the contrary in the foregoing, the “Debtor
Releases” set forth in this paragraph do not release any post-Effective Date obligations of
any party under the Plan or any document, instrument, or agreement executed in
connection with the Plan.

       C.      RELEASES BY HOLDERS OF CLAIMS AND INTERESTS

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan, for good and valuable consideration, on and after the
Effective Date, each Releasing Party shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged the Debtors and the
other Released Parties from any and all past or present Claims, Interests, indebtedness and
obligations, rights, suits, losses, damages, injuries, costs, expenses, Causes of Action,
remedies, and liabilities whatsoever, including any derivative Claims, asserted on behalf of

                                               44
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 54 of 145




a Debtor, whether known or unknown, foreseen or unforeseen, asserted or unasserted,
suspected or unsuspected, accrued or unaccrued, fixed, contingent, pending or threatened,
existing or hereafter arising, in law, equity, or otherwise, whether for tort, fraud, contract
violations of federal or state laws or otherwise, those causes of action based on veil piercing
or alter-ego theories of liability, contribution, indemnification, joint liability or otherwise
that such Releasing Party would have been legally entitled to assert (whether individually
or collectively), based on or relating to any act, omission, transaction, event, or other
occurrence taking place on or prior to the Effective Date; provided, however, that the
foregoing release shall not operate to waive or release any Causes of Action of any
Releasing Party: arising from claims for fraud, gross negligence, or willful misconduct
provided, further, the foregoing release shall not release the Debtors’ current and former
subsidiaries, Affiliates, directors, members, managers, officers, principals, partners, agents,
employees, shareholders, holders of Series LLC Interests, holders of Neighbors Equity
Interests. Notwithstanding anything to the contrary in the foregoing, the “Third Party
Releases” set forth in this paragraph do not release any post-Effective Date obligations of
any party under the Plan or any document, instrument, or agreement executed in
connection with the Plan.

       D.     EXCULPATION

        To the fullest extent permitted by applicable law no Exculpated Party shall have or
incur, and each Exculpated Party is hereby released and exculpated from any Exculpated
Claim, obligation, Cause of Action or liability for any Exculpated Claim, except for those
that are determined in a final order to have constituted actual fraud, gross negligence,
willful misconduct, or criminal conduct, but in all respects such Entities shall be entitled to
reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan.

       E.     INJUNCTION

       Except for obligations issued pursuant to the Plan, from and after the Effective
Date, all Entities who hold or may hold Claims or Interests and the Releasing Parties are
permanently enjoined from taking any of the following actions against the Debtors or any
Released Parties: (1) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such
Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or
means any judgment, award, decree, or order against such Entities on account of or in
connection with or with respect to any such Claims or Interests; (3) creating, perfecting, or
enforcing any encumbrance of any kind against such Entities or the property or Estates of
such Entities on account of or in connection with or with respect to any such Claims or
Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind against
any obligation due from such Entities or against the property or Estates of such Entities on
account of or in connection with or with respect to any such Claims or Interests unless such
Holder has Filed a motion requesting the right to perform such setoff on or before the
Confirmation Date; and (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such
Claims or Interests released or settled pursuant to the Plan. Nothing in the Plan or the

                                              45
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 55 of 145




Confirmation Order shall preclude any Entity from pursuing an action against one or
more of the Debtors in a nominal capacity to recover insurance proceeds so long as the
Debtors, as applicable, and any such Entity agree in writing that such Entity will: (a) waive
all Claims against the Debtors and the Estates related to such action and (b) enforce any
judgment on account of such Claim solely against applicable insurance proceeds, if any.

       F.      Setoffs

        Except as otherwise expressly provided for in the Plan, each Debtor and the Plan Trustees
(as applicable), pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy
Code), applicable non-bankruptcy law or as may be agreed to by the Holder of a Claim or an
Interest, may set off against any Allowed Claim or Allowed Interest and the Distributions to be
made pursuant to the Plan on account of such Allowed Claim or Allowed Interest (before any
Distribution is made on account of such Allowed Claim or Allowed Interest), any Retained
Causes of Action of any nature that such Debtor, as applicable, may hold against the Holder of
such Allowed Claim or Allowed Interest, to the extent such Retained Causes of Action against
such Holder have not been otherwise compromised or settled on or prior to the Effective Date
(whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect
such a setoff nor the allowance of any Claim or Interest pursuant to the Plan shall constitute a
waiver or release by such Debtor or Unsecured Creditor Trustee of any such Retained Causes of
Action that such Debtor or Unsecured Creditor Trustee may possess against such Holder. In no
event shall any Holder of Claims or Interests be entitled to setoff any Claim or Interest against
any Retained Cause of Action of the Debtor unless such Holder has Filed a motion with the
Bankruptcy Court requesting the authority to perform such setoff on or before the Confirmation
Date.

       G.      Recoupment

        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or
Interest against any Retained Cause of Action of the Debtors, unless such Holder actually has
performed such recoupment and provided notice thereof in writing to the Debtors on or before
the Effective Date.

                                         XIII.
                                BINDING NATURE OF PLAN

     THIS PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST AND
INTERESTS IN THE DEBTORS TO THE MAXIMUM EXTENT PERMITTED BY
APPLICABLE LAW, NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER (I)
WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER
THE PLAN, (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN THE CHAPTER 11
CASES, OR (III) FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO
REJECT THE PLAN.




                                               46
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 56 of 145




                                        XIV.
                              RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall, after the Effective Date, retain jurisdiction over the Chapter 11
Cases and all Entities with respect to all matters related to the Chapter 11 Cases, the Debtors, and
this Plan to the fullest extent permitted by law, including, without limitation, jurisdiction to:

               1.      allow, disallow, determine, liquidate, classify, estimate, or establish the
                       priority, Secured or unsecured status, or amount of any Claim or Interest,
                       including the resolution of any request for payment of any Administrative
                       Claim and the resolution of any and all objections to the Secured or
                       unsecured status, priority, amount, or allowance of Claims or Interests;

               2.      decide and resolve all matters related to the granting and denying, in
                       whole or in part, any applications for allowance of compensation or
                       reimbursement of expenses to Professionals authorized pursuant to the
                       Bankruptcy Code or the Plan;

               3.      resolve any matters related to: (a) the assumption, assumption and
                       assignment, or rejection of any Executory Contract or Unexpired Lease to
                       which a Debtor is party or with respect to which a Debtor may be liable
                       and to hear, determine and, if necessary, liquidate, any Claims arising
                       therefrom; (b) any potential contractual obligation under any Executory
                       Contract or Unexpired Lease that is assumed; and (c) any dispute
                       regarding whether a contract or lease is or was executory or expired;

               4.      ensure that Distributions to Holders of Allowed Claims and Allowed
                       Interests are accomplished pursuant to the provisions of the Plan;

               5.      adjudicate, decide, or resolve any motions, adversary proceedings,
                       contested or litigated matters, and any other matters, and grant or deny any
                       applications involving a Debtor that may be pending on the Effective
                       Date;

               6.      adjudicate, decide, or resolve any and all matters related to Retained
                       Causes of Action;

               7.      adjudicate, decide, or resolve any and all matters related to sections 1141
                       and 1145 of the Bankruptcy Code;

               8.      enter and implement such orders as may be necessary or appropriate to
                       execute, implement, or consummate the provisions of the Plan and all
                       contracts, instruments, releases, indentures, and other agreements or
                       documents created in connection with the Plan or the Disclosure
                       Statement;



                                                47
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 57 of 145




             9.    resolve any cases, controversies, suits, disputes, or Causes of Action that
                   may arise in connection with the Consummation, interpretation, or
                   enforcement of the Plan or any Entity’s obligations incurred in connection
                   with the Plan;

             10.   issue injunctions, enter and implement other orders, or take such other
                   actions as may be necessary or appropriate to restrain interference by any
                   Entity with Consummation or enforcement of the Plan;

             11.   resolve any cases, controversies, suits, disputes, or Causes of Action with
                   respect to the releases, injunctions and other provisions contained in
                   Article X and enter such orders as may be necessary or appropriate to
                   implement such releases, injunctions, and other provisions;

             12.   resolve any cases, controversies, suits, disputes, or Causes of Action with
                   respect to the repayment or return of Distributions and the recovery of
                   additional amounts owed by the Holder of a Claim or an Interest for
                   amounts not timely repaid pursuant to Article VII;

             13.   enter and implement such orders as are necessary or appropriate if the
                   Confirmation Order is for any reason modified, stayed, reversed, revoked,
                   or vacated;

             14.   determine any other matters that may arise in connection with or relate to
                   the Plan, the Disclosure Statement, the Confirmation Order, or any
                   contract, instrument, release, indenture, or other agreement or document
                   created in connection with the Plan or the Disclosure Statement;

             15.   enter an order or final decree concluding or closing the Chapter 11 Cases;

             16.   adjudicate any and all disputes arising from or relating to Distributions
                   under the Plan;

             17.   consider any modifications of the Plan to cure any defect or omission or to
                   reconcile any inconsistency in any Bankruptcy Court order, including the
                   Confirmation Order;

             18.   determine requests for the payment of Claims and Interests entitled to
                   priority pursuant to section 507 of the Bankruptcy Code;

             19.   hear and determine disputes arising in connection with the interpretation,
                   implementation, or enforcement of the Plan or the Confirmation Order,
                   including disputes arising under agreements, documents, or instruments
                   executed in connection with the Plan;

             20.   hear and determine matters concerning state, local, and federal taxes in
                   accordance with sections 346, 505, and 1146 of the Bankruptcy Code;


                                            48
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 58 of 145




               21.     hear and determine all disputes involving the existence, nature, or scope of
                       the Debtors’ discharge;

               22.     enforce all orders previously entered by the Bankruptcy Court; and

               23.     adjudicate all other matters over with the Bankruptcy Court has
                       jurisdiction.

                                 XV.
         MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

       A.      Modifications and Amendments

        Subject to the limitations and rights contained in this Plan: (a) the Debtors reserve the
right, in accordance with the Bankruptcy Code and the Bankruptcy Rules to amend or modify
this Plan prior to the entry of the Confirmation Order; and (b) after the entry of the Confirmation
Order, the Debtors may, upon order of the Bankruptcy Court, amend or modify this Plan, in
accordance with section 1127(b) of the Bankruptcy Code or remedy any defect or omission or
reconcile any inconsistency in this Plan in such manner as may be necessary to carry out the
purpose and intent of this Plan.

       B.      Effect of Confirmation on Modifications

       Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy
Code and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

       C.      Revocation or Withdrawal of the Plan

        The Debtors reserve the right to revoke or withdraw this Plan prior to the Effective Date
and to File subsequent chapter 11 plans. If the Debtors revoke or withdraw this Plan subject to
the terms hereof, or if Confirmation or Consummation does not occur, then: (1) this Plan shall be
null and void in all respects; (2) any settlement or compromise embodied in this Plan,
assumption or rejection of Executory Contracts or Unexpired Leases effected by this Plan and
any document or agreement executed pursuant hereto shall be deemed null and void except as
may be set forth in a separate order entered by the Bankruptcy Court; and (3) nothing contained
in this Plan shall: (x) constitute a waiver or release of any Claims by or against, or any Interests
in, such Debtor or any other Entity; (y) prejudice in any manner the rights of the Debtors or any
other Entity; or (z) constitute an admission, acknowledgement, offer or undertaking of any sort
by the Debtors or any other Entity.

       D.      Substantial Consummation of the Plan

      Substantial consummation of the Plan under Bankruptcy Code section 1101(2) shall be
deemed to occur on the Effective Date.




                                                49
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 59 of 145




                                        XVI.
                              MISCELLANEOUS PROVISIONS

       A.      Bar Date for Administrative Claims

         No Administrative Claim, other than Professional Fees and U.S. Trustee fees, will be
paid unless the holder of such Administrative Claim has filed an application for payment of such
Administrative Claim on or before the Administrative Claim Bar Date. Upon the filing of any
application for payment, the Entity seeking payment of an Administrative Claim shall provide
notice by United States Mail in accordance with the Bankruptcy Rules. Any Administrative
Claim, other than Professional Fees and U.S. Trustee fees, not filed in accordance with this
section shall be barred and the Debtors, the Plan Trusts and the Plan Trustees shall have no
liability for payment of any such Administrative Claim.

       B.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
assign, affiliate, officer, director, manager, agent, representative, attorney, beneficiary, or
guardian, if any, of each Entity.

       C.      Reservation of Rights

       Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order. Neither the Plan, any statement or
provision contained in the Plan, nor any action taken or not taken by any Debtor with respect to
the Plan or the Disclosure Statement shall be or shall be deemed to be an admission or waiver of
any rights of any Debtor with respect to the Holders of Claims or Interests before the Effective
Date.

       D.      Service of Documents

        Any pleading, notice, or other document required by this Plan to be served on or
delivered to the Debtors shall be sent by overnight mail to:

       Neighbors Legacy Holdings, Inc.
       c/o FTI Consulting
       Three Times Square
       9th Floor
       New York, NY 10036
       Attn:         Chad J. Shandler
       Telephone:     (212) 841-9349
       Email:         chad.shandler@fticonsulting.com

       with copies to:




                                                50
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 60 of 145




       Porter Hedges LLP
       1000 Main, 36th Floor
       Houston, Texas 77002
       Attn: John F. Higgins
              Eric M. English
              Genevieve M. Graham
       Telephone:    (713) 226-6648
       Facsimile:    (713) 226-6628
       Email: jhiggins@porterhedges.com
              eenglish@porterhedges.com
              ggraham@porterhedges.com

       Cole Schotz P.C.
       301 Commerce Street
       Suite 1700
       Fort Worth, Texas 76102
       Attn: Michael D. Warner
       Telephone: (817) 810-5250
       Facsimile: (817) 977-1611
       Email: mwarner@coleschotz.com

       E.      Dissolution of Committee

       On the Effective Date, the Committee shall dissolve automatically, whereupon its
members, Professionals, and agents shall be released from any further duties and responsibilities
in the Chapter 11 Cases and under the Bankruptcy Code, except for purposes of filing
applications for Professional compensation in accordance with Article II.A.2 of this Plan.

       F.      Nonseverability of Plan Provisions

        If, before Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted; provided that any such alteration or interpretation must be in form and substance
acceptable to the Debtors, the Committee, and the Prepetition Lenders; provided, further, that the
Debtors may seek an expedited hearing before the Bankruptcy Court to address any objection to
any such alteration or interpretation of the foregoing. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral
to the Plan and may not be deleted or modified without the Debtors’ consent; and (3)
nonseverable and mutually dependent.


                                                51
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 61 of 145




       G.      Return of Security Deposits

        Unless the Debtors have agreed otherwise in a written agreement or stipulation approved
by the Bankruptcy Court, all security deposits provided by the Debtors to any Person or Entity at
any time after the Petition Date shall be returned to the Debtors within twenty (20) days after the
Effective Date, without deduction or offset of any kind.

       H.      Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or
any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any
injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full force
and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

       I.      Entire Agreement

       Except as otherwise indicated herein, the Plan supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

       J.      Exhibits

        All exhibits hereto are incorporated into and are a part of the Plan as if set forth in full in
the Plan. To the extent any exhibit or document is inconsistent with the terms of the Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

       K.      Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
on the Plan in good faith and in compliance with the Bankruptcy Code and any applicable non-
bankruptcy law, and pursuant to section 1125(e) of the Bankruptcy Code, the Debtors and each
of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of
securities offered and sold under the Plan, and, therefore, will have no liability for the violation
of any applicable law, rule, or regulation governing the solicitation of votes on the Plan or the
offer, issuance, sale, or purchase of the securities offered and sold under the Plan.

       L.      Conflicts

        Except as set forth in the Plan, to the extent that any provision of the Disclosure
Statement or any order (other than the Confirmation Order) referenced in the Plan (or any
exhibits, schedules, appendices, supplements, or amendments to any of the foregoing), conflicts
with or is in any way inconsistent with any provision of the Plan, the Plan shall govern and


                                                  52
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 62 of 145




control. In the event of a conflict between any provision of the Plan and the Confirmation Order,
the Confirmation Order shall govern and control.

       M.      Filing of Additional Documents

       On or before the Effective Date, the Debtors may File with the Bankruptcy Court all
agreements and other documents that may be necessary or appropriate to effectuate and further
evidence the terms and conditions hereof.

                                 XVII.
         CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

       A.      Introduction

        A description of the United States (“U.S.”) federal income tax consequences of the Plan
for the Debtors and Holders of Allowed Claims is provided in this Article XVII. This description
is based on the IRC, Treasury Regulations promulgated thereunder, judicial decisions, and
Internal Revenue Service (“IRS”) rulings and practices, all as in effect on the date of this
Disclosure Statement and all subject to change (possibly with retroactive effect). A substantial
amount of time may elapse between the date of this Disclosure Statement and the receipt of any
distribution under the Plan. Therefore, any subsequent changes in the foregoing authorities or in
their respective interpretations could cause the U.S. federal income tax consequences of the Plan
to differ materially from any consequences described herein.

         The U.S. federal income tax consequences of the Plan are complex and in important
respects uncertain. No IRS ruling has been requested or will be requested by the Debtors; no
opinion has been requested by the Debtors from the Debtors’ counsel concerning any federal,
state, local or non-U.S. tax consequences of the Plan; no representations are being made by the
Debtors’ counsel regarding the particular federal, state, local or non-U.S. tax consequences of the
Plan to the Debtors and Holders of Allowed Claims; no assurances can be given by the Debtors’
counsel that the IRS would not assert, or that a court of competent jurisdiction would not sustain,
a different and/or contrary position from any position discussed herein; and no federal, state,
local or non-U.S. tax opinion is given by this Article XVII or this Disclosure Statement.

        This description does not cover all aspects of U.S. federal income taxation that may be
relevant to the Debtors and Holders of Allowed Claims. For example, this description does not
address issues of special concern to certain types of taxpayers, such as broker-dealers, insurance
companies, financial institutions, tax-exempt organizations and non-U.S. taxpayers, nor does it
address federal, state, local or non-U.S. tax consequences to Holders of Interests in the Debtors.
In addition, this description does not discuss state, local or non-U.S. tax consequences of the
Plan or the U.S. federal income tax consequences to Holders of Allowed Claims who are
Unimpaired or otherwise entitled to payment in full in Cash under the Plan or who are deemed to
reject the Plan. In addition, this description does not address the U.S. federal income tax
consequences of the Plan to persons that are not “U.S. persons” as defined in Section
7701(a)(30) of the IRC.

       This description assumes that the various debt and other arrangements to which the
Debtors are parties will be respected for U.S. federal income tax purposes in accordance with

                                                53
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 63 of 145




their form. If any of the various debt and other arrangements to which the Debtors are parties are
not respected in accordance with their form, the U.S. federal income tax consequences of the
Plan could be materially different from any consequences described herein. If a partnership
(including any entity or arrangement treated as a partnership for U.S. federal income tax
purposes) is a beneficial owner of Claims, the treatment of a partner in the partnership will
generally depend upon the status of the partner and the business activities of the partnership.
Accordingly, partnerships and their partners should consult with their own tax advisors about the
U.S. federal income tax consequences of the Plan.

     FOR THE FOREGOING REASONS, THE DESCRIPTION PROVIDED IN THIS
ARTICLE XVII IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING AND PROFESSIONAL TAX ADVICE
BASED UPON THE PARTICULAR CIRCUMSTANCES OF EACH DEBTOR AND
HOLDER OF ALLOWED CLAIMS. ALL DEBTORS AND HOLDERS OF ALLOWED
CLAIMS ARE STRONGLY URGED TO CONSULT WITH THEIR OWN TAX
ADVISORS REGARDING THE FEDERAL, STATE, LOCAL AND NON-U.S. TAX
CONSEQUENCES OF THE PLAN.

       B.      Certain U.S. Federal Income Tax Consequences of Payment of Allowed
               Claims for the Debtors Pursuant to the Plan

               a. Cancellation of Indebtedness

        In general, absent an exception, the Debtors will realize and recognize cancellation of
debt income (“COD Income”) upon satisfaction of outstanding indebtedness for total
consideration less than the amount of such indebtedness. Generally, the amount of COD Income
realized and recognized is the excess of (a) the adjusted issue price of the indebtedness satisfied,
over (b) the sum of (x) the amount of cash paid, (y) the issue price of any new indebtedness of
the taxpayer issued and (z) the fair market value of any other consideration given.

         A Debtor that is an S-Corp (as defined in Section 1361 of the IRC) will not, however, be
required to include any amount of COD Income in gross income if the Debtor is under the
jurisdiction of a court in a case arising under chapter 11 of the Bankruptcy Code and the
discharge of debt occurs pursuant to such case. See Section 108(d)(7) of the IRC. We believe
that one of the Debtors may be treated as an S-Corp. Instead, because of such exclusion, the
Debtor must reduce its respective tax attributes by the amount of COD Income that the Debtor
excluded from gross income. Generally, tax attributes will be reduced in the following order: (a)
net operating losses and net operating loss carryovers, (b) certain tax credit carryovers, (c) net
capital losses and capital loss carryovers, (d) tax basis in assets (but not below the amount of
liabilities to which the debtor remains subject), (e) passive activity loss and credit carryovers,
and (f) foreign tax credit carryovers. However, a Debtor with COD Income may elect first to
reduce the basis of their respective depreciable assets.

       As a result of having debt reduced in connection with chapter 11 of the Bankruptcy Code,
a Debtor that is an S-Corp generally will not recognize COD Income from the discharge of
indebtedness pursuant to the Plan; however, the Debtor that is an S-Corp expects that, subject to
the limitations discussed herein, the Debtor will be required to make material reductions in

                                                54
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 64 of 145




certain tax attributes. Because the Plan provides that Holders of certain Allowed Claims may
receive Cash, the amount of COD Income realized and recognized will depend on the actual
amount of Cash paid to such Holders in satisfaction of such Allowed Claims. Therefore, such
amounts cannot be known with certainty as of the date of this Disclosure Statement.

        Any Debtor that is classified as a partnership for U.S. federal income tax purposes and
that recognizes COD Income would allocate such COD Income among its partners in the taxable
year in which the Effective Date occurs. The exceptions to recognizing COD Income under
Section 108 of the IRC, including for entities that are in bankruptcy or that are insolvent, are not
available to a Debtor that is a partnership; rather, such exceptions would apply at the partner
level. See Section 108(d)(6) of the IRC.

     ALL PERSONS THAT ARE PARTNERS IN ANY DEBTOR THAT IS
CLASSIFIED AS A PARTNERSHIP FOR U.S. FEDERAL INCOME TAX PURPOSES
ARE STRONGLY URGED TO CONSULT WITH THEIR OWN TAX ADVISORS
REGARDING THE FEDERAL, STATE, LOCAL AND NON-U.S. TAX
CONSEQUENCES OF THE PLAN.

       C.      Certain U.S. Federal Income Tax Consequences of Payment of Allowed
               Claims for Holders of Allowed Claims Pursuant to the Plan

               a. In General

       The U.S. federal income tax consequences of the Plan for Holders of Allowed Claims
will depend on, inter alia: (i) the consideration to be received by such Holders, (ii) whether such
Holders report income according to the accrual or cash method, (iii) whether such Holders
receive distributions under the Plan in more than one taxable year, (iv) whether such Holders’
Claims are Allowed or Disputed on the Effective Date, and (v) whether such Holders have
previously taken bad debt deductions or worthless security deductions with respect to any such
Allowed Claims.

               b. Recognition of Gain or Loss

       In general, a Holder of an Allowed Claim should recognize gain or loss in an amount
equal to the difference between the amount realized under the Plan in respect of any Allowed
Claim and the Holder’s adjusted tax basis in such Allowed Claim. Any gain or loss recognized in
the exchange may be long-term or short-term capital gain or loss or ordinary gain or loss,
depending upon (i) the nature of the Allowed Claim and the Holder, (ii) the length of time the
Holder held such Allowed Claim, and (iii) whether such Allowed Claim was acquired at a
market discount.

       If the Holder of an Allowed Claim realizes a capital loss, any deduction of such loss may
be subject to limitation. The Holder’s aggregate tax basis for any property received, and any
property deemed received, under the Plan will generally equal the fair market value of the
property received. The Holder’s amount realized generally will equal the sum of any Cash
received and the fair market value of any other property received, or any other property deemed
received, by the Holder under the Plan on the Effective Date or subsequent distribution date, less


                                                55
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 65 of 145




the amount (if any) allocable to the Allowed Claim for interest, which will generally be treated
as interest income.

       D.      Certain Consequences for Holders of Allowed Other Secured Claims,
               Allowed Prepetition Secured Loan Claims and Allowed General Unsecured
               Claims

               a. In General

        Except to the extent that Holders of Allowed Other Secured Claims and the Debtors or
the Unsecured Creditor Trustee agree to a less favorable treatment, in full and final satisfaction,
compromise, settlement, and release of and in exchange for each Allowed Other Secured Claim,
each such Holder shall receive either (i) Cash in an amount equal to the proceeds of the collateral
securing such Holder’s Allowed Other Secured Claim after satisfaction in full of all superior
liens up to the Allowed Amount of the Allowed Other Secured Claim, or (ii) to the extent the
amount of an Allowed Other Secured Claim is greater than the value of the collateral securing
such Allowed Other Secured Claim and there are no Liens on such collateral senior to the Lien
held by or for the benefit of the Holder of such Allowed Other Secured Claim, solely the
collateral securing such Allowed Other Secured Claim in full and final satisfaction of such Other
Allowed Secured Claim.

        Each Holder of a Class 3 Prepetition Secured Loan Claim shall receive all Available Cash
up to the amount of the Prepetition Loan Claim outstanding after all payments made pursuant to
the Final DIP Order and the proceeds of any Prepetition Collateral that was not included in the
Sale. Each Holder of a Class 4 General Unsecured Claim shall receive its Pro Rata share of the
Unsecured Creditor Trust Cash; provided, however, that any Prepetition Deficiency Claim will
(i) not receive any recovery from the first $1,000,000 of Distributions from the Unsecured
Creditor Trust Cash, (ii) receive the entire amount of the first $125,000 of Distributions after the
first $1,000,000 of Distributions from the Unsecured Creditor Trust Cash, and (iii) share Pro
Rata with other General Unsecured Claims on any Distributions from the Unsecured Creditor
Trust Cash over $1,125,000.

       Holders of Allowed Other Secured Claims, Prepetition Secured Loan Claims and General
Unsecured Claims that receive Cash will be treated as receiving distributions under the Plan in a
taxable exchange under Section 1001 of the IRC. Other than with respect to any amounts
received that are attributable to accrued but untaxed interest (or original issue discount), each
Holder of such Allowed Claims should recognize gain or loss equal to the difference between the
(a) sum of Cash received in exchange for such Allowed Claim, and (b) each such Holder’s
adjusted basis, (if any) in such Allowed Claim. Each Holder’s ability to deduct any loss
recognized on the exchange of an Allowed Claim will depend on each such Holder’s own
circumstances and may be limited under the IRC.

               b. Distributions After Effective Date

        If a Holder of an Allowed Claim receives a distribution pursuant to the Plan subsequent
to the Effective Date, the installment sale rules of the IRC may apply to any gain recognized
unless the Holder elects out of the installment sale rules under Section 453 of the Code. Special


                                                56
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 66 of 145




rules may apply to installment sales in which the total amount to be realized is contingent, and
some of these special rules may, in certain circumstances, provide for disadvantageous recovery
of tax basis. Furthermore, a portion of any such future distribution may be treated as imputed
interest under the imputed interest provisions of the IRC. Such imputed interest may accrue over
time, in which case the Holder may be required to include such imputed interest in gross income
prior to actual distribution. However, any loss and a portion of any gain realized by may be
subject to deferral.

        Any Holder of an Allowed Claim that receives the right to participate in any distributions
of either Plan Trust after the Effective Date is strongly urged to consult his, her or its own tax
advisor with respect to the application of the installment sale rules and any imputed interest with
respect to deferred future payments.

               c. Accrued Interest

        To the extent that any Allowed Claim entitled to a Distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest (or original issue discount) thereon,
any such Distribution shall be allocated to the principal amount of the Allowed Claim first and
then, to the extent the consideration exceeds the principal amount of the Allowed Claim, to the
portion of such Allowed Claim representing accrued but unpaid interest (or original issue
discount).

        Accordingly, to the extent that any amount received by a Holder of an Allowed Claim
under the Plan is attributable to accrued but unpaid interest and such interest has not previously
been included in the Holder’s gross income, such amount would generally be taxable as ordinary
interest income. The Holder may be able to recognize a deductible loss to the extent that any
accrued interest on the debt instrument constituting an Allowed Claim was previously so
included in gross income but was not paid in full by the Debtors. However, the extent to which
any such amount will be attributable to accrued but untaxed interest in unclear.

               d. Bad Debt Deduction and/or Worthless Securities Deduction

        A Holder of an Allowed Claim who receives in respect of such Allowed Claim an
amount less than the Holder’s tax basis in such Allowed Claim may be entitled in the year of
receipt (or in an earlier or later year) to a bad debt deduction in some amount under Section
166(a) of the IRC or a worthless securities deduction under Section 165(g) of the IRC. The rules
governing the character, timing and amount of bad debt deductions and worthless securities
deductions place considerable emphasis on the particular facts and circumstances of any affected
Holder, the obligor and the financial instrument with respect to which any such deduction is
claimed.

       E.      Certain Tax Consequences for Beneficiaries of the Plan Trusts

               a. In General

       Pursuant to the Plan, each of the Plan Trusts is intended to qualify as a “liquidating trust”
under Treasury Regulation 301.7701-4 for U.S. federal income tax purposes. Accordingly, the
Plan intends that the beneficiaries of the Plan Trusts be treated as if they had received a

                                                57
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 67 of 145




Distribution from the Estates of an undivided interest in the applicable Plan Trust’s Assets (to the
extent of the value of their respective shares therein) and then contributed such interests to the
applicable Plan Trust. Generally, a liquidating trust is not a separate taxable entity, but rather is
treated for U.S. federal income tax purposes as a “grantor trust” (i.e., a pass-through type entity).
However, merely establishing a trust as a liquidating trust does not ensure that it will be treated
as a grantor trust for U.S. federal income tax purposes. The IRS has issued guidelines that set
forth the general criteria for obtaining a ruling as to the grantor status of a liquidating trust under
a chapter 11 bankruptcy plan.

        Pursuant to the Plan, the Plan Trusts have been or will be structured with the intention of
complying with the foregoing general criteria. In conformity with IRS guidance, all parties
(including, without limitation, the Debtors, the Plan Trustees, and the beneficiaries of the Plan
Trusts) are required to treat each Plan Trust as a grantor trust of which the beneficiaries of either
Plan Trust are the owners and grantors (this treatment may differ from the treatment of the
Disputed Claims Reserves, to the extent established). This discussion assumes that the Plan
Trusts will be so respected for U.S. federal income tax purposes.

       Importantly, no ruling from the IRS has been or will be requested and no opinion of the
Debtors’ counsel has been or will be requested concerning the tax status of the Plan Trusts as
grantor trusts. Accordingly, there can be no assurances that the IRS would not take a different
and/or contrary position from the position described in this Article XVII. If the IRS were to
challenge successfully the grantor trust tax status of either Plan Trust, the U.S. federal income
tax consequences to the applicable Plan Trust and its beneficiaries could vary materially from
those discussed in this Article XVII (including the potential for an entity-level tax on income of
the applicable Plan Trust).

               b. Tax Reporting for Assets Allocable to Unsecured Creditor Trust

         The Unsecured Creditor Trustee shall be responsible for any taxes imposed on the
Unsecured Creditor Trust or the Unsecured Creditor Trust Assets. In the event, and to the extent,
any Cash retained on account of Disputed Claims in the Disputed Claims Reserve associated
with the Unsecured Creditor Trust is insufficient to pay the portion of any such taxes attribute to
the taxable income arising from the Unsecured Creditor Trust Assets allocable to, or retained on
the account of, Disputed Claims, such taxes shall be (i) reimbursed from any subsequent Cash
amounts retained on account of Disputed Claims, or (ii) to the extent such Disputed Claims have
subsequently been resolved, deducted from any amounts distributable by the Unsecured Creditor
Trust as a result of the resolutions of such Disputed Claims. The Unsecured Creditor Trustee
shall file all tax returns for the Unsecured Creditor Trust as a grantor trust pursuant to Treasury
Regulation Section 1.671-4(a). Within a reasonable time following the end of the taxable year,
the Unsecured Creditor Trustee shall send to each Holder of a beneficial interest appearing on its
record during such year, a separate statement setting forth the Holder’s share of items of income,
gain, loss, deduction or credit and each such Holder shall report such items on their respective
federal tax returns. The Unsecured Creditor Trustee may provide each Holder of a beneficial
interest with a copy of the Form 1041 for the Unsecured Creditor Trust (without attaching any
other Holder’s Schedule K-1 or other applicable information form) along with the Holder’s
Schedule K-1 or other applicable information form. The Unsecured Creditor Trustee shall
allocate the taxable income, gain, loss deduction or credit of the Unsecured Creditor Trust with

                                                  58
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 68 of 145




respect to each Holder of a beneficial interest to the extent required by the IRC and any other
applicable law.

        Pursuant to the Plan, the Unsecured Creditor Trustee will in good faith value the
Unsecured Creditor Trust Assets. The Unsecured Creditor Trustee shall make the respective
values available from time to time, to the extent relevant, and such values shall be used
consistently by all parties to the Unsecured Creditor Trust (including, without limitation, the
Debtors, the Unsecured Creditor Trustee and the beneficiaries of the Unsecured Creditor Trust)
for all U.S. federal income tax purposes. The Unsecured Creditor Trust may request an expedited
determination of the tax obligations of the Unsecured Creditor Trust under Bankruptcy Code
Section 505(b) for all returns filed for, or on behalf of, the Unsecured Creditor Trust for all
taxable periods through the dissolution of the Unsecured Creditor Trust.

         Allocations of taxable income of the Unsecured Creditor Trust (other than income
allocable to the Dispute Claims Reserve associated with the Unsecured Creditor Trust, to the
extent established) among the beneficiaries of the Unsecured Creditor Trust shall be determined
by reference to the manner in which an amount of Cash equal to such income would be
distributed (were such Cash permitted to be distributed at such time) if, immediately prior to
such deemed distribution, the Unsecured Creditor Trust had distributed all its assets (valued at
their tax book value, and other than assets allocable to the Disputed Claims Reserve associated
with the Unsecured Creditor Trust, to the extent established as discussed below) to the
beneficiaries of the Unsecured Creditor Trust, adjusted for prior income and loss and taking into
account all prior and concurrent distributions from such Unsecured Creditor Trust. Similarly,
taxable loss of the Unsecured Creditor Trust shall be allocated by reference to the manner in
which an economic loss would be borne immediately after a liquidating distribution of the
remaining assets of the Unsecured Creditor Trust. The tax book value of the assets of the
Unsecured Creditor Trust for this purpose shall equal their fair market value on the Effective
Date, adjusted in accordance with tax accounting principles prescribed by the IRC, the applicable
Treasury Regulations promulgated thereunder, and any other applicable administrative and
judicial authorities. The effect of the foregoing allocation is to allocate taxable income or loss
(i.e., the tax impact of receipts and expenditures) in a partnership-type manner, due to the
varying tiers of beneficiaries in the Unsecured Creditor Trust.

       Taxable income or loss allocated to each beneficiary of the Unsecured Creditor Trust will
be treated as income or loss with respect to each beneficiary’s undivided interest in the
Unsecured Creditor Trust Assets, and not as income or loss with respect to any prior Allowed
Claim. The character of any income and the character of and ability to use any loss will depend
on the particular situation of each beneficiary. The Unsecured Creditor Trustee will comply with
all applicable governmental tax withholding and reporting requirements imposed by any
Governmental Unit, and all Distributions pursuant hereto shall be subject to such withholding
and reporting requirements. Notwithstanding any provision in this Plan to the contrary, the
Unsecured Creditor Trustee shall be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including liquidating a portion of the
Distribution to be made under this Plan to generate sufficient funds to pay applicable
withholding taxes.



                                               59
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 69 of 145




               c. Tax Reporting for Assets Allocable to Liquidating Trust

        The Liquidating Trustee shall be responsible for filing all federal, state, local and foreign
tax returns, including, but not limited to, any documentation related thereto for current or former
employees, vendors or contractors of the Debtors, for the Debtors and the Liquidating Trust. In
addition, the Liquidating Trustee shall be responsible for payments of all Allowed tax obligations
of the Debtors, including Priority Tax Claims, Other Secured Claims and Administrative Claims,
in addition to any taxes imposed on the Liquidating Trust or the Liquidating Trust Assets. In the
event, and to the extent, any Cash retained on account of Disputed Claims in the Disputed
Claims Reserve associated with the Liquidating Trust is insufficient to pay the portion of any
such taxes attribute to the taxable income arising from the Liquidating Trust Assets allocable to,
or retained on the account of, Disputed Claims, such taxes shall be (i) reimbursed from any
subsequent Cash amounts retained on account of Disputed Claims, or (ii) to the extent such
Disputed Claims have subsequently been resolved, deducted from any amounts distributable by
the Liquidating Trust as a result of the resolutions of such Disputed Claims. The Liquidating
Trustee shall file all tax returns for the Liquidating Trust as a grantor trust pursuant to Treasury
Regulation Section 1.671-4(a). Within a reasonable time following the end of the taxable year,
the Liquidating Trustee shall send to each Holder of a beneficial interest appearing on its record
during such year, a separate statement setting forth the Holder’s share of items of income, gain,
loss, deduction or credit and each such Holder shall report such items on their respective federal
tax returns. The Liquidating Trustee may provide each Holder of a beneficial interest with a copy
of the Form 1041 for the Liquidating Trust (without attaching any other Holder’s Schedule K-1
or other applicable information form) along with the Holder’s Schedule K-1 or other applicable
information form. The Liquidating Trustee shall allocate the taxable income, gain, loss deduction
or credit of the Liquidating Trust with respect to each Holder of a beneficial interest to the extent
required by the IRC and any other applicable law.

        Pursuant to the Plan, the Liquidating Trustee will in good faith value the Liquidating
Trust Assets. The Liquidating Trustee shall make the respective values available from time to
time, to the extent relevant, and such values shall be used consistently by all parties to the
Liquidating Trust (including, without limitation, the Debtors, the Creditor Trustee and the
beneficiaries of the Liquidating Trust) for all U.S. federal income tax purposes. The Liquidating
Trust may request an expedited determination of the tax obligations of the Liquidating Trust
under Bankruptcy Code Section 505(b) for all returns filed for, or on behalf of, the Liquidating
Trust for all taxable periods through the dissolution of the Liquidating Trust.

        Allocations of taxable income of the Liquidating Trust (other than income allocable to
the Dispute Claims Reserve associated with the Liquidating Trust, to the extent established)
among the beneficiaries of the Liquidating Trust shall be determined by reference to the manner
in which an amount of Cash equal to such income would be distributed (were such Cash
permitted to be distributed at such time) if, immediately prior to such deemed distribution, the
Liquidating Trust had distributed all its assets (valued at their tax book value, and other than
assets allocable to the Disputed Claims Reserve associated with the Liquidating Trust, to the
extent established as discussed below) to the beneficiaries of the Liquidating Trust, adjusted for
prior income and loss and taking into account all prior and concurrent distributions from such
Liquidating Trust. Similarly, taxable loss of the Liquidating Trust shall be allocated by reference
to the manner in which an economic loss would be borne immediately after a liquidating

                                                 60
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 70 of 145




distribution of the remaining assets of the Liquidating Trust. The tax book value of the assets of
the Liquidating Trust for this purpose shall equal their fair market value on the Effective Date,
adjusted in accordance with tax accounting principles prescribed by the IRC, the applicable
Treasury Regulations promulgated thereunder, and any other applicable administrative and
judicial authorities. The effect of the foregoing allocation is to allocate taxable income or loss
(i.e., the tax impact of receipts and expenditures) in a partnership-type manner, due to the
varying tiers of beneficiaries in the Liquidating Trust.

        Taxable income or loss allocated to each beneficiary of the Liquidating Trust will be
treated as income or loss with respect to each beneficiary’s undivided interest in the Liquidating
Trust Assets, and not as income or loss with respect to any prior Allowed Claim. The character
of any income and the character of and ability to use any loss will depend on the particular
situation of each beneficiary. The Liquidating Trustee will comply with all applicable
governmental tax withholding and reporting requirements imposed by any Governmental Unit,
and all Distributions pursuant hereto shall be subject to such withholding and reporting
requirements. Notwithstanding any provision in this Plan to the contrary, the Liquidating Trustee
shall be authorized to take all actions necessary or appropriate to comply with such withholding
and reporting requirements, including liquidating a portion of the Distribution to be made under
this Plan to generate sufficient funds to pay applicable withholding taxes.

               d. Tax Reporting for Assets Allocable to the Disputed Claims Reserves

         On or prior to the Effective Date, the Plan Trustees shall be authorized to establish
Disputed Claims Reserves, each of which shall be administered by the applicable Plan Trustee,
respectively. The Unsecured Creditor Trustee may, but shall not be required to, hold Cash in its
Disputed Claims Reserve from the GUC Settlement Cash in trust for the benefit of the Holders of
General Unsecured Claims ultimately determined to be Allowed after the Effective Date. The
Liquidating Trustee may, but shall not be required to, hold Cash in its Disputed Claims Reserve
in trust for the benefit of the parties entitled to receive payments from the Liquidating Trust Cash
to the extent they hold Claims ultimately determined to be allowed after the Effective Date.

        If a Disputed Claims Reserve is established by either Plan Trustee, subject to definitive
guidance from the IRS or a court of competent jurisdiction to the contrary (including the receipt
of an IRS private letter ruling if the applicable Plan Trustee so requests one, or the receipt of an
adverse determination by an IRS upon audit if not contested by the applicable Plan Trustee), the
applicable Plan Trustee will (i) elect to treat any assets allocable to, or retained on account of,
Disputed Claims as a “disputed ownership fund” governed by Treasury Regulation 1.468B-9,
and (ii) to the extent permitted by applicable law, report consistently with the foregoing for state
and local income tax purposes. In such case, all parties (including, without limitation, the
Debtors, the applicable Plan Trustee and the beneficiaries of the applicable Plan Trust) will be
required to report for all U.S. federal income tax and other applicable purposes consistently with
such treatment.

       If treated as a “disputed ownership fund” for U.S. federal income tax purposes, the
Disputed Claims Reserves will be subject to annual taxation on a separate entity basis on any net
income earned after the Effective Date with respect to assets allocated to the applicable Disputed
Claims Reserves, and all actual and constructive distributions from such Disputed Claims

                                                61
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 71 of 145




Reserve (which distributions will be net of the related expenses, including any taxes relating
thereto) will be treated as received by Holders in respect of their Allowed Claims as if distributed
by the Debtors. In such case, any actual or constructive distributions from the applicable
Disputed Claims Reserve to Holders of Allowed Claims (including to previously Allowed
Claims in the event a Disputed Claim is disallowed) will be treated for U.S. federal income tax
purposes as if received directly from the Debtors on the original Claim in respect of which the
interest in the applicable Plan Trust was issued. Thus, a Holder of an Allowed Claim must be
careful to differentiate between the tax treatment of actual or constructive distributions from the
applicable Disputed Claims Reserve and the tax treatment of distributions out of assets of the
applicable Plan Trust to which the Holder is already considered the direct owner for U.S. federal
income tax purposes. Holders should consult their own tax advisors with respect to the U.S.
federal income tax consequences of the Plan based on their own circumstances if the applicable
Disputed Claims Reserve is established.

               e. Information Reporting and Withholding

        Under the backup withholding rules of the IRC, a Holder of an Allowed Claim may be
subject to backup withholding with respect to distributions or payments made pursuant to the
Plan unless the Holder comes within certain exempt categories (which generally include
corporations) and, when required, demonstrates that fact, or provides a correct taxpayer
identification number and certifies under penalty of perjury that such taxpayer identification
number is correct and that the Holder is not subject to backup withholding because of a failure to
report all dividend and interest income. Backup withholding is not an additional tax but merely
an advance payment that may be refunded to the extent it results in an overpayment of tax. A
Holder of an Allowed Claim may be required to establish exemption from backup withholding or
to make arrangements with respect to the payment of backup withholding.

       F.      Importance of Obtaining Professional Tax Assistance

        The foregoing discussion in this Article XVII (i) is intended only as a summary of certain
U.S. federal income tax consequences of the Plan, (ii) does not discuss all aspects of U.S. federal
income taxation that may be relevant to a particular Holder of an Allowed Claim in light of such
Holder’s particular circumstances and tax situation, and (iii) is not a substitute for consultation
with a tax professional. The foregoing discussion is for informational purposes only and should
not be considered tax advice. The U.S. federal income tax consequences of the Plan are complex
and in many cases uncertain. Accordingly, all Holders of Allowed Claims are strongly urged to
consult with their own tax advisors about the federal, state, local and applicable foreign income
and other tax consequences of the Plan, including with respect to any applicable tax reporting
and record keeping requirements.

                                     XVIII.
                     CERTAIN RISK FACTORS TO BE CONSIDERED

       Prior to voting to accept or reject the Plan, holders of Claims should read and carefully
consider the risk factors set forth below, in addition to the information set forth in this Disclosure
Statement together with any attachments, exhibits, or documents incorporated by reference



                                                 62
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 72 of 145




hereto. The factors below should not be regarded as the only risks associated with the Plan or its
implementation.

       A.      Certain Bankruptcy Law Considerations

               a. General

       While the Debtors believe that the Chapter 11 Cases will be efficient and will not be
materially harmful to the value of their assets, the Debtors cannot be certain that this will be the
case. Further, it is impossible to predict with certainty the amount of time that one or more of the
Debtors may spend in bankruptcy or to assure parties in interest that the Plan will be confirmed.
Even if confirmed on a timely basis, bankruptcy proceedings to confirm the Plan could have an
adverse effect on subsequent ownership of the Debtors’ assets or on the amount of distributable
value available to holders of Claims or Interests.

               b. Risk of Non-Confirmation of the Plan

        Although the Debtors believe that the Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for confirmation
or that such modifications would not necessitate re-solicitation of votes. Moreover, the Debtors
can make no assurances that they will receive the requisite acceptances to confirm the Plan, and
even if all Voting Classes voted in favor of the Plan or the requirements for “cramdown” are met
with respect to any Class that rejected the Plan, the Bankruptcy Court, which may exercise
substantial discretion as a court of equity, may choose not to confirm the Plan. If the Plan is not
confirmed, it is unclear what distributions holders of Claims or Interests ultimately would receive
with respect to their Claims or Interests in a subsequent plan or other proceeding.

               c. Risk of Non-Occurrence of the Effective Date

        Although the Debtors believe that the Effective Date will occur within 30 calendar days
after the Confirmation Date, there can be no assurance as to the timing of the Effective Date. If
the conditions precedent to the Effective Date set forth in the Plan have not occurred or have not
been waived as set forth in Article IX.C of the Plan, then the Confirmation Order may be
vacated, in which event no distributions would be made under the Plan, the Debtors and all
holders of Claims or Interests would be restored to the status quo as of the day immediately
preceding the Confirmation Date, and the Debtors’ obligations with respect to Claims and
Interests would remain unchanged.

               d. Conversion to Chapter 7 Cases

         If no chapter 11 plan can be confirmed, or if the Bankruptcy Court otherwise finds that it
would be in the best interests of holders of Claims and Interests, the Chapter 11 Cases may be
converted to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be
appointed or elected to liquidate the Debtors’ assets for distribution in accordance with the
priorities established by the Bankruptcy Code. See Section X.C hereof, as well as the Liquidation
Analysis attached hereto as Exhibit B, for a discussion of the effects that a chapter 7 liquidation
would have on the recoveries of holders of Claims and Interests.

                                                63
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 73 of 145




               e. Risk of Re-solicitation of the Plan

        There can be no assurance that the Bankruptcy Court will not require modifications to the
Plan that would necessitate re-solicitation of votes from the Holders of Class 3 Prepetition
Secured Loan Claims and Class 4 General Unsecured Claims. Moreover, the Debtors can make
no assurances that they will receive the requisite acceptances to confirm the Plan in the event
votes are re-solicited. Re-solicitation could delay confirmation of the Plan, and if the Plan is not
confirmed, it is unclear what distributions holders of Claims or Interests ultimately would receive
with respect to their Claims or Interests in a subsequent plan or other proceeding.

       B.      Additional Factors Affecting Recoveries

               a. Claims Could Be More than Projected

        There can be no assurance that the estimated Allowed amount of Claims in certain
Classes will not be significantly more than projected, which, in turn, could cause the value of
distributions to be reduced substantially. Inevitably, some assumptions will not materialize, and
unanticipated events and circumstances may affect the ultimate results. Therefore, the actual
amount of Allowed Claims may vary from the assumptions underlying the projected recoveries
discussed in this Disclosure Statement, and the variation may be material.

               b. Other Contract Payment Obligations Could Be More than Projected

       There can be no assurance that the estimated cure amounts or other payment obligations
of the Debtors arising or otherwise resulting from the assumption of executory contracts or
unexpired leases will not be significantly more than projected, which, in turn, could cause the
value of distributions to be reduced substantially. Such cure amounts or payment obligations
could be significant and material and, if the Debtors are unsuccessful in challenging such
amounts, confirmation or the effectiveness of the Plan may be jeopardized.

       C.      Additional Factors

               a. Debtors Could Withdraw Plan

       The Plan may be revoked or withdrawn prior to the Confirmation Date by the Debtors.

               b. Debtors Have No Duty To Update

        The statements contained in this Disclosure Statement are made by the Debtors as of the
date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
that date does not imply that there has been no change in the information set forth herein since
that date. The Debtors have no duty to update this Disclosure Statement unless otherwise ordered
to do so by the Bankruptcy Court.

               c. No Representations Outside this Disclosure Statement Are Authorized

       No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan
are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this

                                                64
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 74 of 145




Disclosure Statement. Any representations or inducements made to secure your acceptance or
rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.

               d. No Legal or Tax Advice Is Provided by this Disclosure Statement

       The contents of this Disclosure Statement should not be construed as legal, business, or
tax advice. Each Holder of a Claim or Equity Interest should consult its own legal counsel and
accountant as to legal, tax, and other matters concerning its Claim or Interest.

        This Disclosure Statement is not legal advice to you. This Disclosure Statement may not
be relied upon for any purpose other than to determine how to vote on the Plan or object to
confirmation of the Plan.

               e. No Admission Made

        Nothing contained herein or in the Plan will constitute an admission of, or will be deemed
evidence of, the tax or other legal effects of the Plan on the Debtors or Holders of Claims or
Interests.

               f. Certain Tax Consequences

       For a discussion of certain tax considerations to the Debtors and certain holders of Claims
in connection with the implementation of the Plan, see Section VI thereof.

                                    XIX.
                     VOTING PROCEDURES AND REQUIREMENTS

       A.      Parties Entitled To Vote

        Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are
entitled to vote on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or
interests is deemed to be “impaired” under a plan unless (i) the plan leaves unaltered the legal,
equitable, and contractual rights to which such claim or interest entitles the holder thereof or (ii)
notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

        If, however, the holder of an impaired claim or interest will not receive or retain any
distribution under the plan on account of such claim or interest, the Bankruptcy Code deems such
holder to have rejected the plan, and, accordingly, holders of such claims and interests do not
actually vote on the plan. If a claim or interest is not impaired by the plan, the Bankruptcy Code
conclusively presumes the holder of such claim or interest to have accepted the plan and,
accordingly, holders of such claims and interests are not entitled to vote on the plan. Further, to
avoid the cost of soliciting votes on a plan, impaired classes of claims and interests may be
presumed to reject the plan.



                                                 65
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 75 of 145




       A vote may be disregarded if the Bankruptcy Court determines, pursuant to section
1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
accordance with the provisions of the Bankruptcy Code.

        The Bankruptcy Code defines “acceptance” of a plan by a class of: (i) claims as
acceptance by creditors in that class that hold at least two-thirds (2/3) in dollar amount and more
than one-half (1/2) in number of the claims that cast ballots for acceptance or rejection of the
plan; and (ii) interests as acceptance by interest holders in that class that hold at least two-thirds
(2/3) in dollar amount of the interests that cast ballots for acceptance or rejection of the plan.

       Prepetition Secured Loan Claims in Class 3 and General Unsecured Claims in Class 4 are
Impaired under the Plan and entitled to vote to accept or reject the Plan.

       B.      Voting Deadline

        Before voting to accept or reject the Plan, each holder of an Allowed Other Priority
Claim, an Other Secured Claim, an Allowed Prepetition Secured Loan Claim, an Allowed
General Unsecured Claims, or an Allowed Pre-Petition Term Claim (an “Eligible Holder”)
should carefully review the Plan attached hereto as Exhibit A. All descriptions of the Plan set
forth in this Disclosure Statement are subject to the terms and conditions of the Plan.

        Ballots will be provided for holders of Voting Claims as of the Voting Record Date (i.e.,
February 15, 2019) to vote to accept or reject the Plan. Only Classes 3 and 4 are entitled to vote
on the Plan.

        Each Ballot contains detailed voting instructions and sets forth in detail, among other
things, the deadlines, procedures, and instructions for voting to accept or reject the Plan, the
Voting Record Date for voting purposes, and the applicable standards for tabulating Ballots. The
Debtors have engaged Kurtzman Carson Consultants, LLC as their voting agent (the “Voting
Agent”) to assist in the transmission of voting materials and in the tabulation of votes with
respect to the Plan.

      FOR YOUR VOTE TO BE COUNTED, YOUR VOTE MUST BE RECEIVED BY THE
VOTING AGENT AT THE ADDRESS SET FORTH BELOW ON OR BEFORE THE
VOTING DEADLINE OF 5:00 P.M., PREVAILING CENTRAL TIME, ON MARCH 20,
2019, UNLESS EXTENDED BY THE DEBTORS. IF YOU HOLD YOUR CLAIMS
THROUGH A NOMINEE, PLEASE FOLLOW THE INSTRUCTIONS PROVIDED BY YOUR
NOMINEE FOR RETURNING YOUR VOTING INSTRUCTIONS. UNLESS OTHERWISE
INSTRUCTED, PLEASE RETURN YOUR BENEFICIAL HOLDER BALLOT TO YOUR
NOMINEE, OR YOUR VOTE WILL NOT BE COUNTED.

        Delivery of a Ballot by facsimile, e-mail or any other electronic means will not be
accepted. If you vote by mail, your Ballot must be returned by the Voting Deadline with an
original signed copy, by first class mail, overnight courier, or personal delivery, to:




                                                 66
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 76 of 145




                               Neighbors Ballot Processing Center
                                           c/o KCC
                                     2335 Alaska Avenue
                                    El Segundo, CA 90245

        Eligible Holders may also vote via KCC’s online voting portal, as described more fully in
the voting instructions supplied with the Ballots.

      FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY
RECEIVED BY THE VOTING AGENT NO LATER THAN MARCH 20, 2019, AT 5:00 P.M.
(PREVAILING CENTRAL TIME). ANY BALLOT THAT IS EXECUTED AND RETURNED
BUT WHICH DOES NOT INDICATE EITHER AN ACCEPTANCE OR REJECTION OF
THE PLAN OR INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN
WILL NOT BE COUNTED. THE DEBTORS MAY REQUEST THAT THE VOTING AGENT
ATTEMPT TO CONTACT SUCH VOTERS TO CURE ANY SUCH DEFECTS IN THE
BALLOTS. THE FAILURE TO VOTE DOES NOT CONSTITUTE A VOTE TO ACCEPT OR
REJECT THE PLAN. AN OBJECTION TO THE CONFIRMATION OF THE PLAN, EVEN IF
TIMELY SERVED, DOES NOT CONSTITUTE A VOTE TO ACCEPT OR REJECT THE
PLAN.

       C.      Voting Procedures

       The Debtors are providing copies of this Disclosure Statement (including all exhibits and
appendices) and related materials and a Ballot (collectively, a “Solicitation Package”) to record
holders of Other Priority Claims, Other Secured Claims, Prepetition Secured Loan Claims,
General Unsecured Claims, and Pre-Petition Term Claims. Each Eligible Holder must submit its
own Ballot.

        Holders of Prepetition Secured Loan Claims should provide all of the information
requested by the Ballot. Holders of Prepetition Secured Loan Claims should complete and return
all Ballots received in the enclosed, self-addressed, postage-paid envelope provided with each
such Ballot to the Voting Agent.

        The Ballots provided to Eligible Holders will reflect the principal amount of such
Eligible Holder’s Claim; however, when tabulating votes, the Voting Agent may adjust the
amount of such Eligible Holder’s Claim by multiplying the principal amount by a factor that
reflects all amounts accrued between the Voting Record Date and the Petition Date including,
without limitation, interest.

       Except as provided below, unless the Ballot is timely submitted to the Voting Agent
before the Voting Deadline, together with any other documents required by such Ballot, the
Debtors may reject such Ballot as invalid, and therefore decline to utilize it in connection with
seeking confirmation of the Plan.

        The delivery of an accepting Ballot pursuant to the procedures set forth above will
constitute the agreement of the creditor with respect to such Ballot to accept (i) all of the terms
of, and conditions to, this Solicitation; and (ii) the terms of the Plan including the injunction,


                                                67
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 77 of 145




releases, and exculpations set forth in Article X therein. All parties in interest retain their right to
object to confirmation of the Plan pursuant to section 1128 of the Bankruptcy Code.

       Any party who has previously submitted to the Voting Agent prior to the Voting
Deadline a properly completed Ballot may revoke such Ballot and change its vote by submitting
to the Voting Agent prior to the Voting Deadline a subsequent, properly completed Ballot for
acceptance or rejection of the Plan.

       The Plan Supplement, once Filed, will be made available for review on the website of the
Voting Agent at http://www.kccllc.net/neighbors. The Debtors reserve the right to modify,
amend, supplement, restate or withdraw the Plan Supplement after it is Filed. The Debtors will
File and make available on the Voting Agent’s website site any modified, amended,
supplemented or restated Plan Supplement as promptly as possible.

       D.      Waivers of Defects, Irregularities, etc.

         Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
eligibility (including time of receipt), acceptance, and revocation or withdrawals of Ballots will
be determined by the Voting Agent and/or the Debtors, as applicable, which determination will
be final and binding. The Debtors reserve the right to reject any and all Ballots submitted by any
of their respective creditors not in proper form, the acceptance of which would, in the opinion of
the Debtors or their counsel, as applicable, be unlawful. The Debtors further reserve their
respective rights to waive any defects or irregularities or conditions of delivery as to any
particular Ballot by any of their creditors. The interpretation (including the Ballot and the
respective instructions thereto) by the applicable Debtor unless otherwise directed by the
Bankruptcy Court, will be final and binding on all parties. Unless waived, any defects or
irregularities in connection with deliveries of Ballots must be cured within such time as the
Debtors (or the Bankruptcy Court) determines. Neither the Debtors nor any other person will be
under any duty to provide notification of defects or irregularities with respect to deliveries of
Ballots nor will any of them incur any liabilities for failure to provide such notification. Unless
otherwise directed by the Bankruptcy Court, delivery of such Ballots will not be deemed to have
been made until such irregularities have been cured or waived. Ballots previously furnished (and
as to which any irregularities have not theretofore been cured or waived) will be invalidated.

                                         XX.
                               CONFIRMATION OF THE PLAN

       A.      Confirmation Hearing

       A hearing is scheduled for March 22, 2019, at 9:30 a.m. (prevailing Central time) to
consider confirmation of the Plan (the “Confirmation Hearing”).

       B.      Requirements for Confirmation of the Plan

               a. Requirements of Section 1129(a) of the Bankruptcy Code

                       1. General Requirements.


                                                  68
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 78 of 145




        At the Confirmation Hearing, the Bankruptcy Court will determine whether the
confirmation requirements specified in section 1129(a) of the Bankruptcy Code have been
satisfied including, without limitation, whether:

                          (i)     the Plan complies with the applicable provisions of the
                                  Bankruptcy Code;

                          (ii)    the Debtors have complied with the applicable provisions
                                  of the Bankruptcy Code;

                          (iii)   the Plan has been proposed in good faith and not by any
                                  means forbidden by law;

                          (iv)    any payment made or promised by the Debtors or by a
                                  person issuing securities or acquiring property under the
                                  Plan, for services or for costs and expenses in or in
                                  connection with the Chapter 11 Cases, or in connection
                                  with the Plan and incident to the Chapter 11 Cases, has
                                  been disclosed to the Bankruptcy Court, and any such
                                  payment made before confirmation of the Plan is
                                  reasonable, or if such payment is to be fixed after
                                  confirmation of the Plan, such payment is subject to the
                                  approval of the Bankruptcy Court as reasonable;

                          (v)     with respect to each Class of Claims or Interests, each
                                  Holder of an impaired Claim or impaired Equity Interest
                                  has either accepted the Plan or will receive or retain under
                                  the Plan, on account of such Holder’s Claim or Equity
                                  Interest, property of a value, as of the Effective Date of the
                                  Plan, that is not less than the amount such Holder would
                                  receive or retain if the Debtors were liquidated on the
                                  Effective Date of the Plan under chapter 7 of the
                                  Bankruptcy Code;

                          (vi)    except to the extent the Plan meets the requirements of
                                  section 1129(b) of the Bankruptcy Code (as discussed
                                  further below), each Class of Claims either accepted the
                                  Plan or is not impaired under the Plan;

                          (vii)   except to the extent that the Holder of a particular Claim
                                  has agreed to a different treatment of such Claim, the Plan
                                  provides that Administrative Claims and priority Claims,
                                  other than Priority Tax Claims, will be paid in full on the
                                  Effective Date, and that Priority Tax Claims will receive
                                  either payment in full on the Effective Date or deferred
                                  cash payments over a period not exceeding five years after



                                            69
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 79 of 145




                                       the Petition Date, of a value, as of the Effective Date of the
                                       Plan, equal to the allowed amount of such Claims;

                               (viii) at least one Class of Impaired Claims has accepted the
                                      Plan, determined without including any acceptance of the
                                      Plan by any insider holding a Claim in such Class; and

                               (ix)    all fees payable under section 1930 of title 28, as
                                       determined by the Bankruptcy Court at the Confirmation
                                       Hearing, have been paid or the Plan provides for the
                                       payment of all such fees on the Effective Date of the Plan.

                       2. Best Interests Test

        As noted above, with respect to each impaired class of claims and equity interests,
confirmation of a plan requires that each such holder either (i) accept the plan or (ii) receive or
retain under the plan property of a value, as of the effective date of the plan, that is not less than
the value such holder would receive or retain if the debtors were liquidated under chapter 7 of
the Bankruptcy Code. This requirement is referred to as the “best interests test.”

        This test requires a bankruptcy court to determine what the holders of allowed claims and
allowed equity interests in each impaired class would receive from a liquidation of the debtor’s
assets and properties in the context of liquidation under chapter 7 of the Bankruptcy Code. To
determine if a plan is in the best interests of each impaired class, the value of the distributions
from the proceeds of the liquidation of the debtor’s assets and properties (after subtracting the
amounts attributable to the aforesaid claims) is then compared with the value offered to such
classes of claims and equity interests under the plan.

       The Debtors believe that under the Plan all Holders of Impaired Claims and Interests will
receive property with a value not less than the value such Holder would receive in a liquidation
under chapter 7 of the Bankruptcy Code. The Debtors’ belief is based primarily on (i)
consideration of the effects that a chapter 7 liquidation would have on the ultimate proceeds
available for distribution to Holders of Impaired Claims and Interests and (ii) the Liquidation
Analysis attached hereto as Exhibit B_.

        The Debtors believe that any liquidation analysis is speculative, as it is necessarily
premised on assumptions and estimates which are inherently subject to significant uncertainties
and contingencies, many of which would be beyond the control of the Debtors. The Liquidation
Analysis provided in Exhibit B_ is solely for the purpose of disclosing to Holders of Claims and
Interests the effects of a hypothetical chapter 7 liquidation of the Debtors, subject to the
assumptions set forth therein. There can be no assurance as to values that would actually be
realized in a chapter 7 liquidation nor can there be any assurance that the Bankruptcy Court will
accept the Debtors’ conclusions or concur with such assumptions in making its determinations
under section 1129(a)(7) of the Bankruptcy Code.




                                                 70
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 80 of 145




                       3. Feasibility

        Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor
demonstrate that confirmation of a plan is not likely to be followed by liquidation or the need for
further financial reorganization. For purposes of determining whether the Plan meets this
requirement, the Debtors have analyzed their ability to meet their obligations under the Plan. The
Plan proposed by the Debtors provides for a liquidation of the Debtors’ remaining assets and a
distribution of Cash to creditors in accordance with the priority scheme of the Bankruptcy Code
and the terms of the Plan. The Plan also provides for appropriate reserves for payment of Other
Secured Claims and administrative and priority claims and mechanisms for consummation of
distributions to all Holders of Claims entitled to them. Thus, the Debtors believe that, following
consummation of the Plan, there will be no need for further liquidation or reorganization.

               b. Additional Requirements for Non-Consensual Confirmation

        As to Classes 6, 7 and 8, which are presumed to reject the Plan, the Bankruptcy Court
may still confirm the Plan at the request of the Debtors if, as to each impaired Class that rejects
or is presumed to reject the Plan, the Plan “does not discriminate unfairly” and is “fair and
equitable” with respect to such Classes, pursuant to section 1129(b) of the Bankruptcy Code.
Both of these requirements are in addition to other requirements established by case law
interpreting the statutory requirements.

                       1. Unfair Discrimination Test

        The “unfair discrimination” test applies to classes of claims or interests that are of equal
priority and are receiving different treatment under a plan. A chapter 11 plan does not
discriminate unfairly, within the meaning of the Bankruptcy Code, if the legal rights of a
dissenting class are treated in a manner consistent with the treatment of other classes whose legal
rights are substantially similar to those of the dissenting class and if no class of claims or
interests receives more than it legally is entitled to receive for its claims or interests. This test
does not require that the treatment be the same or equivalent, but that such treatment is “fair.”

        The Debtors believe the Plan satisfies the “unfair discrimination” test. Claims of equal
priority are receiving comparable treatment.

                       2. Fair and Equitable Test

         The “fair and equitable” test applies to classes of different priority and status (e.g.,
secured versus unsecured) and includes the general requirement that no class of claims receive
more than 100% of the allowed amount of the claims in such class. As to dissenting classes, the
test sets different standards depending on the type of claims in such class. The Debtors submit
that if the Debtors “cramdown” the Plan pursuant to section 1129(b) of the Bankruptcy Code, the
Plan is structured so that it satisfies the “fair and equitable” requirement. The Debtors believe
that the Plan and the treatment of all Classes of Claims and Interests under the Plan satisfy the
requirements for nonconsensual Confirmation of the Plan.




                                                 71
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 81 of 145




                                     XXI.
                       ALTERNATIVES TO CONFIRMATION AND
                          CONSUMMATION OF THE PLAN

        The Debtors have evaluated several alternatives to the Plan. After studying these
alternatives, the Debtors have concluded that the Plan is the best alternative and will maximize
recoveries to parties in interest, assuming confirmation and consummation of the Plan. If the
Plan is not confirmed and consummated, the alternatives to the Plan are (i) the preparation and
presentation of an alternative plan of reorganization, (ii) a sale of some or all of the Debtors’
assets pursuant to section 363 of the Bankruptcy Code, or (iii) a liquidation under chapter 7 of
the Bankruptcy Code.

       A.      Alternative Plan

        If the Plan is not confirmed, the Debtors (or if the Debtors’ exclusive period in which to
file a chapter 11 plan has expired, any other party in interest) could attempt to formulate a
different plan. Such a plan might involve either a reorganization and continuation of the Debtors’
business or an orderly liquidation of its assets. The Debtors, however, submit that the Plan, as
described herein, enables their creditors to realize the most value under the circumstances.

       B.      Sale of All or Substantially All Assets Under Section 363 of the Bankruptcy
               Code

        If the Plan is not confirmed, the Debtors could nevertheless consummate their current
marketing and sale process or could seek from the Bankruptcy Court, after notice and a hearing,
authorization to sell all or substantially all their assets under section 363 of the Bankruptcy Code
through a new process. Holders of Prepetition Secured Loan Claims could be entitled to credit
bid on any property to which their security interest is attached, and to offset their Claims against
the purchase price of the property. In addition, all liens and security interests in the Debtors’
assets generally would attach to the proceeds of any sale of the Debtors’ assets. After these
Claims are satisfied, the remaining funds could be used to pay holders of Prepetition Secured
Loan Claims, Other Priority Claims, Other Secured Claims and unsecured Claims and Interests.
Upon analysis and consideration of this alternative, the Debtors do not believe a sale of all or
substantially all of their assets under section 363 of the Bankruptcy Code without the benefits of
the Plan would yield a higher recovery for holders of Claims and Interests than consummating
sales separately from pursuit and implementation of the Plan.

       C.      Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law

        If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under
chapter 7 of the Bankruptcy Code in which a trustee would be elected or appointed to liquidate
the assets of the Debtors for distribution to their creditors in accordance with the priorities
established by the Bankruptcy Code. The effect a chapter 7 liquidation would have on the
recovery of holders of allowed Claims and Interests is set forth in the Liquidation Analysis
attached hereto as Exhibit B.

        The Debtors believe that liquidation under chapter 7 would result in smaller distributions
to creditors than those provided for in the Plan and no distribution to equity holders because of

                                                72
6790233v15
        Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 82 of 145




the delay resulting from the conversion of the cases and the additional administrative expenses
associated with the appointment of a trustee and the trustee’s retention of professionals who
would be required to become familiar with the many legal and factual issues in the Debtors’
Chapter 11 Cases.

                                      XXII.
                    INFORMAL OBJECTION OF GERALD H. PHIPPS, INC.

        Gerald H. Phipps, Inc. raised an informal objection and requested that the following be
inserted into this Disclosure Statement. The Debtors did not prepare the statement, and do not
agree with the statement. The Gerald H. Phipps, Inc. statement is as follows:

Gerald H. Phipps, Inc. (“Phipps”) intends to assert direct claims against the Debtors’ officers and
directors arising under Chapter 162 of the Texas Property Code related to the construction of the
Amarillo South Location and the Grand Prairie Location in 2016 and 2017. Phipps asserts that
such claims are not property of the bankruptcy estate. Phipps alleges that Phipps’ claims (and
subsequent losses and damages) only affected Phipps and were not a general injury to all
creditors. The Debtors’ Disclosure Statement and Plan purport to transfer Retained Causes of
Action11 and claims under and the proceeds of D&O Policies to the Unsecured Creditor Trust.
Phipps alleges that the Disclosure Statement and Plan fail to identify and distinguish that direct
(and not derivative) D&O Claims of creditors are not transferred to the Unsecured Creditor
Trust. See Seven Seas Pet., Inc., 522 F.3d 575, 588–89 (5th Cir. 2008).

       The Debtors do not adopt or agree with the above statement. The Committee does not
support the above statement or the conclusions raised therein.

        All parties, including Phipps and the to be appointed Unsecured Creditor Trustee on
behalf of the Unsecured Creditor Trust reserve all their respective rights post-confirmation
relating to Phipps’ assertion that it has direct claims against the Debtors’ officers and directors
and that such claims are not property of the bankruptcy estates including, without limitation, the
right to oppose, contest or otherwise challenge any action taken by Phipps to assert such direct
claims against the Debtors’ officers and directors after the Effective Date of the Plan.


                                          XXIII.
                             CONCLUSION AND RECOMMENDATION

       The Debtors believe the Plan is in the best interests of all stakeholders and urge the
Holders of Claims in Classes 3 and 4 to vote in favor thereof.

          Dated: February 20, 2019

                  Houston, Texas


11
     Unless otherwise identified herein, defined terms shall have the meaning ascribed to them in the Debtors’
      Disclosure Statement and Plan.


                                                      73
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 83 of 145




                                    NEIGHBORS LEGACY HOLDINGS, INC.
                                    and each of its Debtor Affiliates




                                    By:    /s/ Chad J. Shandler
                                    Name: Chad J. Shandler
                                    Title: Chief Restructuring Officer




                                      74
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 84 of 145




                                  EXHIBIT A

                                     Plan




                                   Exhibit A
6790233v15
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 85 of 145




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                 §
In re:                                                           §      Chapter 11
                                                                 §
NEIGHBORS LEGACY HOLDINGS, INC., et al.,                         §      Case No. 18-33836 (MI)
                                                                 §
                  Debtors.1                                      §      (Jointly Administered)
                                                                 §

    FIRST AMENDED JOINT PLAN OF LIQUIDATION OF NEIGHBORS LEGACY HOLDINGS,
    INC. AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



PORTER HEDGES LLP
John F. Higgins
Eric M. English
Genevieve M. Graham
1000 Main Street, 36th Floor
Houston, Texas 77002
Telephone: (713) 226-6648
Facsimile: (713) 226-6628
Email:      jhiggins@porterhedges.com
            eenglish@porterhedges.com
            ggraham@porterhedges.com

Counsel to the Debtors and Debtors in Possession

                                           Dated: February 20, 2019




1
  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits
of their tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/neighbors. The location of
Debtors’ principal place of business and the Debtors’ service address is: 10800 Richmond Avenue, Houston, Texas
77042.



6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 86 of 145




                                            TABLE OF CONTENTS

ARTICLE I.        DEFINED TERMS, RULES OF INTERPRETATION,
                  COMPUTATION OF TIME AND GOVERNING LAW ................................ 1
             A.   Defined Terms .................................................................................................. 1
             B.   Rules of Interpretation .................................................................................... 15
             C.   Computation of Time ...................................................................................... 16
             D.   Governing Law ............................................................................................... 16
             E.   Reference to Monetary Figures ....................................................................... 17

ARTICLE II.       ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY
                  CLAIMS ......................................................................................................... 17
             A.   Administrative Claims .................................................................................... 17
             B.   DIP Claims ...................................................................................................... 18
             C.   Priority Tax Claims ......................................................................................... 18
             D.   Statutory Fees.................................................................................................. 18

ARTICLE III.      CLASSIFICATION AND TREATMENT OF CLAIMS AND
                  INTERESTS ................................................................................................... 19
             A.   Introduction ..................................................................................................... 19
             B.   Summary of Classification .............................................................................. 19
             C.   Treatment of Claims and Interests .................................................................. 20

ARTICLE IV.       ACCEPTANCE REQUIREMENTS .............................................................. 22
        A.        Acceptance or Rejection of this Plan .............................................................. 22
        B.        Confirmation of this Plan Pursuant to Section 1129(b) of the Bankruptcy Code
                  ......................................................................................................................... 23
             C.   Controversy Concerning Impairment ............................................................. 23

ARTICLE V.        MEANS FOR IMPLEMENTATION OF THE PLAN................................... 23
        A.        Deemed Consolidation .................................................................................... 23
        B.        Transactions Effective as of the Effective Date .............................................. 24
        C.        The Liquidating Trust ..................................................................................... 24
        D.        The Unsecured Creditor Trust ........................................................................ 25
        E.        Settlement Regarding Unsecured Creditor Recoveries................................... 25
        F.        Certain Powers and Duties of the Liquidating Trust and Liquidating Trustee 25
        G.        Certain Powers and Duties of the Unsecured Creditor Trust and Unsecured
                  Creditor Trustee .............................................................................................. 26
             H.   Federal Income Tax Treatment of the Plan Trusts for the Liquidating and
                  Unsecured Creditor Trust Assets; Tax Reporting and Tax Payment
                  Obligations ...................................................................................................... 27
             I.   Authority to Pursue, Settle, or Abandon Retained Causes of Action ............. 28
             J.   Liquidating Trust’s Accounting for Certain Recoveries ................................. 29
             K.   Filing of Monthly and Quarterly Reports ....................................................... 30
             L.   Corporate Existence; Compliance with Transition Services Agreements ...... 30
             M.   Directors and Officers of the Debtors ............................................................. 30
             N.   Corporate Authorization ................................................................................. 30

                                                                i
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 87 of 145




             O.   Effectuating Documents and Further Transactions......................................... 30
             P.   Employee Agreements .................................................................................... 31
             Q.   Exemption from Certain Taxes and Fees ........................................................ 31
             R.   Duration of the Plan Trusts ............................................................................. 31
             S.   Wind Down of Plan Trusts ............................................................................. 31

ARTICLE VI.       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
                  LEASES .......................................................................................................... 32
             A.   Treatment of Executory Contracts and Unexpired Leases ............................. 32
             B.   Preexisting Obligations to the Debtors Under Executory Contracts and
                  Unexpired Leases ............................................................................................ 32
             C.   Rejection Damages Claim............................................................................... 32
             D.   Reservation of Rights ...................................................................................... 32

ARTICLE VII.      PROVISIONS GOVERNING DISTRIBUTIONS ......................................... 32
        A.        Timing and Calculation of Amounts to Be Distributed; Entitlement to
                  Distributions.................................................................................................... 32
             B.   Plan Trustees ................................................................................................... 33
             C.   No De Minimis Distributions Required .......................................................... 33
             D.   Disputed Claims Reserves .............................................................................. 33
             E.   Distributions on Account of Claims Allowed After the Effective Date ......... 34
             F.   Delivery of Distributions and Undeliverable or Unclaimed Distributions ..... 34
             G.   Compliance with Tax Requirements/Allocations ........................................... 35
             H.   Claims Paid or Payable by Third Parties ........................................................ 36
             I.   Allocation of Plan Distributions between Principal and Interest .................... 36

ARTICLE VIII.     PROCEDURES FOR RESOLVING CONTINGENT,
                  UNLIQUIDATED, AND DISPUTED CLAIMS ........................................... 37
             A.   Allowance and Disallowance of Claims ......................................................... 37
             B.   Prosecution of Objections to Claims............................................................... 37
             C.   Deadline to Object to Claims .......................................................................... 37
             D.   Estimation of Claims....................................................................................... 38
             E.   Amendments to Claims ................................................................................... 38
             F.   Distributions After Allowance ........................................................................ 38

ARTICLE IX.       PATIENT RECORDS .................................................................................... 38
        A.        Patient Records ............................................................................................... 38
        B.        Patient Publication Notice............................................................................... 39
        C.        Service of Notice on Patients .......................................................................... 39
        D.        Patient Records Service Provider.................................................................... 39
        E.        Notice to HHS ................................................................................................. 39
        F.        Destruction of Patient Records ....................................................................... 39
        G.        Further Orders ................................................................................................. 40
        H.        Patient Records Costs ..................................................................................... 40

ARTICLE X.        CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN
                  AND THE EFFECTIVE DATE ..................................................................... 40

                                                             ii
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 88 of 145




             A.   Conditions Precedent to Confirmation............................................................ 40
             B.   Conditions Precedent to the Effective Date .................................................... 40
             C.   Waiver of Conditions ...................................................................................... 41
             D.   Effect of Nonoccurrence of Conditions .......................................................... 41

ARTICLE XI.       SETTLEMENT, RELEASE, INJUNCTION AND RELATED
                  PROVISIONS ................................................................................................. 41
             A.   Compromise and Settlement of Claims, Interests, and Controversies ............ 41
             B.   RELEASES BY THE DEBTORS .................................................................. 42
             C.   RELEASES BY HOLDERS OF CLAIMS AND INTERESTS ..................... 42
             D.   EXCULPATION............................................................................................. 43
             E.   INJUNCTION ................................................................................................. 43
             F.   Setoffs ............................................................................................................. 44
             G.   Recoupment .................................................................................................... 44

ARTICLE XII.      BINDING NATURE OF PLAN ..................................................................... 44

ARTICLE XIII.     RETENTION OF JURISDICTION ................................................................ 45

ARTICLE XIV.      MODIFICATION, REVOCATION OR WITHDRAWAL OF THE
                  PLAN .............................................................................................................. 47
             A.   Modifications and Amendments ..................................................................... 47
             B.   Effect of Confirmation on Modifications ....................................................... 47
             C.   Revocation or Withdrawal of the Plan ............................................................ 47
             D.   Substantial Consummation of the Plan ........................................................... 47

ARTICLE XV.       MISCELLANEOUS PROVISIONS ............................................................... 47
        A.        Bar Date for Administrative Claims ............................................................... 47
        B.        Successors and Assigns................................................................................... 48
        C.        Reservation of Rights ...................................................................................... 48
        D.        Service of Documents ..................................................................................... 48
        E.        Dissolution of Committee ............................................................................... 49
        F.        Discharge of the Patient Care Ombudsman .................................................... 49
        G.        Nonseverability of Plan Provisions................................................................. 49
        H.        Return of Security Deposits ............................................................................ 49
        I.        Term of Injunctions or Stays........................................................................... 50
        J.        Entire Agreement ............................................................................................ 50
        K.        Exhibits ........................................................................................................... 50
        L.        Votes Solicited in Good Faith ......................................................................... 50
        M.        Conflicts .......................................................................................................... 50
        N.        Filing of Additional Documents ..................................................................... 50




                                                              iii
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 89 of 145




                                      INTRODUCTION

        Neighbors Legacy Holdings, Inc. and its affiliates and subsidiaries in the above-captioned
Chapter 11 Cases respectfully propose the following joint plan of liquidation under chapter 11 of
the Bankruptcy Code. Capitalized terms used in the Plan shall have the meanings ascribed to
such terms in Article I hereof.

ALL HOLDERS OF CLAIMS OR INTERESTS ENTITLED TO VOTE ON THIS PLAN
ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE STATEMENT
CAREFULLY AND IN THEIR ENTIRETY BEFORE VOTING ON THIS PLAN.

                               ARTICLE I.
                   DEFINED TERMS, RULES OF INTERPRETATION,
                   COMPUTATION OF TIME AND GOVERNING LAW

A.     Defined Terms

      Unless the context otherwise requires, the following terms shall have the following
meanings when used in capitalized form herein:

        1.      “Administrative Claim” means a Claim for costs and expenses of administration
pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors;
(b) compensation for legal, financial advisory, accounting, and other services and reimbursement
of expenses Allowed pursuant to sections 328, 330(a), or 331 of the Bankruptcy Code or
otherwise for the period commencing on the Petition Date through the Effective Date; (c) all fees
and charges assessed against the Estates under section 1930, chapter 123, of the Judicial Code;
and (d) all requests for compensation or expense reimbursement for making a substantial
contribution in the Chapter 11 Cases pursuant to sections 503(b)(3), (4), and (5) of the
Bankruptcy Code to the extent such request is granted by the Bankruptcy Court. With respect to
Administrative Claims which are allowed pursuant to sections 503(b)(1), 503(b)(2), 503(b)(3),
503(b)(4), 503(b)(5), 503(b)(6), 503(b)(7), 503(b)(8) or 503(b)(9), there shall be an
Administrative Claim against the Debtors only to the extent of and only after the entry of a Final
Order approving such Administrative Claim following the filing of a motion or application prior
to the Administrative Claim Bar Date.

       2.      “Administrative Claim Bar Date” means (other than for (i) quarterly U.S. Trustee
fees and (ii) Professional Fee Claims) the deadline for Filing requests for payment of
Administrative Claims, which: (a) with respect to Administrative Claims other than Professional
Fee Claims, shall be 30 days after the Effective Date; and (b) with respect to Professional Fee
Claims, shall be 45 days after the Effective Date.

        3.      “Administrative Claim Reserve” reserve established to pay Administrative Claims
that are not Professional Fee Claims.

      4.      “Administrative Claim Reserve Amount” means the total amount of estimated
Administrative Claims estimated in accordance with Article II.A.2 hereof.

                                                1
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 90 of 145




       5.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

        6.       “Allowed” means, as to a Claim, or applicable portion thereof, (a) that has been
listed in the Schedules (and thereafter continues to be listed in any subsequently filed amended
versions of such Schedules) as liquidated in amount and not Disputed or contingent and for
which no Proof of Claim has been filed, (b) where a Proof of Claim was timely and properly
filed by the applicable deadline under the Claims Bar Date Order as to which (i) such Claim is
not Disputed, or (ii) an objection has been interposed and such Claim has been allowed, in whole
or in part, by a Final Order or by the agreement of the holder of such Claim, on the one hand, and
the Debtors or the Liquidating Trustee, as applicable, on the other, or (c) that has been allowed
under any Final Order, whether or not such Claim was scheduled or is the subject of a filed Proof
of Claim, including, without limitation, the Claims of the Agent and DIP Agent as set forth in the
Final DIP Order (as hereinafter defined).

        7.     “Available Cash” means all of the Debtors’ or the Liquidating Trust’s cash
remaining after the payment of Administrative Claims, Priority Tax Claims, DIP Claims,
quarterly U.S. Trustee fees, Other Secured Claims, Other Priority Claims, and reservation of the
GUC Settlement Cash by the Unsecured Creditor Trustee.

       8.      “Avoidance Actions” means any and all claims and Causes of Action which any of
the Debtors, the Debtors in Possession, the Estates, the Unsecured Creditor Trustee or other
appropriate party in interest has asserted or may assert under sections 502, 510, 542, 544, 545, or
547 through 553 of the Bankruptcy Code or under similar or related state or federal statutes and
common law, including fraudulent transfer laws and the proceeds thereof.

        9.     “Balloting Agent” means Kurtzman Carson Consultants LLC, in its capacity as
notice and balloting agent for the Debtors.

        10.     “Ballots” means the ballots accompanying the Disclosure Statement upon which
certain Holders of Impaired Claims entitled to vote shall, among other things, indicate their
acceptance or rejection of the Plan in accordance with the Plan and the procedures governing the
solicitation process, and which must be actually received by the Balloting Agent on or before the
Voting Deadline.

       11.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as applicable to the Chapter 11 Cases.

        12.    “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division, having jurisdiction over the Chapter 11 Cases and, to the
extent of the withdrawal of any reference under section 157 of title 28 of the United States Code,
the United States District Court for the Southern District of Texas.

       13.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Cases, promulgated by the United States Supreme Court under 28
U.S.C. § 2075 and the general, local, and chambers rules of the Bankruptcy Court, as each may
be amended from time to time.



                                                2
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 91 of 145




        14.    “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

        15.     “Cash” means the legal tender of the United States of America or the equivalent
thereof, including bank deposits and checks.

        16.     “Causes of Action” means all actions, causes of action (including Avoidance
Actions), Claims, claims for relief, rights, suits, debts, dues, damages, reckonings, accounts,
rights to legal remedies, rights to equitable remedies, rights to payment, controversies,
agreements, covenants, promises, judgments of every type, responsibilities, disputes, assertions,
allegations, proceedings, remedies, demands, setoffs, defenses, recoupments, cross claims,
counterclaims, third-party claims, indemnity claims, contribution claims, or any other claims,
disputed or undisputed, suspected or unsuspected, foreseen or unforeseen, direct or indirect,
choate or inchoate, existing or hereafter arising, in law, equity, or otherwise, based in whole or in
part upon any act or omission or other event occurring prior to the Petition Date or during the
course of the Chapter 11 Cases, including through the Effective Date and also includes, without
limitation: (a) any right of setoff, counterclaim, or recoupment and any claim on contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to Claims or Interests; (c)
any claim pursuant to section 362 of the Bankruptcy Code; (d) any claim or defense, including
fraud, mistake, duress, and usury and any other defenses set forth in section 558 of the
Bankruptcy Code; (e) any claim to avoid transfers and/or transactions under any state or common
law or other similar claim; and (f) D&O Claims.

       17.     “Chapter 11 Cases” means the jointly administered chapter 11 cases pending for
the Debtors in the Bankruptcy Court.

       18.    “Chief Restructuring Officer” means Chad J. Shandler, in his capacity as Chief
Restructuring Officer for the Debtors.

      19.    “Claim” means any claim against a Debtor as defined in section 101(5) of the
Bankruptcy Code.

       20.   “Claims Bar Date” means the November 14, 2018 deadline by which proofs of
claim must be filed under the Claims Bar Date Order by all Entities other than Governmental
Units.

        21.   “Claims Bar Date Order” means the order entered by the Bankruptcy Court
setting, among other things, the Claims Bar Date [Docket No. 14].

        22.     “Class” means a category of Holders of Claims or Interests as set forth in
Article III hereof pursuant to sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.

       23.   “Closed Centers” means the centers that the Debtors closed prior to the Petition
Date (NEC Lakeline Emergency Center, LP, NEC Zaragoza Emergency Center, LP, NEC Tyler
Emergency Center, LP, NEC Texas City Emergency Center, LP, NEC Wichita Falls Emergency
Center, LP, NEC Longview Emergency Center, LP, NEC San Angelo Emergency Center, LP,
NEC College Station Emergency Center, LP, NEC Lufkin Emergency Center, LP, NEC West


                                                 3
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 92 of 145




Warwick Emergency Center, LP, NEC Greeley Emergency Center, LP, NEC Kerrville
Emergency Center, LP, and NEC Amarillo South Emergency Center, LP).

      24.    “Committee” means the official committee of unsecured creditors (and all
subcommittees thereof) appointed in the Chapter 11 Cases pursuant to section 1102 of the
Bankruptcy Code, as such committee may be reconstituted from time to time [Docket No. 87].

         25.     “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases, subject to all conditions specified in Article IX.A hereof having been:
(a) satisfied; or (b) waived pursuant to Article IX.C hereof.

       26.     “Confirmation Date” means the date upon which the Clerk of the Bankruptcy
Court enters the Confirmation Order on the docket of the Chapter 11 Cases, within the meaning
of Bankruptcy Rules 5003 and 9021.

        27.    “Confirmation Hearing” means the hearing or hearings held by the Bankruptcy
Court to consider Confirmation, as such hearing may be adjourned or continued from time to
time in the Debtors’ sole discretion.

       28.    “Confirmation Order” means the order or orders of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

       29.     “Consummation” means the occurrence of the Effective Date.

        30.      “D&O Claims” means any and all rights and claims against the Debtors’ current
and former directors and officers including, without limitation, claims for breach of fiduciary
duty, breach of the duty of care, misrepresentation of company assets, misuse of company funds,
fraud, failure to comply with workplace laws, theft of intellectual property and general errors and
omissions committed in the management of the Debtors, and the proceeds of any such claims,
including any recovery under D&O Policies associated therewith.

       31.    “D&O Policies” means collectively, what is commonly understood as any
“Directors and Officers Liability” coverage and any other executive or fiduciary liability and/or
employment practices liability insurance policies belonging to the Debtors or under which any of
the Debtors and their current and former directors and officers are insureds, insured persons or
are named as an insured or additional insured (including any and all amendments, endorsements,
renewals and extensions thereof).

       32.    “Debtor” or “Debtor in Possession” means one of the Persons in the above-
captioned cases, in its individual capacity as a debtor and debtor in possession in the Chapter 11
Cases under sections 1107 and 1108 of the Bankruptcy Code.

       33.     “Debtor Releases” shall have the meaning set forth in Article X.B of the Plan.

       34.     “DIP Agent” means KeyBank, National Association in its capacity as the
administrative agent under the DIP Credit Agreement.

       35.     “DIP Claims” means any claim arising under the DIP Credit Agreement.

                                                4
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 93 of 145




       36.    “DIP Credit Agreement” means that certain Debtor-in-Possession Credit
Agreement (as amended, restated, or supplemented) dated August 30, 2018 between Neighbors
Global Holdings, LLC and the DIP Secured Parties.

      37.     “DIP Lenders” means those lenders who advanced the DIP Loans pursuant to the
DIP Credit Agreement.

       38.     “DIP Loans” means the loans advanced pursuant to the DIP Credit Agreement.

       39.     “DIP Secured Parties” means the DIP Lenders and the DIP Agent.

       40.     “Disallowed” means, with reference to any Claim, a finding of the Bankruptcy
Court in a Final Order or a provision of the Plan, providing that a Claim shall not be Allowed.

        41.      “Disclosure Statement” means the Disclosure Statement for Joint Plan of
Liquidation of Neighbors Legacy Holdings, Inc. and Its Debtor Affiliates Under Chapter 11 of
the Bankruptcy Code, dated February 8, 2019, as the same may be amended, supplemented, or
modified from time to time, including all exhibits and schedules thereto and references therein
that relate to the Plan, that is prepared and distributed in accordance with the Bankruptcy Code,
Bankruptcy Rules, and any other applicable law.

         42.    “Disputed” means, with respect to any Claim or Interest, any Claim or Interest
that is not yet Allowed.

        43.     “Disputed Claims Reserve” means a reserve of Cash that may be funded on or
after the Effective Date pursuant to Article VII.D hereof.

       44.    “Distribution” means the payment of Cash or other property, as the case may be,
in accordance with the Plan, the Confirmation Order, and the Liquidating Trust Agreement.

       45.     “Distribution Record Date” means the date on which the Confirmation Order is
entered or such other date that is designated by the Debtors.

        46.     “Effective Date” means the date declared by the Debtors after the Confirmation
Order becomes a Final Order and all of the conditions specified in Article IX.B hereof have been
satisfied or waived pursuant to Article IX.C hereof.

       47.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

      48.    “Equity Security” means an “equity security” as defined in section 101(16) of the
Bankruptcy Code.

       49.    “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code.

        50.      “Exculpated Claim” means any Claim related to any act or omission that occurred
after the Petition Date in connection with the Debtors’ in- Bankruptcy Court restructuring efforts,
the Debtors’ Chapter 11 Cases, formulation, preparation, dissemination, negotiation or filing of


                                                5
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 94 of 145




the Disclosure Statement or the Plan or any contract, instrument, release or other agreement or
document created or entered into in connection with the Disclosure Statement or the Plan, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the Distribution of property under the
Plan or any other agreement; provided, however, that Exculpated Claims shall not include any
act or omission that is determined in a Final Order to have constituted willful misconduct, gross
negligence, or fraud.

       51.      “Exculpated Party” means each of the Debtors, the Prepetition Secured Parties,
the DIP Secured Parties, the Committee and each of its members, but solely in their capacities as
such, and not individually, the Chief Restructuring Officer, the Patient Care Ombudsman, and,
with respect to each of the foregoing, its and their officers, directors, managers, managing
members, principals, partners, members, employees, agents, financial advisors, attorneys,
accountants, investment bankers, consultants, representatives and other Professionals, in their
capacity as such, only to the extent such officers, directors, managers, managing members,
principals, partners, members, employees, agents, financial advisors, attorneys, accountants,
investment bankers, consultants, representatives and other Professionals worked for or otherwise
represented the Debtors after the Petition Date. For the avoidance of doubt, the term Exculpated
Party shall include the Debtors’ officers, if any, that are terminated after the closing of all of the
Purchase Agreements.

        52.    “Executory Contract” means a contract to which one or more of the Debtors is a
party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
Code.

        53.     “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court
or other court of competent jurisdiction in the Chapter 11 Cases.

       54.    “Final DIP Order” means the Final Order (a) Authorizing Use of Cash Collateral
pursuant to Section 363(c) of the Bankruptcy Code and Granting Adequate Protection, and
(b) Authorizing Debtor to Obtain Postpetition Financing and Granting Liens and Superpriority
Claims [Docket No. 193].

        55.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy
Court or other court of competent jurisdiction with respect to the relevant subject matter, which
has not been reversed, stayed, modified or amended, and as to which the time to appeal or seek
certiorari has expired and no appeal or petition for certiorari has been timely taken, or as to
which any appeal that has been taken or any petition for certiorari that has been Filed has been
resolved by the highest court to which the order or judgment was appealed or from which
certiorari was sought or the new trial, reargument or rehearing shall have been denied, has
resulted in no modification of such order or has otherwise been dismissed with prejudice;
provided however, that a motion under Section 502(j) of the Bankruptcy Code, Rule 59 or 60 of
the Federal Rules of Civil Procedure, or any analogous rule may be made with respect to such
order shall not cause such order not to be a Final Order.

       56.     “General Unsecured Claim” means any unsecured Claim, specifically including
any Prepetition Deficiency Claim, against any of the Debtors that is not an Administrative Claim,

                                                  6
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 95 of 145




Priority Tax Claim, Other Priority Claim, Professional Fee Claim, Section 510(b) Claim, or an
Intercompany Claim.

      57.    “Governmental Claims Bar Date” means the January 8, 2019 deadline by which
Governmental Units must file proofs of claim under the Claims Bar Date Order.

       58.    “Governmental Unit” means a governmental unit as defined in section 101(27) of
the Bankruptcy Code.

        59.     “GUC Settlement Cash” means $275,000 of the proceeds from the sale of the
Collateral and/or DIP Collateral (each as defined in the Final DIP Order) pursuant to paragraph
45 of the Final DIP Order.

       60.    “HHS” shall mean the United States Department of Health and Human Services.

       61.     “HHS Records Request” shall mean the written request to be sent by certified mail
to HHS pursuant to section 351(2) of the Bankruptcy Code requesting permission from HHS to
deposit the Patient Records with HHS.

       62.    “Holder” means any Person or Entity holding a Claim or an Interest.

       63.    “Impaired” means any Claim or Interest in an Impaired Class.

       64.    “Impaired Class” means an impaired Class within the meaning of section 1124 of
the Bankruptcy Code.

       65.    “Intercompany Claim” means any Claim held by a Debtor against another Debtor.

       66.    “Intercompany Interest” means an Equity Security in a Debtor held by another
Debtor.

        67.     “Interests” means, collectively, the Neighbors Equity Interests, Intercompany
Interests, and Series LLC Interests.

       68.    “IRC” means the U.S. Internal Revenue Code of 1986, as amended.

       69.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1-4001.

       70.    “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

       71.    “Liquidating Debtors” means the Debtors after the Effective Date.

        72.    “Liquidating Trust” means the Liquidating Trust established under Article V.C of
the Plan and pursuant to the Liquidating Trust Agreement.

        73.    “Liquidating Trust Agreement” means the agreement creating the Liquidating
Trust to be implemented pursuant to Article V of the Plan, and substantially in the form included
in the Plan Supplement.


                                               7
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 96 of 145




        74.     “Liquidating Trust Assets” means all assets of the Debtors, and proceeds from
such assets, including the Remaining Prepetition Collateral and the Liquidating Trust Cash other
than (i) the Unsecured Creditor Trust Assets and (ii) all permits, licenses, regulatory
authorizations, approvals, and any other asset or attribute necessary to comply with the Debtors’
duties under the Transition Services Agreements.

       75.    “Liquidating Trust Cash” means all Cash held by the Debtors on the Effective
Date (including the Professional Fee Escrow) available after the satisfaction of the costs and
expenses of the Liquidating Trust, including the fees of the Liquidating Trustee and counsel to
the Liquidating Trust other than the GUC Settlement Cash and any amounts recovered by the
Unsecured Creditor Trust on account of the Retained Causes of Action.

       76.   “Liquidating Trustee” means that person selected by the Debtors in consultation
with the Committee and the Prepetition Agent, to be identified in the Plan Supplement.

       77.    “Neighbors Equity Interest” means any Equity Security, including warrants to
acquire such interests, in Neighbors Legacy Holdings, Inc. or Neighbors Physician Group,
PLLC, or any Series LLC Interest.

        78.    “Other Priority Claim” means any Claim accorded priority in right of payment
under section 507(a) of the Bankruptcy Code, other than: (a) an Administrative Claim or (b) a
Priority Tax Claim.

      79.    “Other Secured Claim” means any Secured Claim other than Prepetition Secured
Loan Claims.

       80.    “Patient” means a patient as defined in section 101(40A) of the Bankruptcy Code.

       81.    “Patient Care Ombudsman” means Susan N. Goodman, in her capacity as the
Patient Care Ombudsman pursuant to the Notice of Appointment Patient Care Ombudsman
[Docket No. 204].

        82.     “Patient Publication Notice” shall mean the notice by publication given to former
Patients of the Debtors’ Closed Centers.

      83.    “Patient Records” means patient records as defined in section 101(40B) of the
Bankruptcy Code.

       84.    “Patient Records Costs” shall mean any costs reasonably incurred by the
Liquidating Trustee in connection with the preservation, maintenance, storage, transfer or
destruction of Patient Records, including without limitation all such costs incurred by the
Liquidating Trustee in complying with Article IX of this Plan.

       85.     “Patient Records Mailing List” shall mean the list of the Debtors’ Patients
between the Petition Date and the Effective Date as derived from the Debtors’ electronic billing
records to the extent that such electronic records are reasonably available to the Debtors or the
Liquidating Trustee.


                                               8
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 97 of 145




        86.     “Patient Records Mail Notice” shall mean notice consistent with Bankruptcy Rule
6011(b), in such form as may be approved by the Bankruptcy Court in the Confirmation Order,
to be deposited in the United States Mail, first class, postage prepaid, addressed to all Persons
reflected on the Patient Records Mailing List.

       87.    “Patient Records Maintenance Period” is the 365-day period identified in section
351(1)(A) of the Bankruptcy Code immediately following the publication of the Patient
Publication Notice.

       88.     “Patient Records Service Agreement” means the document approved in form by
the Bankruptcy Court pursuant to which the Patient Records Service Provider will maintain and
store Patient Records and respond to requests for Patient Records during the Patient Records
Maintenance Period consistent with section 351 of the Bankruptcy Code.

      89.    “Patient Records Service Provider” means the third party service provider
engaged pursuant to the Patient Records Service Agreement.

       90.     “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

     91.   “Petition Date” means July 12, 2018, and July 23, 2018 solely with respect to
NEC Beaumont Asset Holdings, LLC and NEC Beaumont Emergency Center, LP.

        92.     “Plan” means this Joint Plan of Liquidation of Neighbors Legacy Holdings, Inc.
and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code, dated February 8, 2019, as
the same may be amended, supplemented, or modified from time to time, including, without
limitation, any exhibits hereto, which are incorporated herein by reference.

        93.     “Plan Supplement” means the supplemental appendix to this Plan, filed with the
Court no later than five (5) calendar days prior to the Voting Deadline, which contains, among
other things, draft forms or signed copies, as the case may be, of the Liquidating Trust
Agreement, the Unsecured Creditor Trust Agreement, the schedule of Retained Causes of
Action, and any schedules, lists, or documents that supplement or clarify aspects of this Plan and
are identified as part of the Plan Supplement.

       94.     “Plan Trustees” means the Liquidating Trustee and the Unsecured Creditor
Trustee, respectively.

        95.   “Plan Trusts” means the Liquidating Trust and the Unsecured Creditor Trust,
respectively.

      96.    “Plan Trusts’ Agreements” means the Liquidating Trust Agreement and the
Unsecured Creditor Trust Agreement, respectively.

       97.     “Prepetition Agent” means KeyBank, National Association as administrative
agent under the Prepetition Credit Agreement in its capacity as agent under the Prepetition Credit
Agreement.

       98.     “Prepetition Collateral” means the property subject to the Prepetition Liens.

                                                9
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 98 of 145




      99.    “Prepetition Credit Agreement” means that certain Credit Agreement (as
amended, restated, or supplemented) dated November 19, 2015 between Neighbors Global
Holdings, LLC and the Prepetition Secured Parties.

        100. “Prepetition Deficiency Claim” means the portion of any Prepetition Loan Claim
that remains after payment of the Secured portion of such Claim.

        101. “Prepetition Financing Agreements” means the Prepetition Credit Agreement
together with all security, pledge and guaranty agreements and all other documentation executed
in connection with any of the foregoing, each agreement, as so amended or otherwise modified
(without giving effect to any other amendments restatements, supplements or modifications
thereto after the date hereof).

       102. “Prepetition Lenders” means those lenders who advanced the Prepetition Loans
pursuant to the Prepetition Credit Agreement.

        103. “Prepetition Liens” means the security interests and liens granted by the Debtors
to the Prepetition Agent to secure the Prepetition Secured Debt.

      104.     “Prepetition Loans” means the loans advanced pursuant to the Prepetition Credit
Agreement.

      105.     “Prepetition Loan Claim” means any Claim arising under the Prepetition Credit
Agreement.

        106. “Prepetition Secured Debt” means collectively, at least $110,195,053.48 plus
interest accrued and accruing, costs, expenses, fees (including attorney’s fees and legal expenses)
other charges and other obligations owed to the Prepetition Lenders as of the Petition Date by the
Debtors party to or otherwise obligated under the Prepetition Financing Agreements.

       107. “Prepetition Secured Loan Claim” means the portion of any Prepetition Loan
Claim that is Secured.

        108.    “Prepetition Secured Parties” means the Prepetition Lenders together with the
Prepetition Agent who made certain advances under the Prepetition Credit Agreement, KeyBanc
Capital Markets Inc., as joint lead arranger and joint bookrunner, Compass Bank Association, as
joint lead arranger, a joint bookrunner, and sole syndication agent, and LegacyTexas Bank, as the
documentation agent.

        109. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

        110. “Pro Rata” means the proportion that an Allowed Claim or Allowed Interest in a
particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that
Class, or the proportion that Allowed Claims or Allowed Interests in a particular Class bear to
the aggregate amount of Allowed Claims or Allowed Interests in a particular Class and other
Classes entitled to share in the same recovery as such Allowed Claim or Allowed Interest under
the Plan.

                                                10
6778127v24
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 99 of 145




       111. “Professional” means a Person or Entity: (a) employed in the Chapter 11 Cases
pursuant to a Bankruptcy Court order in accordance with sections 327, 363, or 1103 of the
Bankruptcy Code and to be compensated for services rendered before or on the Effective Date,
pursuant to sections 327, 328, 329, 330, 363, and 331 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

        112. “Professional Fee Claims” means Administrative Claims for Professional Fees
from the Petition Date through the Effective Date, as well as fees, expenses and other
reimbursable costs incurred after the Effective Date in connection with the preparation and filing
of fee applications with the Bankruptcy Court in respect of Professional Fee Claims.

       113. “Professional Fee Escrow” means an interest-bearing account in an amount equal
to the Professional Fee Reserve Amount and funded by the Debtors on the Effective Date,
pursuant to Article II.A.2 hereof.

       114. “Professional Fee Reserve Amount” means the total amount of Professional Fee
Claims estimated in accordance with Article II.A.4 hereof.

        115. “Professional Fees” means all fees, costs and expenses incurred in these
Chapter 11 Cases by any Professional and awarded by Final Order of the Bankruptcy Court
pursuant to §§ 330 or 503(b) or any other provision of the Bankruptcy Code and any professional
fees, costs and expenses which have been allowed pursuant to this Plan or by Final Order of the
Bankruptcy Court.

       116. “Proof of Claim” means a proof of Claim or Interest filed against any Debtor in
these Chapter 11 Cases.

       117.    “Purchase Agreements” means, collectively, certain purchase agreements titled:

               (A)    Asset Purchase Agreement by and among NEC Baytown Emergency
                      Center, LP, NEC Crosby Emergency Center, LP, NEC Kingwood
                      Emergency Center, LP, NEC Pasadena Emergency Center, LP, NEC
                      Pearland Emergency Center, LP, and NEC Porter Emergency Center, LP,
                      as Operating Sellers, NEC Baytown Asset Holdings, LLC, NEC
                      Kingwood Asset Holdings, LLC, and NEC Pearland Asset Holdings, LLC
                      as Owned Real Property Sellers, Neighbors Legacy Holdings, Inc.,
                      Neighbors Global Holdings, LLC, Neighbors Health, LLC, EDMG, LLC,
                      and Neighbors Practice Management, LLC as Corporate and Shared
                      Services Sellers, Neighbors Emergency Center, LLC as IP Seller, and
                      Altus Health Systems OPCO, LLC, as Opco Buyer, Altus Health System
                      Realty, LLC, as Realty Buyer dated July 10, 2018;

               (B)    Asset Purchase Agreement by and among NEC Mueller Emergency
                      Center, LP, as Operating Seller and Neighbors Legacy Holdings, Inc.,
                      Neighbors Global Holdings, LLC, Neighbors Health, LLC, EDMG, LLC,
                      and Neighbors Practice Management, LLC, as Corporate and Shared


                                               11
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 100 of 145




                      Services Sellers, and AEC ER 4, LLC, as Buyer dated September 12,
                      2018;

               (C)    Asset Purchase Agreement by and among NEC Amarillo Emergency
                      Center, LP, NEC Beaumont Emergency Center, LP, NEC Lubbock
                      Emergency Center, LP, NEC McAllen Emergency Center, LP, NEC
                      Orange Emergency Center, LP, NEC Port Arthur Emergency Center, LP,
                      as Operating Sellers, NEC Beaumont Asset Holdings, LLC, as Owned
                      Real Property Seller, and Neighbors Legacy Holdings, Inc., Neighbors
                      Global Holdings, LLC, Neighbors Health, LLC, EDMG, LLC, and
                      Neighbors Practice Management, LLC, as Corporate and Shared Services
                      Sellers, and Exceptional H.C., Inc., as Buyer, dated September 12, 2018;

               (D)    Asset Purchase Agreement by and among NEC Eastside Emergency
                      Center, LP, NEC Brownsville Emergency Center, LP, and NEC Harlingen
                      Emergency Center, LP, as Operating Sellers, and Neighbors Legacy
                      Holdings, Inc., Neighbors Global Holdings, LLC, Neighbors Health, LLC,
                      EDMG, LLC, and Neighbors Practice Management, LLC, as Corporate
                      and Shared Services Sellers, and Tenet Business Services Corporation, as
                      Buyer, dated September 12, 2018; and

               (E)    Asset Purchase Agreement by and among NEC Bellaire Emergency
                      Center, LP, NEC Yorktown Emergency Center, LP, NEC Midland
                      Emergency Center, LP NEC Odessa Emergency Center, LP, NEC
                      Texarkana Emergency Center, LP, NEC Paris Emergency Center, LP, as
                      Operating Sellers, Neighbors Legacy Holdings, Inc., Neighbors Global
                      Holdings, LLC, Neighbors Health, LLC, EDMG, LLC, and Neighbors
                      Practice Management, LLC, as Corporate and Shared Services Sellers, and
                      Greater Texas Emergency Centers, LLC, as nominee for various LLCs to
                      be designated as the acquiring entities as Buyer, dated September 13,
                      2018.

       118.    “Purchaser” means the applicable purchaser under the Purchase Agreements.

       119. “Release Opt-Out” means the election, to be made solely through validly-
submitted Ballots, to opt-out of the release provisions.

        120. “Released Party” means, collectively, and in each case in its capacity as such, (a)
the Prepetition Secured Parties, (b) the DIP Secured Parties, (c) the Chief Restructuring Officer,
in his individual capacity, and, with respect to each of the foregoing Entities in clauses (a)
through (c), such Entity’s current or former subsidiaries and Affiliates, and their managed
accounts or funds, officers, managers, managing members, principals, partners, members,
employees, agents, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives and other Professionals; provided, however, that if a Holder of Prepetition Loan
Claim does not vote to approve the Plan or objects to confirmation of the Plan, such Holder shall
not be a Released Party. For the sake of clarity, the Debtors’ current and former subsidiaries,
Affiliates, directors, members, managers, officers, principals, partners, agents, employees,

                                               12
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 101 of 145




shareholders, holders of Series LLC Interests, holders of Neighbors Equity Interests shall not be
considered a Released Party.

        121. “Releasing Parties” means, collectively, and in each case in its capacity as such:
(a) the Debtors, (b) the Prepetition Secured Parties, (c) the DIP Secured Parties, (d) the
Committee, (e) each Holder of a Claim or Interest that accepts or is deemed to accept the Plan,
(f) each other Holder of a Claim that is entitled to vote on the Plan and does not both (x) vote to
reject the Plan or abstain from voting to accept or reject the Plan and (y) elect the Release Opt-
Out on its Ballot, and (g) with respect to each of the foregoing Entities in clauses (b) through (e),
such Entity’s current or former subsidiaries and Affiliates, and its and their managed accounts or
funds, officers, directors, managers, managing members, principals, partners, members,
employees, agents, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives and other Professionals.

        122. “Remaining Prepetition Collateral” means the Prepetition Collateral (other than
Retained Causes of Action) not sold pursuant to the Purchase Agreements or otherwise conveyed
or liquidated by the Debtors prior to the Effective Date including but not limited to accounts
receivable not purchased by Purchasers.

         123. “Retained Causes of Action” means, collectively, all claims, rights or other
Causes of Action which may be asserted by or on behalf of, the Debtors, or the Estates, directly
or as assigned to, the Committee, the Unsecured Creditor Trust or the Unsecured Creditor
Trustee, a nonexclusive list of which is set forth in the Plan Supplement, including but not
limited to all Avoidance Actions, D&O Claims, and all Causes of Action, rights, privileges,
claims and demands against any the Debtors’ current and former subsidiaries, Affiliates,
directors, members, managers, officers, principals, partners, agents, employees, shareholders,
holders of Series LLC Interests, holders of Neighbors Equity Interests, third parties, investors,
individuals, insurers or insiders that have not been released in accordance with the terms and
provisions of this Plan or assigned pursuant to the Purchase Agreements that the Debtors or the
Estates own or have an interest in or can assert in any fashion, whether arising pre-petition or
post-petition, whether such causes of action arise from contract, tort theories of liability
(including all commercial tort claims), insurance claims, statutory claims or other claims,
whether or not specifically identified in the Plan Supplement, including, without limitation, all
litigation claims, all objections to Class 4 Claims, and all adversary proceedings.

       124. “Sale” means the sale of substantially all of the Debtors’ assets pursuant to the
Purchase Agreements.

       125. “Sale Order” means the order approving the Sale [Docket No. 482], as
supplemented by the order [Docket No. 484] approving the Greater Texas Emergency Center,
LLC Purchase Agreement, and the order [Docket No. 524] resolving cure objections for the
assumption and assignment of certain 365 contracts pursuant to the Sale Order.

       126. “Schedule of Retained Causes of Action” means the schedule of Causes of Action
to be retained by the Estates and contributed to the Unsecured Creditor Trust, which shall be
included in the Plan Supplement.



                                                 13
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 102 of 145




       127. “Schedules” mean the Summary of Assets and Liabilities Schedules for Non-
Individual, Schedule A/B: Property Non-Individual, Schedule D Non-Individual- Creditors
Having Claims Secured by Property, Schedule E/F: Creditors Who Have General Unsecured
Claims Non-Individual, Schedule G Non-Individual- Executory Contracts and Unexpired Leases,
Schedule H Non-Individual-Codebtors filed by each of the Debtors on September 8, 2018
[Docket Nos. 368, 370, 372, 374, 376, 378, 380, 382, 384, 386, 388, 390, 392, 394, 396, 398,
400, 402, 404, 406, 408, 410, 412, 414, 416, 418, 420, 422, 424, 426, 428, 430, 432, 434, 436,
438, 440, 442, 444, 446, 448, 450, 452, 454, 456, 458, 460, 462, 464, 466, and 468].

        128. “Section 510(b) Claim” means any Claim against a Debtor arising from
(a) rescission of a purchase or sale of a security of any Debtor or an Affiliate of any Debtor,
(b) purchase or sale of such a security, or (c) reimbursement or contribution allowed under
section 502 of the Bankruptcy Code on account of such a Claim.

        129. “Secured” means: when referring to a Claim: (a) secured by a Lien on property in
which the Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the
Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, as
determined pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant
to section 553 of the Bankruptcy Code; or (b) otherwise Allowed pursuant to this Plan as a
Secured Claim.

      130. “Series LLC” means each of series 100 through series 153 existing as part of NHS
Emergency Centers, LLC.

        131. “Series LLC Claim” means any Claim asserted by an alleged owner of a Series
LLC Interest, including the Class A physicians and the Class B physicians, if the Claim is
asserted in their capacity as an owner of a Series LLC Interest.

       132.    “Series LLC Interest” means any profits interest, or equity interest in any Series
LLC.

       133. “Statement of Financial Affairs” means the Statement of Financial Affairs filed by
each of the Debtors on September 8, 2018 [Docket Nos. 369, 371, 373, 375, 377, 379, 381, 383,
385, 387, 389, 391, 393, 395, 397, 399, 401, 403, 405, 407, 409, 411, 413, 415, 417, 419, 421,
423, 425, 427, 429, 431, 433, 435, 437, 439, 441, 443, 445, 447, 449, 451, 453, 455, 457, 459,
461, 463, 465, 467, and 469].

        134. “Transition Services Agreements” means the agreements between certain of the
Debtors and any applicable Purchaser requiring any of the Debtors or the Liquidating Debtors, as
applicable, to provide services to such Purchaser following closing of the Sale, including but not
limited to transition services agreements, powers of attorney, access agreements and agreements
related to the collection of accounts receivable.

       135. “Unsecured Creditor Trust” means the Unsecured Creditor Trust established
under Article V.D of the Plan and pursuant to the Unsecured Creditor Trust Agreement.


                                                 14
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 103 of 145




        136. “Unsecured Creditor Trust Agreement” means the agreement creating the
Unsecured Creditor Trust to be implemented pursuant to Article V of the Plan, and substantially
in the form included in the Plan Supplement.

       137. “Unsecured Creditor Trust Assets” means (i) the GUC Settlement Cash, and (ii)
the Retained Causes of Action and recoveries thereof including recoveries under D&O Policies.

        138. “Unsecured Creditor Trust Beneficiaries” means all individuals and entities
entitled to a distribution from the Unsecured Creditor Trust.

        139. “Unsecured Creditor Trust Cash” means the GUC Settlement Cash and any
amounts recovered by the Unsecured Creditor Trust on account of the Retained Causes of Action
available after the satisfaction of the costs and expenses of the Unsecured Creditor Trust,
including the fees of the Unsecured Creditor Trustee and counsel to the Unsecured Creditor
Trust. By way of further clarification, the cash proceeds of the Remaining Prepetition Collateral
shall not constitute Unsecured Creditor Trust Cash.

        140. “Unsecured Creditor Trust Interests” means the uncertificated beneficial interests
in the Unsecured Creditor Trust representing the right of each Holder of an Allowed General
Unsecured Claim to receive Distributions from the Unsecured Creditor Trust in accordance with
this Plan and the Unsecured Creditor Trust Agreement.

       141. “Unsecured Creditor Trustee” means that person selected by the Committee after
consultation with the Debtors and the Prepetition Agent, to be identified in the Plan Supplement.

         142. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

        143. “Unimpaired” means, with respect to a Class of Claims or Interests, a Claim or an
Interest that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

       144.    “Unimpaired Class” means a Class that is Unimpaired.

       145.    “U.S. Trustee” means the United States Trustee for the Southern District of Texas.

      146. “Voting Class” means Class 3 Prepetition Secured Loan Claims and Class 4
Unsecured Claims.

       147.    “Voting Deadline” means 5:00 p.m. (prevailing Central Time) on March 20, 2019.

       148.    “Voting Record Date” means February 15, 2019.

B.     Rules of Interpretation

        For purposes of this Plan, unless otherwise provided herein: (1) whenever from the
context it is appropriate, each term, whether stated in the singular or the plural, shall include both
the singular and the plural, and pronouns stated in the masculine, feminine, or neutral gender
shall include the masculine, feminine, and neuter gender; (2) unless otherwise specified, any


                                                 15
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 104 of 145




reference in this Plan to a contract, instrument, release, indenture, or other agreement or
document being in a particular form or on particular terms and conditions means that such
document shall be substantially in such form or substantially on such terms and conditions; (3)
unless otherwise specified, any reference in this Plan to an existing document, schedule, or
exhibit, whether or not Filed, shall mean such document, schedule or exhibit, as it may have been
or may be amended, modified, or supplemented; (4) any reference to an Entity as a Holder of a
Claim or Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all
references in this Plan to Articles are references to Articles of this Plan or to this Plan; (6) the
words “herein,” “hereof,” and “hereto” refer to this Plan in its entirety rather than to a particular
portion of this Plan; (7) subject to the provisions of any contract, certificate of incorporation,
bylaw, instrument, release, or other agreement or document entered into in connection with this
Plan, the rights and obligations arising pursuant to this Plan shall be governed by, and construed
and enforced in accordance with applicable federal law, including the Bankruptcy Code and
Bankruptcy Rules; (8) captions and headings to Articles are inserted for convenience of
reference only and are not intended to be a part of or to affect the interpretation of this Plan; (9)
unless otherwise set forth in this Plan, the rules of construction set forth in section 102 of the
Bankruptcy Code shall apply; (10) any term used in capitalized form in this Plan that is not
otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the
meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable;
(11) all references to docket numbers of documents Filed in the Chapter 11 Cases are references
to the docket numbers under the Bankruptcy Court’s CM/ECF system; (12) all references to
statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to
time, as applicable to the Chapter 11 Cases, unless otherwise stated; and (13) any immaterial
effectuating provisions may be interpreted by the Debtors or either Plan Trustee in such a
manner that is consistent with the overall purpose and intent of this Plan all without further
notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

C.     Computation of Time

       In computing any period of time prescribed or allowed, the provisions of Bankruptcy
Rule 9006(a) shall apply. If a payment or act under this Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of
such act shall instead occur on the next succeeding Business Day, but shall be deemed to have
occurred as of the required date.

D.     Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Texas, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of this Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with this Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall
control), and corporate governance matters; provided, however, that corporate governance
matters relating to the Debtors not incorporated in Texas shall be governed by the laws of the
jurisdiction of incorporation of the applicable Debtor.


                                                 16
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 105 of 145




E.     Reference to Monetary Figures

      All references in this Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided.

                            ARTICLE II.
         ADMINISTRATIVE CLAIMS, DIP CLAIMS, AND PRIORITY CLAIMS

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article III.

A.     Administrative Claims

       1.      General Administrative Claims

        Except with respect to Administrative Claims that are Professional Fee Claims and except
to the extent that a Holder of an Allowed Administrative Claim and the Debtors or the
Liquidating Trustee agree to less favorable treatment for such Holder’s Allowed Administrative
Claim, each Holder of an Allowed Administrative Claim shall be paid in full in Cash from the
Administrative Claims Reserve or the Liquidating Trust Cash on the later of (i) the Effective
Date or as soon as reasonably practical thereafter, (ii) the date on which such Administrative
Claim becomes an Allowed Claim; or (iii) such other date as the Liquidating Trustee and the
Holder of the Allowed Administrative Claim shall agree. Allowed Administrative Claims that
are not secured by a valid, perfected, postpetition Lien are not entitled to postpetition interest or
legal fees and expenses. For the avoidance of doubt, Holders of an Administrative Claim shall
not be entitled to any claim or recovery against the Unsecured Creditor Trust, the Unsecured
Creditor Trust Assets or the Unsecured Creditor Trust Cash.

       2.      Administrative Claim Reserve Amount

       On or before the Effective Date, the Debtors shall provide the Liquidating Trustee with
an estimated amount of Administrative Claims, other than Professional Fee Claims, that are
accrued and unpaid as of the Effective Date. The Liquidating Trustee shall promptly establish
the Administrative Claims Reserve in an amount not less than the Debtors’ estimate. The DIP
Secured Parties and the Prepetition Secured Parties shall have a security interest in all funds in
the Administrative Claim Reserve and, to the extent any funds remain in the Administrative
Claims Reserve after payment in full of all Allowed Administrative Claims, other than
Professional Fee Claims, the Liquidating Trustee shall disburse any remaining funds to the DIP
Agent, or to the extent that the DIP Claims have been satisfied in full, to the Prepetition Agent.

       3.      Professional Fee Escrow

       Each holder of a Professional Fee Claim shall be paid in respect of such Professional Fee
Claim in Cash from the Professional Fee Escrow, in full, promptly after Bankruptcy Court
approval of the Professional Fee Claim by a Final Order. Final fee applications for any
Professional Fee Claim shall be filed within forty-five (45) days of the Effective Date and such
applications and objections thereto (if any) shall be filed in accordance with and comply in all

                                                 17
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 106 of 145




respects with the Bankruptcy Code, the Bankruptcy Rules, and applicable local rules. Upon
payment in full of all Allowed Professional Fee Claims, any balance of Cash remaining in the
Professional Fee Escrow shall be Available Cash. For the avoidance of doubt, Holders of a
Professional Fee Claim shall not be entitled to any claim or recovery against the Unsecured
Creditor Trust, the Unsecured Creditor Trust Assets or the Unsecured Creditor Trust Cash.

       4.      Professional Fee Reserve Amount

        At least five (5) days prior to the Effective Date all Professionals shall provide the
Debtors with an estimate of outstanding fees owed through the Effective Date and the Debtors
shall estimate the amount to be reserved (the “Professional Fee Reserve Amount”).

B.     DIP Claims

        To the extent not already satisfied prior to the Effective Date, the DIP Claims shall be
deemed Allowed Claims under the Plan. The DIP Claims shall be satisfied in full, on the
Effective Date, by the termination of all commitments under the DIP Credit Agreement, and
indefeasible payment in full in Cash to the DIP Agent, as agent for the DIP Secured Parties, of
all outstanding obligations thereunder. Until satisfied in full, the DIP Secured Parties shall retain
all rights, Claims, and Liens available pursuant to the DIP Credit Agreement and the Final DIP
Order. For the avoidance of doubt, the DIP Claims shall not be entitled to any claim or recovery
against the Unsecured Creditor Trust, the Unsecured Creditor Trust Assets or the Unsecured
Creditor Trust Cash.

C.     Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtors or
the Liquidating Trustee agree to less favorable treatment for such Holder’s Allowed Priority Tax
Claim, each Holder of an Allowed Priority Tax Claim will be paid in full in Cash from the
Disputed Claims Reserve established by the Liquidating Trustee in an amount equal to the
amount of such Allowed Priority Tax Claim on the latest of: (i) the Effective Date or as soon as
reasonably practical thereafter, (ii) the date on which such Priority Tax Claim becomes an
Allowed Claim; or (iii) such other date as the Liquidating Trustee and the holder of the Allowed
Priority Tax Claim shall agree. For the avoidance of doubt, Holders of Priority Tax Claims shall
not be entitled to any claim or recovery against the Unsecured Creditor Trust, the Unsecured
Creditor Trust Assets or the Unsecured Creditor Trust Cash.

D.     Statutory Fees

       On the Effective Date the Debtors shall pay all fees due and payable pursuant to section
1930 of the Judicial Code prior to the Effective Date. After the Effective Date, the Liquidating
Trustee shall pay any and all such fees when due and payable. The Debtors shall file all monthly
operating reports due prior to the Effective Date when they become due, in a form reasonably
acceptable to the U.S. Trustee. After the Effective Date, the Liquidating Trustee shall file with
the Bankruptcy Court quarterly reports when they become due, in a form reasonably acceptable
to the U.S. Trustee, which reports shall include a schedule of disbursements made by the
Liquidating Trustee during the applicable period, attested to by an authorized representative of
the Liquidating Trustee.

                                                 18
6778127v24
         Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 107 of 145




                               ARTICLE III.
           CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.        Introduction

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of
Classes of Claims against and Interests in the Debtors. A Claim or Interest is classified in a
particular Class only to the extent that the Claim or Interest qualifies within the description of
that Class and is classified in other Classes to the extent that any portion of the Claim or Interest
qualifies within the description of such other Classes. A Claim or Interest is also classified in a
particular Class for the purpose of receiving Distributions pursuant to the Plan only to the extent
that such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

B.        Summary of Classification

       The classification of Claims and Interests against the Debtors pursuant to the Plan is as
follows:

                         SUMMARY OF STATUS AND VOTING RIGHTS


 Class                     Claim/Interest                  Status            Voting Rights
     1       Other Priority Claims                      Unimpaired        Not Entitled to Vote
                                                                          (Deemed to Accept)
     2       Other Secured Claims                       Unimpaired        Not Entitled to Vote
                                                                          (Deemed to Accept)
     3       Prepetition Secured Loan Claims              Impaired          Entitled to Vote
     4       General Unsecured Claims                     Impaired          Entitled to Vote
     5       Section 510(b) Claims                        Impaired        Not Entitled to Vote
                                                                          (Deemed to Reject)
     6       Intercompany Claims                          Impaired        Not Entitled to Vote
                                                                          (Deemed to Reject)
     7       Intercompany Interests                       Impaired        Not Entitled to Vote
                                                                          (Deemed to Reject)
     8       Neighbors Equity Interests                   Impaired        Not Entitled to Vote
                                                                          (Deemed to Reject)




                                                 19
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 108 of 145




C.     Treatment of Claims and Interests

       1.     Class 1:      Other Priority Claims

              (a)    Treatment: Except to the extent that a Holder of an Allowed Other Priority
                     Claim and the Debtors or the Liquidating Trustee agree to a less favorable
                     treatment, in full and final satisfaction, compromise, settlement, and
                     release of and in exchange for each Allowed Other Priority Claim, each
                     such Holder shall receive Cash from the Liquidating Trust Cash equal to
                     the amount of the Allowed Other Priority Claim. For the avoidance of
                     doubt, Holders of Class 1 Allowed Other Priority Claims shall not be
                     entitled to any claim or recovery against the Unsecured Creditor Trust, the
                     Unsecured Creditor Trust Assets or the Unsecured Creditor Trust Cash.

              (b)    Voting: Class 1 is Unimpaired. Holders of Class 1 Other Priority Claims
                     are deemed to accept the Plan pursuant to section 1126(f) and are not
                     entitled to vote to accept or reject the Plan.

       2.     Class 2:      Other Secured Claims

              (a)    Treatment: Except to the extent that a Holder of an Allowed Other
                     Secured Claim and the Debtors or the Liquidating Trustee agree to a less
                     favorable treatment, in full and final satisfaction, compromise, settlement,
                     and release of and in exchange for each Allowed Other Secured Claim,
                     each such Holder shall receive either (i) Cash from the Liquidating Trust
                     Cash in an amount equal to the proceeds of the collateral securing such
                     Holder’s Allowed Other Secured Claim after satisfaction in full of all
                     superior liens up to the Allowed Amount of the Allowed Other Secured
                     Claim; or (ii) to the extent the amount of an Allowed Other Secured Claim
                     is greater than the value of the collateral securing such Allowed Other
                     Secured Claim and there are no Liens on such collateral senior to the Lien
                     held by or for the benefit of the Holder of such Allowed Other Secured
                     Claim, solely the collateral securing such Allowed Other Secured Claim in
                     full and final satisfaction of such Claim. For the avoidance of doubt,
                     Holders of Class 2 Allowed Other Secured Claims shall not be entitled to
                     any claim or recovery against the Unsecured Creditor Trust, the
                     Unsecured Creditor Trust Assets or the Unsecured Creditor Trust Cash.

              (b)    Voting: Class 2 is Unimpaired. Holders of Class 2 Other Secured Claims
                     are deemed to accept the Plan pursuant to section 1126(f) and are not
                     entitled to vote to accept or reject the Plan.

       3.     Class 3:      Prepetition Secured Loan Claims

              (a)    Treatment: Each Holder of a Prepetition Secured Loan Claim shall receive
                     all Available Cash, plus the proceeds of the Remaining Prepetition
                     Collateral up to the amount of the Prepetition Loan Claim outstanding
                     after all payments made pursuant to the Final DIP Order. For the

                                              20
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 109 of 145




                    avoidance of doubt, Holders of Class 3 Prepetition Secured Loan Claims
                    shall not be entitled to any claim or recovery against the Unsecured
                    Creditor Trust, the Unsecured Creditor Trust Assets or the Unsecured
                    Creditor Trust Cash.

             (b)    Voting: Class 3 is Impaired. The Holders of Class 3 Prepetition Secured
                    Loan Claims are entitled to vote to accept or reject the Plan.

       4.    Class 4:      General Unsecured Claims

             (a)    Treatment: Each Holder of a Class 4 General Unsecured Claim shall
                    receive its Pro Rata share of the Unsecured Creditor Trust Interests. For
                    the sake of clarify, the Holder of the Prepetition Deficiency Claim shall
                    receive its Pro Rata share of the Unsecured Creditor Trust Interests;
                    provided, however, the Distributions on account of such interest shall be
                    limited as follows: (i) Prepetition Deficiency Claim will not receive any
                    recovery from the first $1,000,000 of Distributions from the Unsecured
                    Creditor Trust Cash; (ii) Prepetition Deficiency Claim will receive the
                    entire amount of the first $125,000 of Distributions after the first
                    $1,000,000 of Distributions from the Unsecured Creditor Trust Cash; and
                    (iii) Prepetition Deficiency Claim will share Pro Rata with other General
                    Unsecured Claims on any Distributions from the Unsecured Creditor Trust
                    Cash over $1,125,000.

             (b)    Voting: Class 4 is Impaired. Holders of Class 4 General Unsecured Claims
                    are entitled to vote to accept or reject the Plan.

       5.    Class 5:      Section 510(b) Claims

             (a)    Treatment: Class 5 Section 510(b) Claims, including all Series LLC
                    Claims, shall be subordinated to General Unsecured Claims pursuant to
                    section 510(b) of the Bankruptcy Code. Each holder of a Class 5 Section
                    510(b) Claim shall receive it Pro Rata share of the Unsecured Creditor
                    Trust Cash, if any, after all Claims in Class 4 have been satisfied in full.

             (b)    Voting: Class 5 is Impaired under the Plan. Each holder of a Section
                    510(b) Claim will be conclusively deemed to have rejected the Plan
                    pursuant to section 1126(g) of the Bankruptcy Code. Therefore, each
                    holder of a Section 510(b) Claim will not be entitled to vote to accept or
                    reject the Plan.

       6.    Class 6:      Intercompany Claims

             (a)    Treatment: Class 6 Intercompany Claims shall be cancelled and
                    discharged, with the Holders of such Class 6 Intercompany Claims
                    receiving no Distribution on account of such Intercompany Claims.



                                             21
6778127v24
        Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 110 of 145




                (b)     Voting: Class 6 is Impaired. Holders of Class 6 Intercompany Claims are
                        deemed to have rejected the Plan pursuant to section 1126(g) of the
                        Bankruptcy Code and, therefore, Holders of Intercompany Claims are not
                        entitled to vote to accept or reject the Plan.

         7.     Class 7:        Intercompany Interests

                (a)     Treatment: Class 7 Intercompany Interests shall be cancelled and
                        discharged, with the Holders of such Class 7 Intercompany Interests
                        receiving no Distribution on account of such Intercompany Interests.

                (b)     Voting: Class 7 is Impaired. Holders of Class 7 Intercompany Interests are
                        deemed to have rejected the Plan pursuant to section 1126(g) of the
                        Bankruptcy Code and, therefore, Holders of Intercompany Interests are
                        not entitled to vote to accept or reject the Plan.

         8.     Class 8:        Neighbors Equity Interests

                (a)     Treatment: Class 8 Neighbors Equity Interests shall be cancelled and
                        discharged, with the Holders of such Class 8 Neighbors Equity Interests
                        receiving no Distribution on account of such Neighbors Equity Interests.

                (b)     Voting: Class 8 is Impaired. Holders of Class 8 Neighbors Equity Interests
                        are deemed to have rejected the Plan pursuant to section 1126(g) of the
                        Bankruptcy Code and, therefore, Holders of Neighbors Equity Interests
                        are not entitled to vote to accept or reject the Plan.

                                      ARTICLE IV.
                               ACCEPTANCE REQUIREMENTS

        Pursuant to sections 1126(c) and 1126(d) of the Bankruptcy Code and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (a) an impaired class of claims
has accepted a chapter 11 plan if the holders of at least two-thirds in dollar amount and more
than one-half in number of allowed claims in such class actually voting have voted to accept the
plan and (b) an impaired class of interests has accepted the plan if the holders of at least two-
thirds in amount of the allowed interests in such class actually voting have voted to accept the
plan.

A.       Acceptance or Rejection of this Plan

         1.     Voting Classes

         Classes 3 and 4 are Impaired under the Plan and are entitled to vote to accept or reject the
Plan.




                                                 22
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 111 of 145




       2.      Deemed Acceptance of the Plan

       Class 1 and Class 2 are Unimpaired under the Plan and therefore is deemed to accept the
Plan pursuant to section 1126(f) of the Bankruptcy Code.

       3.      Deemed Rejection of the Plan

         Classes 5, 6, 7, and 8 are Impaired under the Plan and are not entitled to receive or retain
any property on account of the Claims and Interests in Classes 5, 6, 7, and 8. Therefore, Classes
5, 6, 7, and 8 are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
Code.

B.     Confirmation of this Plan Pursuant to Section 1129(b) of the Bankruptcy Code

       The Debtors may seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code.

C.     Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests (or any Class of Claims or
Interests) are Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or prior to the Confirmation Date.

                                  ARTICLE V.
                     MEANS FOR IMPLEMENTATION OF THE PLAN

        In addition to applicable provisions set forth elsewhere in the Plan, the following shall
constitute the means of execution and implementation of this Plan.

A.     Deemed Consolidation

        The Plan is being proposed as a joint plan of liquidation for all of the Debtors. The Plan
constitutes a motion for deemed consolidation of the Debtors and their respective Estates solely
for purposes of voting on the Plan, confirming the Plan, and making Distributions pursuant to the
Plan. Deemed consolidation is a condition precedent to Confirmation. Consolidation of the
Debtors’ Estates is for the limited purpose of making Distributions to holders of Allowed Claims
to ease an administrative burden on the Debtors, their Estates, and the Plan Trustees.
Accordingly, voting on the Plan shall be conducted and counted on a consolidated basis. On the
Effective Date, (a) the assets of the Debtors will be merged and/or treated as if they are merged
for the purpose of paying Allowed Claims against the Debtors; (b) any Claim filed or asserted
against any of the Debtors will be deemed a Claim against all of the Debtors, solely for the
purposes of voting and Distributions pursuant to the Plan (and any duplication of claims arising
from both primary operative documents and guaranty and/or other secondary obligations shall be
eliminated and all such claims against the Debtors shall be treated as a single claim that
eliminates such duplications); and (c) all Intercompany Claims and Interests will be eliminated.
Except as set forth in this paragraph, such consolidation shall not affect the legal and corporate
structure of the Debtors nor affect Causes of Action, including Avoidance Actions. In addition,
such consolidation shall not constitute a waiver of the mutuality requirement for setoff under
section 553 of the Bankruptcy Code. For avoidance of doubt, and notwithstanding anything to

                                                 23
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 112 of 145




the contrary herein, all Retained Causes of Action are preserved as they existed immediately
before the Effective Date for the Unsecured Creditor Trustee to prosecute on behalf of the
Unsecured Creditor Trust, and all recoveries by the Unsecured Creditor Trust, based upon, inter
alia, Causes of Actions, shall be accounted for on a consolidated basis. The deemed
consolidation under this Plan shall not affect or impair any valid, perfected and unavoidable Lien
to which the assets of any Debtors are subject in the absence of deemed consolidation under this
Plan; provided, however, the deemed consolidation shall not cause any such Lien to secure any
Claim which such Lien would not otherwise secure absent such deemed consolidation. Holders
of Allowed Claims or Allowed Equity Interests who assert identical Claims against or Equity
Interests in multiple Debtors shall be entitled to only a single satisfaction of such Claims or
Equity Interests.

        The Debtors believe that deemed consolidation will minimize costly disputes over
allocation of assets to be distributed and it will also facilitate the compromise reached among the
Debtors, the Committee, the Prepetition Agent, the DIP Agent, the Secured Creditors (as defined
in the Final DIP Order), and the DIP Lenders as embodied in paragraph 45 of the Final DIP
Order.

B.     Transactions Effective as of the Effective Date

        The transactions contemplated by the Plan shall be approved and effective as of the
Effective Date, without the need for any further state or local regulatory approvals or approvals
by any non-Debtor parties, and without any requirement for further action by the Debtors, their
board of directors, their stockholders, or any other person or entity.

C.     The Liquidating Trust

        On or before the Effective Date, the Liquidating Trustee shall execute the Liquidating
Trust Agreement and cause the Liquidating Trust to accept, on behalf of the beneficiaries
thereof, (a) all Liquidating Trust Cash and (b) all other Liquidating Trust Assets. For the
avoidance of doubt, the permits, licenses, regulatory authorizations, approvals, and any other
asset or attribute necessary to comply with the Debtors’ duties under the Transition Services
Agreements will be retained by the Liquidating Debtors and not transferred to the Liquidating
Trust; provided however, that the Liquidating Trustee will be the representative of the
Liquidating Debtors for all purposes as further set forth in section V.C and V.F hereof. As of the
Effective Date, all assets vested in the Liquidating Trust shall be transferred and conveyed free
and clear of all Liens, Claims, and Interests except as otherwise specifically provided in the Plan
or in the Confirmation Order.

        On the Effective Date, the Liquidating Trust will be deemed created and effective without
any further action by the Bankruptcy Court or any party. The Liquidating Trust shall be
established for the primary purpose of liquidating its assets (as applicable) and for making
Distributions in accordance with the Plan and the Liquidating Trust Agreement, with no
objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the liquidating purpose of the Liquidating Trust.




                                                24
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 113 of 145




D.     The Unsecured Creditor Trust

        On or before the Effective Date, the Unsecured Creditor Trustee shall execute the
Unsecured Creditor Trust Agreement and cause the Unsecured Creditor Trust to accept, on
behalf of the beneficiaries thereof, (i) the GUC Settlement Cash, (ii) Retained Causes of Action
and (iii) claims under and proceeds of D&O Policies. As of the Effective Date, all assets vested
in the Unsecured Creditor Trust and all assets dealt with in the Plan shall be transferred and
conveyed free and clear of all Liens, Claims, and Interests except as otherwise specifically
provided in the Plan or in the Confirmation Order.

        On the Effective Date, the Unsecured Creditor Trust will be deemed created and effective
without any further action by the Bankruptcy Court or any party. The Unsecured Creditor Trust
shall be established for the primary purpose of administering the Unsecured Creditor Trust
Assets and making all distributions to the Unsecured Creditor Trust Beneficiaries, with no
objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the purpose of the Unsecured Creditor Trust.

E.     Settlement Regarding Unsecured Creditor Recoveries.

        The Prepetition Agent, the DIP Agent, the Prepetition Lenders and the DIP Lenders have
agreed with the Committee and the Debtors to the following: (a) the payment of the GUC
Settlement Cash to the Unsecured Creditor Trust; and (b) any Prepetition Deficiency Claim will
(i) not receive any recovery from the first $1,000,000 of Distributions from the Unsecured
Creditor Trust Cash; (ii) receive the entire amount of the next $125,000 of Distributions from the
Unsecured Creditor Trust Cash after the first $1,000,000 of Distributions from the Unsecured
Creditor Trust Cash; and (iii) share Pro Rata with other General Unsecured Claims on any
Distributions from the Unsecured Creditor Trust Cash over $1,125,000. Notwithstanding the
foregoing, the Unsecured Creditor Trust shall have the right to object to the calculation of the
Prepetition Deficiency Claim; provided, however, the Unsecured Creditor Trust shall not have
the right to object to the Prepetition Secured Debt component of the Prepetition Deficiency
Claim unless the Prepetition Secured Parties assert Prepetition Secured Debt in excess of
$110,195,053.48, in which case the Unsecured Creditor Trust shall have the right to object to
amounts in excess of $110,195,053.48.

F.     Certain Powers and Duties of the Liquidating Trust and Liquidating Trustee

        The Liquidating Trustee shall be the exclusive trustee of the assets of the Liquidating
Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The powers, rights, and
responsibilities of the Liquidating Trustee shall be specified in the Liquidating Trust Agreement
and shall include the authority and responsibility to: (a) receive, manage, invest, supervise, and
protect the Liquidating Trust Assets; (b) supervise the receipt, deposit, and reconciliation of
accounts receivable collected by the Purchasers, including any payment to Purchasers, including
the ability to enforce any applicable Purchase Agreement or Transition Services Agreement; (c)
reasonably cooperate to provide the Purchasers with information relevant to the Purchasers’
collection of accounts receivable; (d) administer all of the Debtors’ employee claims under the
Consolidated Omnibus Budget Reconciliation Act of 1986 (“COBRA”) (e) pay taxes and other
obligations incurred by the Liquidating Trust; (f) prepare and file all required federal, state, and

                                                25
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 114 of 145




local tax returns, as applicable, for the Debtors and issue corresponding K-1s; (g) retain and
compensate, without further order of the Bankruptcy Court, the services of employees,
professionals, and consultants to advise and assist the Liquidating Trustee; (h) calculate and
implement Distributions to be made under the Plan to Holders of Claims, including
Administrative Claims and Priority Claims, other than Class 4 Claims; (i) reconcile, object to and
resolve issues involving all Claims, other than Class 4 Claims; and (j) undertake all
administrative functions of the Chapter 11 Cases that are not granted to the Unsecured Creditor
Trustee, including the ultimate closing of the Chapter 11 Cases; provided, however, the
Liquidating Trustee shall not compromise, settle or affect any Avoidance Actions or Retained
Cause of Action in connection with its duties under this Plan or the Liquidating Trust
Agreement.

        On the Effective Date, the Liquidating Trust shall also have the power, right, and
responsibility to take possession of all books, records, and files of the Debtors and the Estates,
including all Patient Records not sold pursuant to the Sale and provide for the retention and
storage of such books, records, and files pursuant to this Plan and Bankruptcy Code section 351
(as applicable) until such time as the Liquidating Trustee determines, in accordance with the
Liquidating Trust Agreement, that retention of same is no longer necessary or required. After
the Effective Date, the Liquidating Trust shall (i) give the Unsecured Creditor Trust reasonable
access to all books, records and files of the Debtors and the Estates including, without limitation,
direct logon authority to access emails, accounting records, shared drives and other documents
necessary to accomplish the duties of the Unsecured Creditor Trust and (ii) not destroy or
abandon any such books, records and files without obtaining the consent of the Unsecured
Creditor Trust. In the event the Liquidating Trust is dissolved before the Unsecured Creditor
Trust, the Unsecured Creditor Trust shall have the right to take possession of the books, records
and files of the Debtors and Estates and maintain such books, records and files at the expense of
the Unsecured Creditor Trust.

       All expenses incurred by the Liquidating Trust and the Liquidating Trustee shall be the
responsibility of and paid by the Liquidating Trust, in accordance with the Plan and the
Liquidating Trust Agreement.

        In no event later than three (3) months following the Effective Date and on a quarterly
basis thereafter until all Liquidating Trust Cash has been released or paid out in accordance with
the Plan, the Liquidating Trustee shall file with the Bankruptcy Court a report setting forth the
amounts, recipients, and dates of all Distributions made by the Liquidating Trustee under the
Plan through each applicable reporting period.

G.     Certain Powers and Duties of the Unsecured Creditor Trust and Unsecured Creditor
       Trustee

        The Unsecured Creditor Trustee shall be the exclusive trustee of the assets of the
Unsecured Creditor Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The
powers, rights, and responsibilities of the Unsecured Creditor Trustee shall be specified in the
Unsecured Creditor Trust Agreement and shall include the authority and responsibility to:
(a) prosecute, compromise, and settle, in accordance with the specific terms of the Unsecured
Creditor Trust Agreement, Retained Causes of Action; (b) reconcile, object to and resolve issues

                                                26
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 115 of 145




involving Class 4 Claims; (c) pay taxes and other obligations incurred by the Unsecured Creditor
Trust; (d) calculate and implement Distributions to be made under the Plan to Holders of Class 4
Claims; and (e) retain and compensate, without further order of the Bankruptcy Court, the
services of employees, professionals, and consultants to advise and assist the Unsecured Creditor
Trustee.

       All expenses incurred by the Unsecured Creditor Trust and the Unsecured Creditor
Trustee shall be the responsibility of and paid by the Unsecured Creditor Trust, in accordance
with the Plan and the Unsecured Creditor Trust Agreement.

        In no event later than three (3) months following the Effective Date and on a quarterly
basis thereafter until all Unsecured Creditor Trust Cash has been released or paid out in
accordance with the Plan, the Unsecured Creditor Trustee shall file with the Bankruptcy Court a
report setting forth the amounts, recipients, and dates of all Distributions made by the Unsecured
Creditor Trustee under the Plan through each applicable reporting period.

H.     Federal Income Tax Treatment of the Plan Trusts for the Liquidating and Unsecured
       Creditor Trust Assets; Tax Reporting and Tax Payment Obligations

        For U.S. federal income tax purposes, it is intended that the Plan Trusts be classified as
liquidating trusts under Treasury Regulation Section 301.7701-4. Accordingly, for U.S. federal
income tax purposes, it is intended that the beneficiaries of the Plan Trusts be treated as if they
had received a Distribution from the Estates of an undivided interest in the assets of the Plan
Trusts (to the extent of the value of their respective shares therein) and then contributed such
interests to the Plan Trusts.

       1.      Plan Trusts’ Assets Treated as Owned by Beneficiaries of Plan Trusts

        For all U.S. federal income tax purposes, all parties shall treat the transfer of assets (net
of any applicable liabilities) to the Plan Trusts for the benefit of the beneficiaries thereof as (a) a
transfer by the Debtors of the assets of the Plan Trusts (net of any applicable liabilities) directly
to the beneficiaries of the Plan Trusts (to the extent of the value of their respective shares in the
assets of the Liquidating Trust), followed by (b) the transfer of the assets of the Plan Trusts (net
of any applicable liabilities) by the beneficiaries of the Plan Trusts (to the extent of the value of
their respective share in the assets of the Plan Trusts) to the Plan Trusts in exchange for the
beneficial interests in the Plan Trusts. Accordingly, for U.S. federal income tax purposes, the
Plan Trusts shall be treated as grantor trusts, and the beneficiaries of the Plan Trusts shall be
treated as the grantors of the Plan Trusts and the owners of the assets thereof.

       2.      Tax Reporting

        The Plan Trusts shall be responsible for filing all federal, state, local and foreign tax
returns, including, but not limited to, any documentation related thereto for current or former
employees, vendors or contractors of the Debtors, for the Debtors and the Plan Trusts. The Plan
Trustees shall file all tax returns for the Plan Trusts as grantor trusts pursuant to Treasury
Regulation Section 1.671-4(a) and in accordance with this Article V.F. Within a reasonable time
following the end of the taxable year, the Plan Trustees shall send to each holder of a beneficial
interest appearing on its record during such year, a separate statement setting forth such holder’s

                                                  27
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 116 of 145




share of items of income, gain, loss, deduction or credit and each such holder shall report such
items on their federal income tax returns. The Plan Trustees may provide each such holder of a
beneficial interest with a copy of the Form 1041 for the Plan Trusts (without attaching any other
holder’s Schedule K-1 or other applicable information form) along with such holder’s Schedule
K-1 or other applicable information form in order to satisfy the foregoing requirement. The Plan
Trustees shall allocate the taxable income, gain, loss, deduction or credit of their respective Plan
Trust with respect to each holder of a beneficial interest to the extent required by the IRC and
applicable law.

        The Liquidating Trust shall prepare and file all required federal, state, and local tax
returns, as applicable, for the Debtors and issue corresponding K-1s.

        As soon as possible after the Effective Date, each Plan Trust shall make a good faith
valuation of the assets of their respective Plan Trust, and such valuation shall be used
consistently by all parties for all federal income tax purposes. Each Plan Trust shall also file (or
cause to be filed) any other statements, returns, or disclosures relating to the Plan Trust that are
required by any taxing authority.

        The Plan Trusts may request an expedited determination of the tax obligations of the Plan
Trusts under Bankruptcy Code Section 505(b) for all returns filed for, or on behalf of, the Plan
Trusts for all taxable periods through the dissolution of the Plan Trusts.

        The Plan Trusts shall comply with all withholding and reporting requirements imposed
by any federal, state, local, or foreign taxing authority, and all Distributions made by the Plan
Trusts shall be subject to any such withholding and reporting requirements.

       3.      Payment of Taxes

        The Liquidating Trust shall be responsible for payments of all Allowed tax obligations of
the Debtors including Priority Tax Claims, Other Secured Claims and Administrative Claims, in
addition to any taxes imposed on the Liquidating Trust or its assets; provided that the Unsecured
Creditor Trust shall be responsible for payments of any taxes imposed on the Unsecured Creditor
Trust. In the event, and to the extent, any Cash retained on account of Disputed Claims in the
Disputed Claims Reserve associated with the Unsecured Creditor Trust is insufficient to pay the
portion of any such taxes attributable to the taxable income arising from the assets of the
Unsecured Creditor Trust allocable to, or retained on account of, Disputed Claims, such taxes
shall be (a) reimbursed from any subsequent Cash amounts retained on account of Disputed
Claims, or (b) to the extent such Disputed Claims have subsequently been resolved, deducted
from any amounts distributable by the Unsecured Creditor Trust as a result of the resolutions of
such Disputed Claims.

I.     Authority to Pursue, Settle, or Abandon Retained Causes of Action

        From and after the Effective Date, prosecution and settlement of all Retained Causes of
Action shall be the sole responsibility of the Unsecured Creditor Trustee pursuant to the Plan, the
Confirmation Order, and the Unsecured Creditor Trust Agreement. From and after the Effective
Date, the Unsecured Creditor Trustee shall have exclusive rights, powers, and interests of the
Estates to pursue, settle, or abandon such Retained Causes of Action as the sole representative of

                                                28
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 117 of 145




the estates pursuant to section 1123(b)(3) of the Bankruptcy Code, subject to any approval or
consultation rights set forth in the Unsecured Creditor Trust Agreement. Confirmation of this
Plan effects no settlement, compromise, waiver or release of any Claim, Cause of Action, Right
of Action or claim for relief unless this Plan or the Confirmation Order specifically and
unambiguously so provides. The non-disclosure or non-discussion of any particular Claim,
Cause of Action, Right of Action or claim for relief is not and shall not be construed as a
settlement, compromise, waiver, or release of any such Claim, Cause of Action, Right of Action
or claim for relief.

        The Unsecured Creditor Trust reserves and retains any and all claims and rights against
any Persons, other than those specifically released herein, including the Retained Causes of
Action, whether such claims and rights arose before, on or after the Petition Date, the
Confirmation Date, the Effective Date, and/or the Distribution Record Date, including, without
limitation, any and all Causes of Action, Retained Causes of Actions, and/or claims for relief that
the Unsecured Creditor Trust may have against (i) any insurer and/or insurance policies,
including the D&O Policies, in which either the Debtors and/or their current or former personnel
have an insurable or other interest in or right to make a claim against, any other of the Debtors’
insurers; (ii) current and former directors, members, managers, officers, shareholders, holders of
a Series LLC Interest, holders of a Neighbors Equity Interest, and employees, or (iii) any
recipient of a pre or post-petition transfer that may be recovered as an Avoidance Action,
Retained Cause of Action, other Cause of Action or otherwise. The entry of the Confirmation
Order shall not constitute res judicata or otherwise bar, estop or inhibit any actions by the
Unsecured Creditor Trustee relating to any claims, Causes of Action referred to in this Section or
otherwise. On the Effective Date, the Unsecured Creditor Trustee shall be substituted as a party
of record in all pending litigation brought by or against the Debtors, except for any actions
related to the enforcement of Liquidating Trust Assets.

        The Liquidating Trustee reserves and retains any and all claims and rights against any
and all third parties to enforce the Liquidating Trust Assets whether such claims and rights arose
before, on or after the Petition Date, the Confirmation Date, the Effective Date, and/or the
Distribution Record Date; provided, however, the Liquidating Trustee shall not compromise,
settle or affect any Avoidance Actions or Retained Cause of Action in connection with the
resolution of claims relating to the Transition Services Agreements or collection of accounts
receivable.

J.     Liquidating Trust’s Accounting for Certain Recoveries

        For all recoveries received, other than those related to the collection of accounts
receivable, the sale of tangible personal property, or those received pursuant to any action filed
to enforce the Transition Services Agreement, the Liquidating Trustee shall provide notice of any
such recovery to the Unsecured Creditor Trustee. The Bankruptcy Court retains the exclusive
jurisdiction to determine title to any such recovery.




                                                29
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 118 of 145




K.     Filing of Monthly and Quarterly Reports

       The filing of the final monthly report (for the month in which the Effective Date occurs)
and all subsequent quarterly reports for each Plan Trust shall be the responsibility of the
applicable Plan Trustee until such time as each respective Plan Trust Terminates.

L.     Corporate Existence; Compliance with Transition Services Agreements

       On and after the Effective Date, the Debtors will be referred to as the Liquidating
Debtors. The Liquidating Debtors shall remain in existence and will not be dissolved until each
Liquidating Debtor satisfies its duties under the applicable Transition Services Agreements.
After each Liquidating Debtor satisfies its duties under any applicable Transition Services
Agreements, such Liquidating Debtor shall be deemed dissolved without any further action by
any party. Notwithstanding anything herein to the contrary, the Liquidating Debtors will retain,
and the Debtors and the Liquidating Debtors will not transfer to the Liquidating Trust or the
Unsecured Creditor Trust, all permits, licenses, regulatory authorizations, approvals, status and
any other asset or attribute necessary to comply with their duties under the Transition Services
Agreements. The Liquidating Trustee shall be the legal representative and sole manager of the
Liquidating Debtors and is hereby vested with the authority to take all actions necessary or
appropriate with respect to the Liquidating Debtors, including but not limited to the authority
granted to Neighbors Health LLC or any other Debtor entity under any management agreement
and any authority granted to each Liquidating Debtor under such entity’s organizational
documents or operating agreements.

M.     Directors and Officers of the Debtors

       On and after the Effective Date, the board of managers or directors of each Debtor shall
be terminated and all of the officers and directors of the Debtors, to the extent they have not
already done so, shall be deemed to have resigned from their respective positions with the
Debtors, as applicable.

N.     Corporate Authorization

        On the Effective Date, all matters provided for under the Plan that would otherwise
require approval of the stockholders, directors, members, or managers of one or more of the
Debtors shall be deemed to have occurred and shall be in effect from and after the Effective Date
without any requirement of further action by the stockholders, directors, members, or managers
of the Debtors. After the Effective Date, to the extent necessary, the Plan Trustees shall have all
authority to address any and all matters that would have required the approval of, and to act on
behalf of, the stockholders, directors, members, or managers of one or more of the Debtors,
including performing the Debtors’ obligations under the Transition Services Agreements.

O.     Effectuating Documents and Further Transactions

       Prior to the Effective Date, the Debtors shall be authorized to execute, deliver, file, or
record such documents, contracts, instruments, and other agreements and take such other actions
as may be reasonably necessary to effectuate and further evidence the terms and conditions of
the Plan. After the Effective Date, the Plan Trusts shall be authorized to execute, deliver, file, or

                                                 30
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 119 of 145




record such documents, contracts, instruments, and other agreements and take such other actions
as may be reasonably necessary to effectuate and further evidence the terms and conditions of
the Plan.

P.     Employee Agreements

        All employment, severance, retirement, indemnification, and other similar employee-
related agreements or arrangements in place with the Debtors’ employees that has not been
previously terminated shall be deemed terminated as of the Effective Date.

Q.     Exemption from Certain Taxes and Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, stamp act, real estate or personal property transfer tax,
sale or use tax, mortgage recording tax, or other similar tax or governmental assessment, and
upon entry of the Confirmation Order, the appropriate governmental officials or agents shall
forgo the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents pursuant to such transfers of
property without the payment of any such tax, recordation fee, or governmental assessment.

R.     Duration of the Plan Trusts

       The Plan Trusts shall have an initial term of five (5) years from the Effective Date,
provided however, that, if warranted by the facts and circumstances, and subject to the approval
of the Court, upon a finding that an extension of the term of either Plan Trust is necessary to
accomplish the purpose of the respective Plan Trust, the applicable Plan Trustee shall be
authorized to extend the Plan Trust for six (6) months or longer provided that such extension is
approved by the Bankruptcy Court within six (6) months of the beginning of such extended term.
Either Plan Trust may be terminated earlier than its scheduled termination if (a) the Bankruptcy
Court has entered a Final Order closing the Case pursuant to section 350(a) of the Bankruptcy
Code or (b) the applicable Plan Trustee has administered all of the Plan Trust’s Assets and
performed all other duties required by this Plan and the applicable Plan Trust Agreement.

S.     Wind Down of Plan Trusts

        After the termination of each of the Plan Trusts and for the purpose of liquidating and
winding down the affairs of the Plan Trusts, the Plan Trustees shall continue to act as such over
their respective Plan Trust until their duties have been fully performed. Prior to the final
Distribution of the remaining Plan Trusts’ Assets, the Plan Trustees shall be entitled to reserve
from the Plan Trusts’ Assets any and all amounts required to provide for their own reasonable
costs and expenses, in accordance with the terms of the Plan Trusts’ Agreements, until such time
as the winding down of the Plan Trusts is completed. Upon termination of each of the Plan
Trusts, the respective Plan Trustee shall retain for a period of three years the books, records, lists
of the Beneficiaries, the registry of claims and Beneficiaries, and other documents and files that
have been delivered to or created by the Plan Trustees. Except as otherwise specifically provided
herein, upon the termination of each of the Plan Trusts, the Plan Trustees and the respective Plan
Trusts’ professionals and agents shall have no further duties or obligations hereunder.

                                                 31
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 120 of 145




                           ARTICLE VI.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.     Treatment of Executory Contracts and Unexpired Leases

       As of the Effective Date, the Debtors shall be deemed to have rejected all Executory
Contracts and Unexpired Leases that (1) have not been previously rejected, assumed, or assumed
and assigned, including in connection with the Sale, and (2) have not expired under their own
terms prior to the Effective Date.

        The Confirmation Order shall constitute an order of the Bankruptcy Court approving the
foregoing rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the
Effective Date.

B.     Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases

       Rejection or repudiation of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise shall not constitute a termination of preexisting obligations owed to the
Debtors under such contracts or leases.

C.     Rejection Damages Claim

        All Claims arising from the rejection of Executory Contracts or Unexpired Leases must
be Filed with the clerk of the Bankruptcy Court and served upon the Liquidating Trustee within
thirty (30) days of the occurrence of the Effective Date. Any Claim arising from the rejection of
Executory Contracts or Unexpired Leases that becomes an Allowed Claim is classified and shall
be treated as a Class 4 General Unsecured Claim. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed within the time required by this section will be
forever barred from assertion against the Debtors, the Estates, the property of the Debtors, or the
Liquidating Trust.

D.     Reservation of Rights

         Nothing contained in this Plan shall constitute an admission by the Debtors that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor has any
liability thereunder.

                                  ARTICLE VII.
                      PROVISIONS GOVERNING DISTRIBUTIONS

A.     Timing and Calculation of Amounts to Be Distributed; Entitlement to Distributions

       1.      Timing and Calculation of Amounts to Be Distributed

        Unless otherwise provided in this Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
each Holder of an Allowed Claim against the Debtors shall receive the full amount of the

                                                32
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 121 of 145




Distributions that this Plan provides for Allowed Claims in the applicable Class. If and to the
extent that there are Disputed Claims, Distributions on account of any such Disputed Claims
shall be made pursuant to the provisions set forth in this Article VII. Except as otherwise
provided herein, Holders of Claims shall not be entitled to postpetition interest, dividends, or
accruals on the Distributions provided for herein, regardless of whether such Distributions are
delivered on or at any time after the Effective Date.

       2.      Entitlement to Distributions

        On and after the Effective Date, the Plan Trustees shall be authorized (but not directed) to
recognize and deal only with those Holders of Claims listed on the Debtors’ books and records as
of the Distribution Record Date. Accordingly, the Plan Trustees will have no obligation to
recognize the transfer of, or the sale of any participation in, any Allowed Claim that occurs after
the close of business on the Distribution Record Date, and will be entitled for all purposes herein
to recognize and distribute property, notices, and other documents only to those Holders of
Allowed Claims who are Holders of such Claims (or participants therein) as of the close of
business on the Distribution Record Date.

B.     Plan Trustees

       The Unsecured Creditor Trustee shall make all Distributions under the Plan on account of
Class 4 Allowed General Unsecured Claims. The Liquidating Trustee shall make all other
Distributions under the Plan. The Plan Trustees shall not be required to give any bond or surety
or other security for the performance of their duties unless otherwise ordered by the Bankruptcy
Court. For purposes of Distribution on account of the Prepetition Secured Loan Claims and the
DIP Claims, the Prepetition Agent and the DIP Agent, respectively (a) shall be deemed to be the
Holder of all Prepetition Secured Loan Claims and DIP Claims and (b) are hereby directed to
make Distributions to the Holders of Prepetition Secured Loan Claims and DIP Claims. In
accordance with the foregoing, the delivery of any applicable property to be distributed to
Holders of Prepetition Secured Loan Claims and Holders of DIP Claims to the Prepetition Agent
and DIP Agent, respectively, shall satisfy all applicable Distribution obligations under the Plan.

C.     No De Minimis Distributions Required

        No Distribution shall be required to be made hereunder to any Holder of a Claim unless
such Holder is to receive in such Distribution at least $50.00, or unless such Distribution is the
final Distribution to such Holder pursuant to this Plan. The Plan Trustees shall retain any such
Distribution not made in accordance with the provisions of this section. Any Distribution not
made in accordance with this section shall be held in trust for the relevant Holder until the earlier
of (i) the date the next Distribution is scheduled to be made to such Holder, or (ii) the final
Distribution to such Holder.

D.     Disputed Claims Reserves

        On or prior to the Effective Date, the Plan Trustees shall be authorized to establish
Disputed Claims Reserves, each of which shall be administered by the applicable Plan Trustee,
respectively. The Unsecured Creditor Trustee may, but shall not be required to, hold Cash in its
Disputed Claims Reserve from the GUC Settlement Cash in trust for the benefit of the Holders of

                                                 33
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 122 of 145




General Unsecured Claims ultimately determined to be Allowed after the Effective Date. The
Unsecured Creditor Trustee shall distribute the amounts (net of any expenses, including any
taxes relating thereto) from its Disputed Claims Reserve, as provided herein, as applicable
Disputed Claims are resolved by a Final Order or agreed to by settlement, and such amounts will
be distributable on account of such Disputed Claims as such amounts would have been
distributable had such Disputed Claims been Allowed Claims as of the Effective Date. The
Liquidating Trustee may hold Cash in its Disputed Claims Reserve in trust for the benefit parties
entitled to receive payments from the Liquidating Trust Cash to the extent they hold Claims
ultimately determined to be Allowed after the Effective Date. The Liquidating Trustee shall
distribute the amounts (net of any expenses, including any taxes relating thereto) from its
Disputed Claims Reserve, as provided herein, as applicable Disputed Claims are resolved by a
Final Order or agreed to by settlement, and such amounts will be distributable on account of such
Disputed Claims as such amounts would have been distributable had such Disputed Claims been
Allowed Claims as of the Effective Date. To the extent any cash remains in the Liquidating
Trust’s Disputed Claims Reserve after satisfaction of all applicable Disputed Claims, such
remaining amount shall be paid to the Holders of the Class 3 Prepetition Secured Loan Claims.

E.     Distributions on Account of Claims Allowed After the Effective Date

       1.     Payments and Distributions on Disputed Claims

      Distributions made after the Effective Date to Holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

       2.     Special Rules for Distributions to Holders of Disputed Claims

        Notwithstanding any provision otherwise in this Plan and except as otherwise agreed to
by either Plan Trustee, (a) no partial payments and no partial Distributions shall be made with
respect to a Disputed Claim until all disputes in connection with such Disputed Claim have been
resolved by settlement or Final Order and such Disputed Claim becomes an Allowed Claim; and
(b) any Entity that holds both an Allowed Claim and a Disputed Claim shall not receive any
Distribution on the Allowed Claim unless and until all objections to the Disputed Claim have
been resolved by settlement or Final Order.

F.     Delivery of Distributions and Undeliverable or Unclaimed Distributions

       1.     Delivery of Distributions in General

       Except as otherwise provided herein, the Plan Trustees shall make Distributions to
Holders of Allowed Claims at the address for each such Holder as indicated on the Proof of
Claim filed by such Holder or the Debtors’ Schedules.




                                               34
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 123 of 145




       2.      Undeliverable Distributions and Unclaimed Property

               (a)    Failure to Claim Undeliverable Distributions

        In the event that any Distribution to any Holder is returned as undeliverable, no
Distribution to such Holder shall be made unless and until the respective Plan Trustee has
determined the then-current address of such Holder, at which time such Distribution shall be
made to such Holder without interest; provided, however, such Distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six (6)
months from the Effective Date. After such date, all unclaimed property or interests in property
shall revert to the respective Plan Trust (notwithstanding any applicable federal or state escheat,
abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder to such
property or interest in property shall be discharged and forever barred.

               (b)    Failure to Present Checks

        Checks issued by either Plan Trustee on account of Allowed Claims shall be null and
void if not negotiated within one hundred and eighty (180) days after the issuance of such check.
Requests for reissuance of any check shall be made directly to the applicable Plan Trustee by the
Holder of the relevant Allowed Claim with respect to which such check originally was issued.
Any Holder of an Allowed Claim holding an un-negotiated check that does not request
reissuance of such un-negotiated check within one hundred and eighty (180) days after the
issuance of such check shall have its Claim for such un-negotiated check discharged and shall be
discharged and forever barred, estopped, and enjoined from asserting any such Claim against the
applicable Plan Trust. In such cases, any Cash held for payment on account of such Claims shall
be property of the applicable Plan Trust, free of any Claims of such Holder with respect thereto.
Nothing contained herein shall require either Plan Trustee to attempt to locate any Holder of an
Allowed Claim.

               (c)    Failure to Provide Tax Information for Distributions

       If a Holder fails to provide to the applicable Plan Trustee any requisite tax information
for Distributions, the Plan Trustees may, after a diligent effort to obtain such information,
withhold Distributions to any such Holder and the Claim of any such Holder shall be discharged
and forever barred.

G.     Compliance with Tax Requirements/Allocations

        In connection with this Plan, to the extent applicable, the Plan Trustees shall comply with
all tax withholding and reporting requirements imposed on them by any Governmental Unit, and
all Distributions pursuant hereto shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in this Plan to the contrary, the Plan Trustees shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting
requirements, including liquidating a portion of the Distribution to be made under this Plan to
generate sufficient funds to pay applicable withholding taxes, withholding Distributions pending
receipt of information necessary to facilitate such Distributions or establishing any other
mechanisms they believe are reasonable and appropriate. Each Plan Trustee reserves the right to


                                                35
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 124 of 145




allocate all Distributions made under this Plan in compliance with all applicable wage
garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances.

H.     Claims Paid or Payable by Third Parties

       1.      Claims Paid by Third Parties

        The Debtors or either Plan Trustee, as applicable, shall reduce a Claim, and such Claim
shall be Disallowed without a Claims objection having to be Filed and without any further notice
to or action, order or approval of the Bankruptcy Court, to the extent that the Holder of such
Claim receives payment on account of such Claim from a party that is not a Debtor. To the
extent a Holder of a Claim receives a Distribution on account of such Claim and receives
payment from a party that is not a Debtor, such Holder shall, within fourteen (14) days of receipt
thereof, repay or return the Distribution to the applicable Plan Trustee, to the extent the Holder’s
total recovery on account of such Claim from the third party and under this Plan exceeds the
amount of such Claim as of the Effective Date.

       2.      Claims Payable by Third Parties

        No Distributions under this Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed
Claim has exhausted all remedies with respect to such insurance policy. To the extent that one or
more of the Debtors’ insurers agrees to satisfy in full a Claim (if and to the extent adjudicated by
a court of competent jurisdiction), then immediately upon such insurers’ agreement, such Claim
may be expunged without a Claims objection having to be Filed and without any further notice to
or action, order or approval of the Bankruptcy Court.

       3.      Applicability of Insurance Policies

        Except as otherwise provided in this Plan, Distributions to Holders of Allowed Claims
shall be in accordance with the provisions of any applicable insurance policy. Nothing contained
in this Plan shall constitute or be deemed a waiver of any Retained Cause of Action that the
Debtors or any Entity may hold against any other Entity, including insurers under any policies of
insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.

I.     Allocation of Plan Distributions between Principal and Interest

        To the extent that any Allowed Claim entitled to a Distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest (or original issue discount) thereon,
such Distribution shall be allocated to the principal amount of the Claim first and then, to the
extent the consideration exceeds the principal amount of the Claim, to the portion of such Claim
representing accrued but unpaid interest (or original issue discount).




                                                 36
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 125 of 145




                                ARTICLE VIII.
             PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                            AND DISPUTED CLAIMS

A.     Allowance and Disallowance of Claims

        Except as expressly provided herein or any order entered in the Chapter 11 Cases on or
prior to the Effective Date (including the Confirmation Order), no Claim shall be deemed
Allowed unless and until such Claim is deemed Allowed under the Bankruptcy Code, under the
Plan, or the Bankruptcy Court enters a Final Order in the Chapter 11 Cases allowing such Claim
under section 502 of the Bankruptcy Code. Except as expressly provided in any order entered in
the Chapter 11 Cases on or prior to the Effective Date (including the Confirmation Order), the
Plan Trusts after Consummation will have and retain any and all rights and defenses the Debtors
had with respect to any Claim as of the Petition Date.

        Except as provided herein or otherwise agreed, any and all proofs of Claim Filed after the
Claims Bar Date shall be deemed Disallowed and expunged as of the Effective Date without any
further notice to or action, order, or approval of the Court, and Holders of such Claims may not
receive any Distributions on account of such Claims, unless on or before the Confirmation
Hearing such late Filed Claim has been deemed timely Filed by a Final Order.

B.     Prosecution of Objections to Claims

        The Liquidating Trustee shall have the exclusive authority to File, settle, compromise,
withdraw, or litigate to judgment any objections to Administrative or Priority Claims as
permitted under this Plan. From and after the Effective Date, the Liquidating Trustee may settle
or compromise any Disputed Administrative or Priority Claim without approval of the
Bankruptcy Court. The Liquidating Trustee may also resolve any Disputed Administrative or
Priority Claim outside the Bankruptcy Court under applicable governing law.

         With regard to all Claims other than Administrative and Priority Claims, the Unsecured
Creditor Trustee shall have the exclusive authority to File, settle, compromise, withdraw, or
litigate to judgment any objections to Claims as permitted under this Plan. From and after the
Effective Date, the Unsecured Creditor Trustee may settle or compromise any Disputed Claim,
which is not an Administrative or Priority Claim, without approval of the Bankruptcy Court. The
Liquidating Trustee may also resolve any Disputed Claim, which is not an Administrative or
Priority Claim, outside the Bankruptcy Court under applicable governing law.

C.     Deadline to Object to Claims

        Unless otherwise ordered by the Bankruptcy Court, the Plan Trustees shall file all
objections to Claims by no later than 180 days after the Effective Date, except to the extent that
such Claims are filed on or after the Effective Date, in which case, the Plan Trustees shall have
until the later of 180 days after the Effective Date or 90 days after such claim is filed to file an
objection to same. Notwithstanding the foregoing, if either Plan Trustee determines that an
extension of time is warranted, the Plan Trustee may seek the Bankruptcy Court’s approval to
extend such time by a period of an additional 90 days, without prejudice to the Plan Trustee’s
request to seek additional time upon a showing of good cause. Notwithstanding the foregoing,

                                                37
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 126 of 145




the Claims in Classes 5, 6, 7 and 8 shall be deemed disallowed. In the event the Unsecured
Creditor Trustee determines that there are sufficient funds to make Distributions to Holders of
Claims in Classes 5, 6, 7 and 8, the Unsecured Creditor Trustee shall file a Notice of Distribution
with the Bankruptcy Court and shall have 180 days after the filing of such notice to object to
such claims.

D.     Estimation of Claims

        The Unsecured Creditor Trustee may, at any time, request that the Bankruptcy Court
estimate any contingent or unliquidated Claim pursuant to section 502(c) of the Bankruptcy
Code, regardless of whether the Unsecured Creditor Trustee has previously objected to such
Claim or whether the Bankruptcy Court has ruled on any objection, and the Bankruptcy Court
will retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to any Claim, including during the pendency of any appeal related to any such
objection. In the event the Bankruptcy Court estimates any contingent or unliquidated Claim,
that estimated amount will constitute either the Allowed amount of such Claim or a maximum
limitation on such Claim, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on such Claim, the Unsecured Creditor Trustee may elect to
pursue any supplemental proceedings to object to any ultimate payment on such Claim. All of
the aforementioned objection, estimation, and resolution procedures are cumulative and are not
necessarily exclusive of one another. Claims may be estimated and thereafter resolved by any
permitted mechanism.

E.     Amendments to Claims

       On or after the Effective Date, except as provided in the Plan or the Confirmation Order,
a Claim may not be Filed or amended without the prior authorization of the Court or the consent
of the applicable Plan Trustee, and any such new or amended Claim Filed shall be deemed
Disallowed in full and expunged without any further action, order, or approval of the Court.

F.     Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, Distributions
(if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of
this Plan. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the applicable Plan
Trustee shall provide to the Holder of such Claim the Distribution (if any) to which such Holder
is entitled under this Plan as of the Effective Date, without any postpetition interest to be paid on
account of such Claim.

                                        ARTICLE IX.
                                      PATIENT RECORDS

A.     Patient Records

       Patient Records will be administered by the Liquidating Trustee in accordance with the
provisions of this Article. The Liquidating Trustee shall have no other or further obligations with
respect to the Patient Records except as expressly set forth in this Article. The Liquidating

                                                 38
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 127 of 145




Trustee shall administer the Patient Records in accordance with section 351 of the Bankruptcy
Code in accordance with the provisions set forth in the remainder of this Article.

B.     Patient Publication Notice

       As soon as practicable following the Effective Date, the Liquidating Trustee shall publish
the Patient Publication Notice for all Closed Centers in such newspaper or newspapers as the
Bankruptcy Court may prescribe in the Confirmation Order. The form of the Patient Publication
Notice and the manner of its publication shall also be prescribed and approved in the
Confirmation Order.

C.     Service of Notice on Patients

       During the first one hundred eighty (180) days after the publication of the Patient
Publication Notice, the Liquidating Trustee shall serve the Patient Records Mail Notice to all
Persons on the Patient Records Mailing List. Service of the Patient Records Mail Notice shall be
complete upon depositing the same into the United States Mail, postage prepaid, addressed to
each recipient at the address reflected on the Patient Records Mailing List.

D.     Patient Records Service Provider

        The Liquidating Trustee is authorized to engage the Patient Records Service Provider to
maintain and store Patient Records and respond to requests for records during the Patient
Records Maintenance Period, which services by the Patient Records Service Provider shall
comply with the requirements of section 351 of the Bankruptcy Code. The terms and conditions
of the retention of the Patient Records Service Provider shall be included in an agreement which
shall be filed as part of the Plan Supplement.

E.     Notice to HHS

        After the Patient Publication Notice has been published and the Patient Records Mail
Notice provided herein, the Liquidating Trustee shall, at the end of the Patient Records
Maintenance Period, mail, by certified mail, the HHS Records Request requesting permission to
deposit with HHS any remaining Patient Records that have not been claimed by an authorized
party during the Patient Records Maintenance Period. Thereafter, HHS shall have thirty (30)
days to grant or deny the HHS Records Request. If no written response is received by the
Liquidating Trustee either granting or denying the HHS Records Request, then the HHS Records
Request shall be denied on the thirty-third (33rd) day following the date the Liquidating Trustee
mails the HHS Records Request.

F.     Destruction of Patient Records

       After the Patient Records Maintenance Period has ended, if the HHS Records Request
has been denied, any remaining Patient Records that have not been claimed by an authorized
party shall be caused to be destroyed by the Liquidating Trustee in accordance with section
351(3) of the Bankruptcy Code. Promptly after the remaining Patient Records have been



                                               39
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 128 of 145




destroyed, the Liquidating Trustee shall file a notice with the Bankruptcy Court consistent with
Bankruptcy Rule 6011 certifying that the remaining Patient Records have been destroyed.

G.       Further Orders

       The Liquidating Trustee may seek all such other and further orders from the Bankruptcy
Court as may be, in the Liquidating Trustee’s good faith business opinion, necessary or
appropriate to facilitate the administration of the Patient Records.

H.       Patient Records Costs

       Any Patient Records Costs incurred by the Liquidating Trustee shall be treated and paid
as from the Liquidating Trust.

                                 ARTICLE X.
                CONDITIONS PRECEDENT TO CONFIRMATION OF THE
                        PLAN AND THE EFFECTIVE DATE

A.       Conditions Precedent to Confirmation

       It shall be a condition to Confirmation that the following provisions, terms, and
conditions are satisfied (or waived pursuant to the provisions of Article IX.C hereof, except that
entry of the Confirmation Order may not be waived), and Confirmation shall occur on the date
upon which the last of such conditions are so satisfied and/or waived.

         1.     All provisions, terms and conditions hereof are approved in the Confirmation
Order.

        2.      A Confirmation Order shall have been entered by the Bankruptcy Court, in form
and substance acceptable to the Debtors, that approves the deemed consolidation of the Debtors
for distribution and Plan voting purposes.

       3.      The Confirmation Order shall provide that, among other things, the Debtors and
the Plan Trustees, as applicable, are authorized and directed to take all actions necessary or
appropriate to consummate this Plan, including, without limitation, entering into, implementing,
and consummating the other contracts, instruments, and other agreements or documents created
in connection with or described in this Plan.

        4.     All other actions, documents and agreements necessary to implement the Plan
shall have been effected or executed.

         5.     All required consents, approvals, and authorizations, if any, have been obtained.

B.       Conditions Precedent to the Effective Date

       It shall be a condition to the Effective Date that the following provisions, terms, and
conditions are satisfied (or waived pursuant to the provisions of Article IX.C hereof), and the


                                                40
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 129 of 145




Effective Date shall occur on the date upon which the last of such conditions are so satisfied
and/or waived.

       1.       The Debtors shall have transferred the GUC Settlement Cash to the Unsecured
Creditor Trust.

       2.      The Debtors shall have transferred all remaining Cash to the Liquidating Trust,
including the Professional Fee Escrow.

        3.     The Confirmation Order shall be a Final Order in form and substance acceptable
to the Debtors and the Plan Trustees, each in their respective sole discretion. The Confirmation
Order shall provide that, among other things, the Debtors and the Plan Trustees, as applicable,
are authorized and directed to take all actions necessary or appropriate to consummate this Plan,
including, without limitation, entering into, implementing and consummating the contracts,
instruments, and other agreements or documents created in connection with or described in this
Plan.

        4.      The Plan Trusts’ Agreements shall have been executed and delivered by all of the
Entities that are parties thereto and all conditions precedent to the consummation thereof shall
have been waived or satisfied in accordance with the terms thereof.

       5.      All actions, documents, certificates, and agreements necessary to implement this
Plan shall have been effected or executed and delivered to the required parties and, to the extent
required, Filed with the applicable Governmental Units in accordance with applicable laws.

C.     Waiver of Conditions

       Each of the conditions to Confirmation and to Consummation set forth in this Article IX
may be waived with the consent of the Debtors without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceeding to confirm or consummate the Plan.

D.     Effect of Nonoccurrence of Conditions

        If the Consummation of the Plan does not occur, the Plan shall be null and void in all
respects and nothing contained in the Plan or the Disclosure Statement shall: (1) constitute a
waiver or release of any claims by or Claims against or Interests in the Debtors; (2) prejudice in
any manner the rights of the Debtors, any Holders, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any Holders or any other
Entity in any respect.

                           ARTICLE XI.
        SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

A.     Compromise and Settlement of Claims, Interests, and Controversies

       Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the Distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan shall constitute a good faith compromise of all Claims, Interests and

                                               41
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 130 of 145




controversies relating to the contractual, legal and subordination rights that a Holder of a Claim
or Interest may have with respect to any Allowed Claim or Allowed Interest, or any Distribution
to be made on account of such Allowed Claim or Allowed Interest. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy
Court that such compromise or settlement is in the best interests of the Debtors, their Estates and
Holders of Claims and Interests and is fair, equitable and reasonable. In accordance with the
provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule
9019(a), without any further notice to or action, order or approval of the Bankruptcy Court, after
the Effective Date, the Plan Trustees may compromise and settle Claims against them and
Causes of Action against other Entities, except for Claims and Causes of Action relating to the
Retained Causes of Action, which may be compromised and settled by the Unsecured Creditor
Trustee.

B.     RELEASES BY THE DEBTORS

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise
specifically provided in the Plan, for good and valuable consideration, on and after the
Effective Date, the Released Parties shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever been released and discharged by the Debtors and
the Estates from any and all past or present Claims, Interests, indebtedness and
obligations, rights, suits, losses, damages, injuries, costs, expenses, Causes of Action,
remedies, and liabilities whatsoever, including any derivative Claims, asserted on behalf of
the Debtors, whether known or unknown, foreseen or unforeseen, asserted or unasserted,
suspected or unsuspected, accrued or unaccrued, fixed, contingent, pending or threatened,
existing or hereinafter arising, in law, equity, or otherwise, whether for tort, fraud,
contract violations of federal or state laws or otherwise, those causes of action based on veil
piercing or alter-ego theories of liability, contribution, indemnification, joint liability or
otherwise that the Debtors, the Estates, or their Affiliates would have been legally entitled
to assert (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest or other Entity, based on or relating to any act, omission, transaction, event, or
other occurrence taking place on or prior to the Effective Date; provided, however, that the
foregoing “Debtor Releases” shall not operate to waive or release any Causes of Action of
any Debtor: arising from claims for fraud, gross negligence, or willful misconduct;
provided, further, the foregoing “Debtor Releases” shall not release the Debtors’ current and
former subsidiaries, Affiliates, directors, members, managers, officers, principals, partners,
agents, employees, shareholders, holders of Series LLC Interests, holders of Neighbors
Equity Interests. Notwithstanding anything to the contrary in the foregoing, the “Debtor
Releases” set forth in this paragraph do not release any post-Effective Date obligations of
any party under the Plan or any document, instrument, or agreement executed in
connection with the Plan.

C.     RELEASES BY HOLDERS OF CLAIMS AND INTERESTS

      To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise

                                                42
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 131 of 145




specifically provided in the Plan, for good and valuable consideration, on and after the
Effective Date, each Releasing Party shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged the Debtors and the
other Released Parties from any and all past or present Claims, Interests, indebtedness and
obligations, rights, suits, losses, damages, injuries, costs, expenses, Causes of Action,
remedies, and liabilities whatsoever, including any derivative Claims, asserted on behalf of
a Debtor, whether known or unknown, foreseen or unforeseen, asserted or unasserted,
suspected or unsuspected, accrued or unaccrued, fixed, contingent, pending or threatened,
existing or hereafter arising, in law, equity, or otherwise, whether for tort, fraud, contract
violations of federal or state laws or otherwise, those causes of action based on veil piercing
or alter-ego theories of liability, contribution, indemnification, joint liability or otherwise
that such Releasing Party would have been legally entitled to assert (whether individually
or collectively), based on or relating to any act, omission, transaction, event, or other
occurrence taking place on or prior to the Effective Date; provided, however, that the
foregoing release shall not operate to waive or release any Causes of Action of any
Releasing Party: arising from claims for fraud, gross negligence, or willful misconduct
provided, further, the foregoing release shall not release the Debtors’ current and former
subsidiaries, Affiliates, directors, members, managers, officers, principals, partners, agents,
employees, shareholders, holders of Series LLC Interests, holders of Neighbors Equity
Interests. Notwithstanding anything to the contrary in the foregoing, the “Third Party
Releases” set forth in this paragraph do not release any post-Effective Date obligations of
any party under the Plan or any document, instrument, or agreement executed in
connection with the Plan.

D.     EXCULPATION

        To the fullest extent permitted by applicable law no Exculpated Party shall have or
incur, and each Exculpated Party is hereby released and exculpated from any Exculpated
Claim, obligation, Cause of Action or liability for any Exculpated Claim, except for those
that are determined in a final order to have constituted actual fraud, gross negligence,
willful misconduct, or criminal conduct, but in all respects such Entities shall be entitled to
reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan.

E.     INJUNCTION

       Except for obligations issued pursuant to the Plan, from and after the Effective
Date, all Entities who hold or may hold Claims or Interests and the Releasing Parties are
permanently enjoined from taking any of the following actions against the Debtors or any
Released Parties: (1) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such
Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or
means any judgment, award, decree, or order against such Entities on account of or in
connection with or with respect to any such Claims or Interests; (3) creating, perfecting, or
enforcing any encumbrance of any kind against such Entities or the property or Estates of
such Entities on account of or in connection with or with respect to any such Claims or
Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind against

                                              43
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 132 of 145




any obligation due from such Entities or against the property or Estates of such Entities on
account of or in connection with or with respect to any such Claims or Interests unless such
Holder has Filed a motion requesting the right to perform such setoff on or before the
Confirmation Date; and (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such
Claims or Interests released or settled pursuant to the Plan. Nothing in the Plan or the
Confirmation Order shall preclude any Entity from pursuing an action against one or
more of the Debtors in a nominal capacity to recover insurance proceeds so long as the
Debtors, as applicable, and any such Entity agree in writing that such Entity will: (a) waive
all Claims against the Debtors and the Estates related to such action and (b) enforce any
judgment on account of such Claim solely against applicable insurance proceeds, if any.

F.     Setoffs

        Except as otherwise expressly provided for in the Plan, each Debtor and the Plan Trustees
(as applicable), pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy
Code), applicable non-bankruptcy law or as may be agreed to by the Holder of a Claim or an
Interest, may set off against any Allowed Claim or Allowed Interest and the Distributions to be
made pursuant to the Plan on account of such Allowed Claim or Allowed Interest (before any
Distribution is made on account of such Allowed Claim or Allowed Interest), any Retained
Causes of Action of any nature that such Debtor, as applicable, may hold against the Holder of
such Allowed Claim or Allowed Interest, to the extent such Retained Causes of Action against
such Holder have not been otherwise compromised or settled on or prior to the Effective Date
(whether pursuant to the Plan or otherwise); provided, however, that neither the failure to effect
such a setoff nor the allowance of any Claim or Interest pursuant to the Plan shall constitute a
waiver or release by such Debtor or Unsecured Creditor Trustee of any such Retained Causes of
Action that such Debtor or Unsecured Creditor Trustee may possess against such Holder. In no
event shall any Holder of Claims or Interests be entitled to setoff any Claim or Interest against
any Retained Cause of Action of the Debtor unless such Holder has Filed a motion with the
Bankruptcy Court requesting the authority to perform such setoff on or before the Confirmation
Date.

G.     Recoupment

        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or
Interest against any Retained Cause of Action of the Debtors, unless such Holder actually has
performed such recoupment and provided notice thereof in writing to the Debtors on or before
the Effective Date.

                                     ARTICLE XII.
                                BINDING NATURE OF PLAN

       THIS PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST AND
INTERESTS IN THE DEBTORS TO THE MAXIMUM EXTENT PERMITTED BY
APPLICABLE LAW, NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER
(I) WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER
THE PLAN, (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN THE CHAPTER 11


                                               44
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 133 of 145




CASES, OR (III) FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO
REJECT THE PLAN.

                                    ARTICLE XIII.
                              RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall, after the Effective Date, retain jurisdiction over the Chapter 11
Cases and all Entities with respect to all matters related to the Chapter 11 Cases, the Debtors, and
this Plan to the fullest extent permitted by law, including, without limitation, jurisdiction to:

       1.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
Secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the Secured or unsecured status, priority, amount, or allowance of Claims or Interests;

       2.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

        3.     resolve any matters related to: (a) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is party or with
respect to which a Debtor may be liable and to hear, determine and, if necessary, liquidate, any
Claims arising therefrom; (b) any potential contractual obligation under any Executory Contract
or Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is
or was executory or expired;

      4.      ensure that Distributions to Holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan;

        5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
litigated matters, and any other matters, and grant or deny any applications involving a Debtor
that may be pending on the Effective Date;

          6.   adjudicate, decide, or resolve any and all matters related to Retained Causes of
Action;

       7.     adjudicate, decide, or resolve any and all matters related to sections 1141 and
1145 of the Bankruptcy Code;

       8.      enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of the Plan and all contracts, instruments, releases,
indentures, and other agreements or documents created in connection with the Plan or the
Disclosure Statement;

        9.     resolve any cases, controversies, suits, disputes, or Causes of Action that may
arise in connection with the Consummation, interpretation, or enforcement of the Plan or any
Entity’s obligations incurred in connection with the Plan;

                                                45
6778127v24
        Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 134 of 145




       10.    issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with Consummation or
enforcement of the Plan;

        11.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions and other provisions contained in Article X and enter such orders as
may be necessary or appropriate to implement such releases, injunctions, and other provisions;

        12.    resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the repayment or return of Distributions and the recovery of additional amounts owed by the
Holder of a Claim or an Interest for amounts not timely repaid pursuant to Article VII;

      13.    enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

        14.    determine any other matters that may arise in connection with or relate to the
Plan, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
indenture, or other agreement or document created in connection with the Plan or the Disclosure
Statement;

         15.   enter an order or final decree concluding or closing the Chapter 11 Cases;

         16.   adjudicate any and all disputes arising from or relating to Distributions under the
Plan;

       17.     consider any modifications of the Plan to cure any defect or omission or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

       18.     determine requests for the payment of Claims and Interests entitled to priority
pursuant to section 507 of the Bankruptcy Code;

       19.   hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising
under agreements, documents, or instruments executed in connection with the Plan;

       20.    hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

       21.    hear and determine all disputes involving the existence, nature, or scope of the
Debtors’ discharge;

         22.   enforce all orders previously entered by the Bankruptcy Court; and

         23.   adjudicate all other matters over with the Bankruptcy Court has jurisdiction.




                                                46
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 135 of 145




                            ARTICLE XIV.
         MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

A.     Modifications and Amendments

        Subject to the limitations and rights contained in this Plan: (a) the Debtors reserve the
right, in accordance with the Bankruptcy Code and the Bankruptcy Rules to amend or modify
this Plan prior to the entry of the Confirmation Order; and (b) after the entry of the Confirmation
Order, the Debtors may, upon order of the Bankruptcy Court, amend or modify this Plan, in
accordance with section 1127(b) of the Bankruptcy Code or remedy any defect or omission or
reconcile any inconsistency in this Plan in such manner as may be necessary to carry out the
purpose and intent of this Plan.

B.     Effect of Confirmation on Modifications

       Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy
Code and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.     Revocation or Withdrawal of the Plan

        The Debtors reserve the right to revoke or withdraw this Plan prior to the Effective Date
and to File subsequent chapter 11 plans. If the Debtors revoke or withdraw this Plan subject to
the terms hereof, or if Confirmation or Consummation does not occur, then: (1) this Plan shall be
null and void in all respects; (2) any settlement or compromise embodied in this Plan,
assumption or rejection of Executory Contracts or Unexpired Leases effected by this Plan and
any document or agreement executed pursuant hereto shall be deemed null and void except as
may be set forth in a separate order entered by the Bankruptcy Court; and (3) nothing contained
in this Plan shall: (x) constitute a waiver or release of any Claims by or against, or any Interests
in, such Debtor or any other Entity; (y) prejudice in any manner the rights of the Debtors or any
other Entity; or (z) constitute an admission, acknowledgement, offer or undertaking of any sort
by the Debtors or any other Entity.

D.     Substantial Consummation of the Plan

      Substantial consummation of the Plan under Bankruptcy Code section 1101(2) shall be
deemed to occur on the Effective Date.

                                    ARTICLE XV.
                              MISCELLANEOUS PROVISIONS

A.     Bar Date for Administrative Claims

       No Administrative Claim, other than Professional Fees and U.S. Trustee fees, will be
paid unless the holder of such Administrative Claim has filed an application for payment of such
Administrative Claim on or before the Administrative Claim Bar Date. Upon the filing of any
application for payment, the Entity seeking payment of an Administrative Claim shall provide
notice by United States Mail in accordance with the Bankruptcy Rules. Any Administrative

                                                47
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 136 of 145




Claim, other than Professional Fees and U.S. Trustee fees, not filed in accordance with this
section shall be barred and the Debtors, the Plan Trusts and the Plan Trustees shall have no
liability for payment of any such Administrative Claim.

B.     Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
assign, affiliate, officer, director, manager, agent, representative, attorney, beneficiary, or
guardian, if any, of each Entity.

C.     Reservation of Rights

       Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order. Neither the Plan, any statement or
provision contained in the Plan, nor any action taken or not taken by any Debtor with respect to
the Plan or the Disclosure Statement shall be or shall be deemed to be an admission or waiver of
any rights of any Debtor with respect to the Holders of Claims or Interests before the Effective
Date.

D.     Service of Documents

        Any pleading, notice, or other document required by this Plan to be served on or
delivered to the Debtors shall be sent by overnight mail to:

       Neighbors Legacy Holdings, Inc.
       c/o FTI Consulting
       Three Times Square
       9th Floor
       New York, NY 10036
       Attn:         Chad J. Shandler
       Telephone:     (212) 841-9349
       Email:         chad.shandler@fticonsulting.com

       with copies to:

       Porter Hedges LLP
       1000 Main, 36th Floor
       Houston, Texas 77002

       Attn:             John F. Higgins
                         Eric M. English
                         Genevieve M. Graham
       Telephone:        (713) 226-6648
       Facsimile:         (713) 226-6628
       Email:             jhiggins@porterhedges.com
                          eenglish@porterhedges.com
                          ggraham@porterhedges.com

                                                48
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 137 of 145




       Cole Schotz P.C.
       301 Commerce Street
       Suite 1700
       Fort Worth, Texas 76102
       Attn: Michael D. Warner
       Telephone: (817) 810-5250
       Facsimile: (817) 977-1611
       Email: mwarner@coleschotz.com

E.     Dissolution of Committee

       On the Effective Date, the Committee shall dissolve automatically, whereupon its
members, Professionals, and agents shall be released from any further duties and responsibilities
in the Chapter 11 Cases and under the Bankruptcy Code, except for purposes of filing
applications for Professional compensation in accordance with Article II.A.2 of this Plan.

F.     Discharge of the Patient Care Ombudsman

        On the Effective Date, the duties and responsibilities of the Patient Care Ombudsman
shall be terminated, and the Patient Care Ombudsman shall be discharged from her duties under
section 333 of the Bankruptcy Code and she shall not be required to file any further reports or
perform any additional duties.

G.     Nonseverability of Plan Provisions

        If, before Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted; provided that any such alteration or interpretation must be in form and substance
acceptable to the Debtors, the Committee, and the Prepetition Lenders; provided, further, that the
Debtors may seek an expedited hearing before the Bankruptcy Court to address any objection to
any such alteration or interpretation of the foregoing. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral
to the Plan and may not be deleted or modified without the Debtors’ consent; and (3)
nonseverable and mutually dependent.

H.     Return of Security Deposits

        Unless the Debtors have agreed otherwise in a written agreement or stipulation approved
by the Bankruptcy Court, all security deposits provided by the Debtors to any Person or Entity at
any time after the Petition Date shall be returned to the Debtors within twenty (20) days after the
Effective Date, without deduction or offset of any kind.

                                                49
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 138 of 145




I.     Term of Injunctions or Stays

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or
any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any
injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full force
and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

J.     Entire Agreement

       Except as otherwise indicated herein, the Plan supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

K.     Exhibits

        All exhibits hereto are incorporated into and are a part of the Plan as if set forth in full in
the Plan. To the extent any exhibit or document is inconsistent with the terms of the Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

L.     Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
on the Plan in good faith and in compliance with the Bankruptcy Code and any applicable non-
bankruptcy law, and pursuant to section 1125(e) of the Bankruptcy Code, the Debtors and each
of their respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of
securities offered and sold under the Plan, and, therefore, will have no liability for the violation
of any applicable law, rule, or regulation governing the solicitation of votes on the Plan or the
offer, issuance, sale, or purchase of the securities offered and sold under the Plan.

M.     Conflicts

        Except as set forth in the Plan, to the extent that any provision of the Disclosure
Statement or any order (other than the Confirmation Order) referenced in the Plan (or any
exhibits, schedules, appendices, supplements, or amendments to any of the foregoing), conflicts
with or is in any way inconsistent with any provision of the Plan, the Plan shall govern and
control. In the event of a conflict between any provision of the Plan and the Confirmation Order,
the Confirmation Order shall govern and control.

N.     Filing of Additional Documents

       On or before the Effective Date, the Debtors may File with the Bankruptcy Court all
agreements and other documents that may be necessary or appropriate to effectuate and further
evidence the terms and conditions hereof.

                                                  50
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 139 of 145




Dated: February 20, 2019

                                    Respectfully submitted,

                                    NEIGHBORS LEGACY HOLDINGS, INC.
                                    on behalf of itself and the other Debtors


                                    By:    /s/ Chad J. Shandler
                                           Chad J. Shandler
                                           Chief Restructuring Officer




                                      51
6778127v24
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 140 of 145




                                  EXHIBIT B

                              Liquidation Analysis




                                    Exhibit B
6790233v15
      Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 141 of 145




                                        LIQUIDATION ANALYSIS
                                           General Assumptions

THIS LIQUIDATION ANALYSIS PRESENTS INFORMATION FOR ALL DEBTORS ON A
CONSOLIDATED BASIS.

In connection with the Plan and Disclosure Statement, the following hypothetical liquidation
analysis (“Liquidation Analysis”) has been prepared by Debtors’ management with the assistance
of the Debtors’ advisors. This Liquidation Analysis is for all the Debtors on a consolidated basis.

This Liquidation Analysis should be read in conjunction with the Plan and the Disclosure
Statement.

The Debtors, with the assistance of their financial advisors, have prepared this Liquidation
Analysis for evaluating whether the Plan meets the so-called best interests test under section
1129(a)(7) of the Bankruptcy Code. The Liquidation Analysis has been prepared assuming the
Debtors Chapter 11 Cases convert to Chapter 7 proceedings under the Bankruptcy Code on January
31, 2019 (“Liquidation Date”) and their assets are liquidated. A chapter 7 trustee (“Trustee”)
would be appointed or elected to commence the liquidation of all the Debtors assets. To maximize
recovery, the liquidation is assumed to occur over a 12-month period (the “Wind Down Period”).
The Liquidation Analysis is based on unaudited book values as of November 30, 2018 and these
values, in total, are assumed to be representative of the Debtors1 assets and liabilities as of the
Liquidation Date. However, the Liquidation Analysis does not include recoveries resulting from
any potential preference claims, fraudulent conveyance litigation, or other avoidance actions.


THE DEBTORS BELIEVE THAT ANY ANALYSIS OF A HYPOTHETICAL LIQUIDATION IS
NECESSARILY SPECULATIVE. THERE ARE A NUMBER OF ESTIMATES AND ASSUMPTIONS
UNDERLYING THE LIQUIDATION ANALYSIS THAT ARE INHERENTLY SUBJECT TO
SIGNIFICANT UNCERTAINTIES AND CONTINGENCIES BEYOND THE CONTROL OF THE
DEBTORS OR A CHAPTER 7 TRUSTEE. NEITHER THE ANALYSIS, NOR THE FINANCIAL
INFORMATION ON WHICH IT IS BASED, HAS BEEN EXAMINED OR REVIEWED BY INDEPENDENT
ACCOUNTANTS IN ACCORDANCE WITH STANDARDS PROMULGATED
BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS. THERE CAN BE
NO ASSURANCE THAT ACTUAL RESULTS WOULD NOT VARY MATERIALLY FROM THE
HYPOTHETICAL RESULTS PRESENTED IN THE LIQUIDATION ANALYSIS.




1
 Values associated with Non- Debtor Affiliates are not contained within such assets and liabilities and are not
deemed material to this Liquidation Analysis.
     Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 142 of 145




                            Summary Notes to Liquidation Analysis

1. Dependence on estimates and assumptions. The Liquidation Analysis is dependent on
estimates and assumptions which are based on information available at the time of its preparation.
In addition, the Liquidation Analysis is based on unaudited book values which contain estimates
that continue to be under review and subject to further legal and accounting analysis. Furthermore,
the assumptions are inherently subject to significant economic, business, regulatory uncertainties
and contingencies that are beyond the control of the Debtors or their management. The Liquidation
Analysis is also based on the Debtors’ best judgment of how numerous decisions in the liquidation
process would be resolved. Accordingly, there can be no assurance that the values reflected in the
Liquidation Analysis would ultimately be realized if the Debtors were to undergo a chapter 7
liquidation since actual results could vary materially from values contained herein.

2. Chapter 7 liquidation process. The liquidation of the Debtors’ assets is assumed to be completed
over a 12-month period. During the 12-month period the chapter 7 trustee would oversee the
remainder of the patient AR collection cycle and sell the Debtors’ furnishings, owned equipment
and medical supply inventory. Throughout the 12-month period the chapter 7 trustee would also
be working on administrative activities, such as creditor distributions needed to complete the wind-
down of the Estates.

3. Litigation Proceeds. There may be significant recoveries for the estate preference actions,
fraudulent transfer litigation and other potential causes of actions, however no review or analysis
has been prepared and therefore no value has been ascribed to them in the Liquidation Analysis.
While no analysis has been prepared, the Debtors believe that any recoveries would be
substantially the same under the Plan of Liquidation.

4. Claims Estimates. In preparing the Liquidation Analysis, the Debtors have estimated Allowed
Claims for each creditor class based upon a review of the Debtors’ unaudited balance sheet and
other analyses prepared in connection with the Debtors’ cash collateral and wind-down budget. In
addition, the Liquidation Analysis includes an estimate for certain chapter 7 administrative claims
that would be incurred during the pendency of the chapter 7 liquidation. The estimate of all allowed
claims in this Liquidation Analysis is based on the book value of such claims, or projected amounts
were used if book values were not available. No reconciliation of the Debtors’ debts to the proof
of claims filed in these cases has been prepared, nor has there been any order fixing the amount of
the claims been entered in this matter. Accordingly, the estimate of the amount of set forth in the
Liquidation Analysis should not be relied upon for any other purpose, including but not limited to,
distributions to be made under the Plan of Liquidation. The actual value and number of Allowed
Claims could be materially different from the Claims value estimated in the Liquidation Analysis.
                  Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 143 of 145


Neighbors Legacy Holdings, et al.
Liquidation Analysis

                                                                     Chapter 7 Recovery
                                                      Asset Value    %               $          Notes
Assets
 Cash                                             $     16,263,475       100% $    16,263,475    1
 Accounts Receivable, Net                               13,320,858        25%       3,330,214    2
 Inventory                                               1,107,852         4%          45,000    3
 Receivables from non-Debtor affiliates                  3,949,695         0%               -    4
 Fixed Assets, Net                                      32,753,089         2%         650,000    5
 Other Assets                                            1,216,044         0%               -    6
Total Asset Recoveries                            $     68,611,013       30% $     20,288,690
 Pro Rata Asset Share

Chapter 7 Costs
 Chapter 7 Trustee Fees                                                               866,135    7
 Chapter 7 Trustee's Professional Fees                                                750,000    8
 Cost to Wind-down Operations                                                         500,000    9
Total Chapter 7 Costs                                                               2,116,135

Proceeds Available for DIP Claims                                                  18,172,554

DIP Claims                                                                                  -    10
 Recovery on DIP Claims                                                                     -
 % Recovery on DIP Claims                                                                 n/a

Proceeds Available for Secured Claims                                              18,172,554

Secured Claims                                                                     55,905,420    11
  Recovery on Secured Claims                                                       18,172,554
  % Recovery on Secured Claims                                                          32.5%

Proceeds Available for Administrative Claims                                                -

Administrative Claims                                                               5,932,817    12
 Recovery on Administrative Claims                                                          -
 % Recovery on Administrative Claims                                                     0.0%

Proceeds Available for Priority Claims                                                      -

Pre-Petition Priority Claims                                                        2,436,740    13
  Recovery on Priority Claims                                                               -
  % Recovery on Priority Claims                                                          0.0%

Proceeds Available for General Unsecured Claims                                             -

General Unsecured Claims                                                           56,995,072    14
 Recovery on General Unsecured Claims                                                       -
 % Recovery on General Unsecured Claims                                                  0.0%
          Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 144 of 145



Neighbors Legacy Holdings, et al.
Notes to the Liquidation Analysis

 1   Cash
     The Debtors' estimated cash as of the Liquidation Date is based on the latest balance sheet (November 30,
     2018). In a liquidation the estimated recovery on the balance of cash is 100%.

 2   Accounts Receivable, Net
     This balance represents the value of the net patient accounts receivable as of November 30, 2018 that were
     retained and not sold with the sale of the free-standing emergency room facilities. This analysis assumes
     that a Chapter 7 trustee would oversee the collection efforts during the pendency (12-months) of the
     Chapter 7 proceedings.

 3   Inventory
     This balance represents the Debtors' estimated value of medical supplies inventory as of the Liquidation
     Date and is based on recent indications of interest to purchase the inventory.

 4   Receivables from non-Debtor Affiliates
     The balance represents intercompany receivables from non-Debtor Affiliates. The analysis assumes that
     these non-Debtor Affiliates are insolvent and would be liquidated and that the Debtors would not realize a
     recovery.

 5   Fixed Assets, Net
     This balance represents the Debtors' estimated value of furniture and equipment (corporate headquarters
     and recovered from closed locations) as of the Liquidation Date and is based on recent indications of
     interest to purchase the substantially all the items.

 6   Other Assets
     This balance represents unamortized intangible assets and are assumed to have no value to the Estate.
          Case 18-33836 Document 773 Filed in TXSB on 02/20/19 Page 145 of 145



Neighbors Legacy Holdings, et al.
Notes to the Liquidation Analysis (continued)

 7   Chapter 7 Trustee Fees
     Pursuant to section 326 of the Bankruptcy code, the court may allow reasonable compensation for the
     trustee's services not to exceed 25% on the first $5,000 or less, 10% on any amount in excess of $5,000 but
     not in excess of $50,000, 5% on any amount in excess of $50,000 but not in excess of $1 million, and
     reasonable compensation not to exceed 3% of such moneys in excess of $1 million, upon all moneys
     disbursed or turned over in the case by the trustee to parties in interest, excluding the debtor, but including
     holders of secured claims. The fees were estimated for each Debtor and aggregated for the Liquidation
     Analysis.

 8   Chapter 7 Professional Fees
     This amount represents professional fees for legal and financial advisor costs in connection with the
     administration and winddown of the Estates.

 9   Cost to Wind-down Estate
     This amount represents the cost to winddown the Estates over a 12-month period. The costs include
     expenses for salaries, independent contractor wages, IT and overhead (primarily rent).

 10 DIP Claims
    The DIP Claim amount represents the balance after applying proceeds of the sale paid to the Secured
    Lenders. The DIP loan commitment was $24 million, which consisted of an $8 million Revolving Commitment
    and a $16 million Term Commitment. The Debtor satisfied DIP Claims from the proceeds of its asset sales.
    The DIP loan was terminated on or about November 8, 2018.

 11 Secured Claims
    The Secured Claim amount represents the balance of the Credit Facility of approximately $94.4 million
    (consisting of the pre-petition balance of approximately $110.2 million, and interest and fees of
    approximately $240,000, less the $16 million DIP Term Commitment) reduced by approximatley $38.5
    million of asset sale proceeds remitted to the Secured Agent for a total hypothetical recovery of
    approximatley $56.7 million or 60%.

 12 Administrative Claims
    Administrative claims include Chapter 11 post-petition trade payables and an estimate for accrued by
    unbilled trade expenses, an estimate for 503(b)(9) claims, post-petition PTO/Severance for Debtors'
    employees, unreported employee healthcare claims. Administrative claims also include an estimate of
    accrued and unfunded Chapter 11 professional fees.

 13 Priority Claims
    Priority claims include claims for pre-petition property and franchise tax obligations.

 14 General Unsecured Claims
    The general unsecured claims in the Liquidation Analysis primarily represents the book value of pre-petition
    accounts payable. The general unsecured claims value includes the Secured Lender deficiency claim but does
    not include unliquidated claims stemming from litigation.
